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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS
                                EASTERN DIVISION

                                        )
In re                                   )
                                        )            Chapter 11
TRI-CITY COMMUNITY ACTION               )
PROGRAM, INC.                           )            Case No. 15-11569-JNF
                                        )
        Debtor.                         )
                                        )

         APPLICATION OF CASNER & EDWARDS, LLP FOR
   ALLOWANCE AND PAYMENT OF COMPENSATION FOR SERVICES
 RENDERED AND FOR REIMBURSEMENT OF EXPENSES INCURRED AS
                     DEBTOR’S COUNSEL
   FOR THE PERIOD APRIL 23, 2015 THROUGH DECEMBER 28, 2017

Name of Applicant:                      Casner & Edwards, LLP
                                        (“C&E”)

Authorized to Provide
Professional Services to:               Tri-City Community Action
                                        Program, Inc. (“Debtor”)

Date of Chapter 11 Petitions            April 23, 2015

Date of Retention:                      Application filed April 29, 2017 [ECF No. 11]
                                        Order entered May 15, 2015 [ECF No. 29]

Period for which compensation
and reimbursement is sought:            April 23, 2015 through December 28, 2017

Amount of compensation sought
as actual, reasonable, and necessary:   Total Amount Sought: $379,353.00

Amount of expense
reimbursement sought as
actual, reasonable, and
necessary:                              Total Amount Sought: $2,767.91


This is a(n): ☐ monthly statement ☐ interim application ☒ final application.
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Prior Interim Fee Applications:              N/A


Additional Information:

Blended Hourly Rate in this
Application for all C&E Attorneys:     $416.61

Blended Hourly Rate in this
Application for all C&E Timekeepers:   $405.03

Number of Professionals included in
this Application:                      7

If Applicable, Number of
Professionals Billing Fewer
than 15 Hours to the Case
during the Period:                     0
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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS
                               EASTERN DIVISION

                                        )
In re                                   )
                                        )            Chapter 11
TRI-CITY COMMUNITY ACTION               )
PROGRAM, INC.                           )            Case No. 15-11569-JNF
                                        )
        Debtor.                         )
                                        )

  APPLICATION OF CASNER & EDWARDS, LLP FOR ALLOWANCE AND
  PAYMENT OF COMPENSATION FOR SERVICES RENDERED AND FOR
  REIMBURSEMENT OF EXPENSES INCURRED AS DEBTOR’S COUNSEL
    FOR THE PERIOD APRIL 23, 2015 THROUGH DECEMBER 28, 2017

        Pursuant to Section 331 of Title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 2016-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the District of Massachusetts (the “Local Rules”), Casner &

Edwards, LLP (“Casner & Edwards” or the “Firm”) files this Application of Casner &

Edwards, LLP for Allowance of Compensation for Services Rendered and for

Reimbursement of Expenses Incurred as Debtor’s Counsel for the Period April 23, 2015

Through December 28, 2017 (the “Application”).         By this Application, Casner &

Edwards requests that the Court enter an order approving the attorneys’ fees in the

amount of $379,353.00 and expenses in the amount of $2,767.91, for a total of

$382,120.91 for the services Casner & Edwards provided during the period from April

23, 2015 through December 28, 2017 (the “Fee Period”) as counsel to Tri-City

Community Action Program, Inc. (the “Debtor”), and authorizing the payment thereof.
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      In support of the Application, Casner & Edwards states as follows:

                                 Procedural History

      1.      On April 23, 2015, the Debtor filed its voluntary petitions for relief under

Chapter 11 of the Bankruptcy Code. Since that date the Debtor has continued in the

possession of its assets and in the management and operation of its businesses as debtor

in possession pursuant to Bankruptcy Code §§ 1107(a) and 1108.

      2.      On April 29, 2015 the Debtor filed an application [ECF No. 11] seeking an

order approving its employment of Casner & Edwards as its counsel. On May 15, 2015

the Court entered an order [ECF No. 29] approving the Debtor’s employment of Casner

& Edwards as its counsel. A copy of that order is attached hereto as Exhibit A.

      3.      On July 12, 2017, the Court entered an order [ECF No. 178] confirming

Debtor’s Chapter 11 Plan (the “Plan”). The Effective Date of the Plan occurred on

December 28, 2017. [ECF. No. 183]

                      Prior Payments to Casner & Edwards

      4.      As of the date of filing this application, Casner & Edwards has not received

any payment on account of the fees and expenses incurred during Fee Period. Casner &

Edwards received $19,372.89 for pre-petition services, including expenses, rendered to

the Debtor.

                                   The Application

      5.      Casner & Edwards makes this Application pursuant to Section 331 of the

Bankruptcy Code, Bankruptcy Rule 2016 and Local Rule 2016-1.             This Court has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This matter is a core

proceeding under 28 U.S.C. § 157(b).
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      6.     Pursuant to this Application Casner & Edwards seeks approval of its fees

in the amount of $379,353.00 and expenses in the amount of $2,767.91, for a total of

$382,120.91, for the Fee Period, and payment of such amounts.

      7.     As set forth in Plan, Casner & Edwards has agreed to defer collection of its

Allowed Professional Fee Claim to the extent necessary to implement an agreed cap of

$200,000 in aggregate Allowed Administrative Claims as of the Effective Date of the

Plan. Plan, Section 2.1. The Plan provides that to the extent deferred, “payment of the

Allowed Professional Fee Claim of counsel to the Debtor will be paid from funds

available in the Estate Reserve or Creditor Trust from liquidation of the Eastern Avenue

Note and the Estate Causes of Action.” Plan, Section 2.3. The Debtor’s estate, including

assets transferred to the Creditor Trust under the Plan, is the source of the

compensation to be paid to Casner & Edwards. The amount of the compensation to be

deferred by Casner & Edwards, LLP will be known after the Court considers the

applications of all estate professionals and determines the total amount of Allowed

Professional Fee Claims.

      8.     No agreement or understanding exists for the sharing of compensation

other than with members or associates of Casner & Edwards. All legal services

performed by Casner & Edwards as covered by this Application were performed for and

on behalf of the Debtor and not on behalf of any creditor or any other person or entity.

      9.     In accordance with Local Rule 2016-1(a)(1), submitted herewith as

Exhibit B, is a description of the professional background of each lawyer and

paraprofessional who participated in Casner & Edwards’s representation of the Debtor.

      10.    Submitted herewith as Exhibit C is a summary chart of hours worked and

fees charged for each lawyer and paraprofessional with respect to whose services
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compensation is sought by this Application, which was prepared in accordance with

Local Rule 2016-1(a)(2).

       11.    Submitted herewith as Exhibit D is a day-to-day description of services

rendered by Casner & Edwards during the Fee Period, which is divided into narrative

sections corresponding to billing categories utilized by Casner & Edwards. Each such

section includes for each such billing category the following: (i) a narrative description

of services rendered in accordance with Local Rule 2016-1(d); (ii) a summary chart

conforming to the requirements of Local Rule 2016-1(a)(2); and (iii) a detailed, daily

description of services by each attorney and paraprofessional with respect to whom

compensation is sought, compiled from time records maintained by Casner & Edwards

in the ordinary course of its business. Expenses charged to the Debtor in rendering these

services are included in Exhibit D as well.

       WHEREFORE, Casner & Edwards requests that the Court enter an order in the

proposed form of order annexed hereto as Exhibit E: (a) approving its fees in the

amount of in the amount of $379,353.00 and expenses in the amount of $2,767.91, for a

total of $382,120.91, for the Fee Period; (b) authorizing and directing payment to

Casner & Edwards of the foregoing amounts, subject to the deferral set forth in Sections

2.1 and 2.3 of the Plan; and (c) granting to Casner & Edwards such other and further

relief as the Court deems just and proper.
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                                     Respectfully submitted,

                                     CASNER & EDWARDS, LLP


                                     /s/ John T. Morrier
                                     John T. Morrier (BBO No. 628624)
                                     Michael J. Fencer (BBO No. 648288)
                                     David Koha (BBO No. 679689)
                                     CASNER & EDWARDS, LLP
                                     303 Congress Street
                                     Boston, Massachusetts 02210
                                     telephone: 617-426-5900
                                     facsimile: 617-426-8810
                                     email: morrier@casneredwards.com
Dated: July 2, 2018
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                            CERTIFICATE OF SERVICE

      I, John T. Morrier, hereby certify that on July 2, 2018, I caused a true and

accurate copy of the forgoing document and all annexed exhibits to be served via ECF

upon all parties who are registered to receive electronic notice of filing in this

proceeding


                                      /s/ John T. Morrier
                                      John T. Morrier
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                                EXHIBIT A

                 ORDER APPROVING EMPLOYMENT OF
                     CASNER & EDWARDS, LLP
Case
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     15-11569 Doc
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                                 EXHIBIT B

               DESCRIPTION OF BACKGROUND OF
           PROFESSIONALS AT CASNER & EDWARDS, LLP
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                              Professional Biographies


John T. Morrier is a partner in the Casner & Edwards, LLP Financial Restructuring
and Business Bankruptcy practice. He works with troubled companies and their owners
in business restructuring matters, both court-supervised and out of court, and advises
clients in buying and selling assets in distress situations. Both a litigator and a deal
lawyer, Mr. Morrier has extensive experience in all aspects of bankruptcy and
commercial law, including litigation in federal and state courts and structuring and
documenting complex transactions. He represents debtors, secured and unsecured
creditors, executives, insurers, landlords, estate professionals and other parties in
bankruptcy proceedings and out of court restructurings, workouts and other insolvency
matters. He regularly advises directors and officers in their duties in solvency-
challenged situations. He has worked with clients to develop and execute business
strategy in a broad array of industries, including companies in the real estate,
technology, manufacturing, retail, finance, healthcare, biotechnology, non-profit and
professional services fields. Mr. Morrier is ranked among the top Massachusetts
bankruptcy lawyers by Chambers USA - America’s Leading Business Lawyers, is listed in
Best Lawyers in America, and is named a Massachusetts Super Lawyer. He is a frequent
author and teacher on business insolvency topics. He received his bachelor’s, Juris
Doctor and Master of Business Administration degrees from Boston College. He is
admitted to practice in the state and federal courts of Massachusetts and Maine.


Michael Goldberg is a partner in Casner & Edwards, LLP’s Financial Restructuring
and Business Bankruptcy practice. He specializes in the areas of business bankruptcy,
financial restructuring and business transactions as well as commercial real estate
transactions. In his 30 years of practice, Mr. Goldberg has represented a broad spectrum
of clients in insolvency matters, including debtors, creditors’ committees, trustees,
assignees, landlords, secured and unsecured creditors, and investors. His clients cut
across a wide range of industry types, including high-tech and biomedical device
companies, medical practice groups, and nonprofit institutions. He has also served as
counsel to purchasers and sellers of industrial, office and multifamily real estate, with a
particular expertise in real estate financing. He is a frequent lecturer on bankruptcy
topics, particularly on the impact of bankruptcy issues on real estate transactions. Mr.
Goldberg is a Fellow of the American College of Bankruptcy, and is rated as a leading
bankruptcy lawyer in Massachusetts by the following: Chambers USA - America’s
Leading Business Lawyers, since 2006, and Super Lawyers Massachusetts - Bankruptcy,
since 2004. Twice ranked as one of New England’s “Top 100” lawyers, Mr. Goldberg is
admitted to practice in Massachusetts and New York. He received his B.A. cum laude
from Yale University, and his J.D. cum laude from Fordham Law School.


A. Davis Whitesell is a partner in the Casner & Edwards, LLP Financial Restructuring
and Business Bankruptcy practice, providing reasoned analysis and experienced counsel
to help clients resolve legal and financial problems. His practice focuses on transactional
and litigation matters involving commercial law and insolvency issues, with an
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emphasis on Chapter 11 bankruptcy matters. Mr. Whitesell has over 25 years of
experience in commercial bankruptcy cases, out-of-court debt restructurings, and
acquisition and disposition of distressed businesses, and he represents debtors,
fiduciaries, creditors, and acquirers in such matters. He is listed in Best Lawyers in
America and in Massachusetts Super Lawyers, and is a member of the American
Bankruptcy Institute, the Boston Bar Association, and the Turnaround Management
Association. He has lectured and prepared written materials on bankruptcy and
commercial law topics, including for programs sponsored by the American Bankruptcy
Institute, MCLE, and NBI. Mr. Whitesell received his B.A. cum laude from Harvard
University and his J.D. from Boston University School of Law. He is admitted to practice
in the state and federal courts of Massachusetts.


Anita S. Lichtblau is a partner in Casner & Edwards, LLP. She provides
comprehensive legal advice to tax exempt organizations and businesses and individuals
involved in nonprofit matters. Anita served for fifteen years as both the General Counsel
for Action for Boston Community Development (ABCD), a large nonprofit human
services organization and Community Action Agency (CAA) that provides Head Start
and other services to low-income people, and Executive Director of Community Action
Program Legal Services (CAPLAW), a nonprofit providing legal training and technical
assistance to the approximately 1000 CAAs across the country. In those positions, she
advised, provided training, and wrote numerous articles and publications on many
issues including those described above. She presented hundreds of in-person
workshops and webinars across the national Community Action network. Prior to
holding those positions, she was a senior trial attorney with the United States
Department of Justice handling white collar criminal cases in federal courts in New
England and practiced with the Boston firm Hill & Barlow and the Washington D.C.
firm Steptoe & Johnson. Anita graduated from Cornell University and Harvard Law
School.


David Koha is an associate in the Casner & Edwards, LLP Financial Restructuring and
Business Bankruptcy practice, focusing on business and consumer bankruptcy law,
including bankruptcy litigation and appeals. He has experience in all types of business
and consumer cases, including representing trustees, debtors, creditors, and defendants
in fraudulent transfer and preference litigation. In addition to his law practice, Mr. Koha
teaches consumer bankruptcy as an Adjunct Professor at New England School of Law in
Boston. He has published several articles on bankruptcy topics. His recent article, The
Meaning of Rejection in Intellectual Property Contracts and Beyond After Sunbeam,
appeared in the December 2012 issue of the Norton Journal of Bankruptcy Law &
Practice. In addition, his article Eviction Proceedings and the Automatic Stay is
published in the 2012 issue of the Norton Annual Survey of Bankruptcy Law. Mr. Koha
also co-authored, with Lynne F. Riley, Recent Supreme Court Consumer Bankruptcy
Cases, published in the 2011 issue of the Norton Annual Survey of Bankruptcy Law. He
received his law degree from Boston College Law School, magna cum laude, and served
on the Boston College Law Review. He received his undergraduate degree from Boston
College.
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Di Ying Luo is a bankruptcy paralegal, supporting the Casner & Edwards, LLP
Financial Restructuring and Business Bankruptcy practice , including the support of a
chapter 7, 11 and 12 trustee in a large volume of individual and business liquidation and
reorganization proceedings. Ms. Luo is a graduate of Southern China University of
Technology (Bachelor of Law/Economic Laws, honors, 1999), and Suffolk University
Law School (LLM, Global Technology, 2003). Ms. Luo also assists her colleagues in
their representation of debtors, creditors, committees and other parties in interest in
chapter 7, 11, and 13 bankruptcy cases. Among other things, she is proficient with the
various banking, billing and filing software programs essential to the efficient
administration of bankruptcy proceedings.


Evanne Matas is a corporate, commercial real estate and probate paralegal at Casner
& Edwards, LLP. She assists in the preparation and filing of various corporate
documents, registry of deeds title searches and filings, and preparation of documents for
commercial real estate matters. Ms. Matas is also responsible for the preparation and
filing of probate court documentations, as well as preparation of inventory and accounts
for estate matters. Ms. Matas is a graduate of Aquinas College (A.S., summa cum laude)
and Eastern Nazarene College (B.S. in Business Administration, magna cum laude).
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                                 EXHIBIT C


                    SUMMARY OF DISBURSEMENTS
                    AND REIMBURSABLE EXPENSES
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                                      Chart C (1)

                       Category                      Total Hours      Total Fees
 Asset disposition                                           214.1      $95,436.00
 Business Operations                                         132.9     $40,940.00
 Case Administration                                         110.7      $47,065.00
 Claims Administration and Objections                        28.5       $10,434.00
 Employee Benefits and Pensions                                8.7       $3,915.00
 Employment Applications and Objections                        6.1       $2,604.50
 Fee Applications & Objections                                 3.6       $1,620.00
 Financing                                                     7.7       $3,222.00
 Litigation                                                   61.5      $26,451.00
 Meeting of Creditors                                         14.3       $6,120.00
 Plan and & Disclosure Statement                             221.3      $96,579.50
 Relief from Stay                                              7.1       $3,195.00
 Government Agencies                                         120.1      $41,771.00
                        Totals                             936.60     $379,353.00


                                      Chart C (2)
                                              Hourly       Total
       Professional                 Title                              Total Fees
                                               Rate        Hours
 John T Morrier (JTM)             Attorney      $450          671.3    $302,085.00
 John T Morrier (JTM)             Attorney      $0.00          42.5          $0.00
 Michael J Goldberg (MJG)         Attorney      $450           30.3     $13,635.00
 Anita S. Lichtblau (ASL)         Attorney      $390            1.3        $507.00
 Anita S. Lichtblau (ASL)         Attorney          $375       62.0     $23,250.00
 A. Davis Whitesell (ADW)         Attorney      $420           56.1     $23,562.00
 David Koha (DK)                  Attorney      $320            5.5      $1,760.00
 David Koha (DK)                  Attorney      $295           22.7      $6,696.50
 Di Ying Luo (DYL)                Paralegal         $175      20.0       $3,500.00
 Evanne Matas (EM)                Paralegal         $175       24.9      $4,357.50
              Totals                                         936.6    $379,353.00
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                                 EXHIBIT D



      DAY-BY-DAY DESCRIPTION OF SERVICES RENDERED BY
          THE FIRM DURING THE APPLICATION PERIOD
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                                     Exhibit D
                            Category 3: Asset Disposition

       As of the Petition Date, the Debtor had ceased most of its operations pursuant to

negotiations with the Massachusetts Department of Housing and Community

Development (“DHCD”) and the Massachusetts Office of the Attorney General,

following disclosure by the Debtor’s Board of Directors to those agencies regarding

improper grant accounting. As of the Petition Date, the Debtor had agreed to surrender

its designation as the community action agency for its service area, and to wind up its

DHCD-funded programs. DHCD directed its funding for the Debtor’s supported housing

programs located at 22 Charles Street and 115 Washington Street in Malden,

Massachusetts to an outside agency for fiscal oversight, although these properties

remained owned by the Debtor.

       The supported housing properties were financed by a complicated set of inter-

connected government-backed loans and deed restrictions requiring their use as

supported housing programs. The Firm assisted the Debtor in understanding its

obligations under these agreement and as a debtor in possession. Specifically, the Firm

conducted real estate title research to confirm, and then review, the myriad financial

and restrictive covenant provisions. With the Firm’s assistance, the Debtor concluded

that a sale to a commercial user would trigger multi-million dollar liabilities for

violation of the restrictive covenant, and acceleration of millions of dollars in secured

obligations. The commercial value of the properties was a small fraction of these

liabilities. Instead, the Debtor solicited interest for one or more transactions to transfer

these properties to other nonprofits while maintaining them as supported housing.
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       The Firm represented the Debtor in negotiating and documenting a transaction

(the “Supported Housing Transaction”) by which these supported housing properties

were transferred to a nonprofit organization, Metro North Housing Corporation. This

transaction required state and federal support, in the form of new loans to Metro North

Housing, as well as agreement by federal, state and regional governmental agencies for

Metro North Housing to assume the substantial existing secured debt held by various

agencies, and to assume the use restrictions. Services related to these negotiations,

documenting the transaction, and seeking approvals from various governmental

agencies are tracked in this category. While a sale under Bankruptcy Code section 363

was initially contemplated, it was determined that the Supported Housing Transaction

should be approved as part of a Chapter 11 plan process, resolving all other aspects of

the case. Services regarding the Plan as it relates to the Supported Housing Transaction

were recorded in Category 13, discussed below.

       The Debtor had other assets as well. The Firm assisted the Debtor in analyzing ,

negotiating, and documenting the transfer of the Debtor’s interest in 54 Eastern Ave

Malden LLC, a nonprofit formed to implement a proposed development of supported

housing and a food bank and related anti-hunger services. These negotiations resulted

in an agreement to transfer the Debtor’s interest in this nonprofit to the other member

in exchange for a contingent promissory note issued by 54 Eastern Ave Malden LLC in

the amount of $100,000 (the “Eastern Avenue Note”). The Firm represented the Debtor

in achieving Court approval of this transaction. The Eastern Avenue Note has been

transferred to the Creditor Trust.

       The Debtor also owned two school busses, formerly used to transport students in

its Head Start preschool program. The Firm assisted the Debtor in negotiating a transfer
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of the busses to another Head Start agency, including negotiations with the federal

agency which provided grant funding for the initial acquisition and with the commercial

company which operated and stored the vehicles. The Firm represented the Debtor in

achieving Court approval of this transaction. The proceeds from the transaction were

distributed to creditors on the Effective Date.

       Additional services in this category included assisting the Debtor in analyzing

whether there was any commercial value in the Debtor’s other assets, including office

furniture, fixture and equipment. Much of the equipment was acquired used, or through

donations, and these items were abandoned, with permission from the Court.

       The following chart summarizes the services in this category, by professional:


                                           Hourly        Total
      Professional               Title                                Total Fees
                                            Rate         Hours
Michael J. Goldberg (MJG)      Attorney      $450            28.7        $12,915.00
Anita S. Lichtblau (ASL)       Attorney           $375         1.0         $375.00
John T Morrier (JTM)           Attorney           $450       181.1      $81,495.00
A. Davis Whitesell (ADW)       Attorney           $420         0.3         $126.00
Di Ying Luo (DYL)              Paralegal          $175         0.9          $157.50
Evanne Matas (EM)              Paralegal          $175          2.1        $367.50
          Totals                                           214.10     $95,436.00

       The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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                                                          May 4, 2018


Tri-City Community Action Program, Inc.

Re: Asset Disposition

File Number: 58492.00003



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                       $95,436.00
              CURRENT BALANCE                                                                            $95,436.00

              TOTAL DUE                                                                                  $95,436.00




             Casner & Edwards, LLP | 303 Congress Street, Boston, MA 02210 | (TEL) 617.426.5900 | (FAX) 617.426.8810
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 Tri-City Community Action Program, Inc.                                                     May 4, 2018
                                                                                           Bill Number 0
                                                                                File Number 58492.00003
 Re: Asset Disposition




LEGAL SERVICES

Date               Atty    Description                                                  Time
04/24/15          JTM      Communicate with N. Mann and J. Green (Mass               0.30 Hrs
                           AGO).
04/24/15          JTM      Compile info requested by UST.                            0.70 Hrs
04/24/15          JTM      Review 110 Pleasant lease.                                0.30 Hrs
04/27/15          JTM      Correspond with M. Slotnick re: timing.                   0.20 Hrs
04/27/15          JTM      Correspond with M. Slotnick re: land value.               0.20 Hrs
04/28/15          JTM      Communicate with M. Slotnick.                             0.10 Hrs
04/29/15          JTM      Telephone call with M. Slotnick.                          0.20 Hrs
05/13/15          JTM      Draft real estate sale motion.                            1.00 Hrs
05/14/15          JTM      Telephone conference and email with Marc Slotnick.        0.30 Hrs
05/21/15          MJG      CN with JTM re PSA.                                       0.20 Hrs
05/21/15          JTM      Communicate with G. Howell re: Bread of Life.             0.20 Hrs
05/21/15          JTM      Communicate with MJG re: real estate APA.                 0.30 Hrs
05/21/15          JTM      Communicate with and telephone call with M.               0.30 Hrs
                           Slotnick.
05/22/15          MJG      Begin work on purchase and sale agreement; review         1.00 Hrs
                           LOI.
05/22/15          JTM      Communicate with M. Slotnick.                             0.10 Hrs
05/26/15          MJG      Draft purchase and sale agreement.                        2.80 Hrs
05/26/15          JTM      Communicate with Marc Slotnick and Alice Krapf.           0.50 Hrs
05/26/15          JTM      Communicate with MJG re: real estate transactions.        0.20 Hrs
05/27/15          MJG      Further work on P&S and email to J. Morrier with          0.30 Hrs
                           questions concerning loan transfer approvals,
                           subsidy agreements.
05/27/15          JTM      Communicate with MJG; correspond re: real estate.         0.50 Hrs
05/28/15          JTM      Communicate with MJG re: real estate, P&S,.               0.40 Hrs
05/28/15          JTM      Communicate with M. Slotnick re: HUD;                     0.20 Hrs
                           communicate with L. Kemp.
05/29/15          MJG      Further work on draft PSA.                                1.30 Hrs

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05/31/15          MJG      Further drafting of P&S agreement (buyer                    2.30 Hrs
                           contingencies, bankruptcy approval provisions,
                           closing deliveries).
06/01/15          MJG      Further changes to agreement.                               1.00 Hrs
06/01/15          JTM      Communicate with MJG re: real estate APA.                   0.20 Hrs
06/02/15          MJG      CN with J. Morrier re PSA comments; revise                  0.80 Hrs
                           agreement and email to client re same.
06/02/15          JTM      Review and revise APA; communicate with MJG.                0.80 Hrs
06/02/15          JTM      Communicate with counsel to HHS re: vehicles.               0.10 Hrs
06/03/15          MJG      Email to client re PSA review.                              0.10 Hrs
06/03/15          JTM      Correspond with Metro North; communicate with               0.50 Hrs
                           MJG re: mortgage debt.
06/04/15          MJG      Brief conference with J. Morrier and TC with client,        1.10 Hrs
                           buyer, buyer's counsel.
06/04/15          JTM      Conference call with M. Slotnick and Henry Korman;          1.00 Hrs
                           communicate with MJG; review financials.
06/05/15          JTM      Call to H. Korman.                                          0.10 Hrs
06/16/15          JTM      Telephone call with M. Korman re: APA and                   0.80 Hrs
                           transaction.
06/16/15          JTM      Communicate with M. Goldberg re: APA and buyer              0.10 Hrs
                           communication.
06/17/15          JTM      Communicate with H. Korman.                                 0.10 Hrs
06/18/15          JTM      Correspond and memo from H. Korman re: PSA.                 0.60 Hrs
06/18/15          JTM      Communicate with MJG re: Korman memo.                       0.10 Hrs
06/18/15          JTM      Telephone call with Frank McGinn, counsel to DHCD           0.50 Hrs
                           re: its issues re transitional housing properties.
06/18/15          JTM      Communicate with client re: DHCD.                           0.20 Hrs
06/18/15          JTM      Communicate with buyer counsel re DHCD.                     0.20 Hrs
06/19/15          MJG      CN with J. Morrier re P&S issues; conference call           2.50 Hrs
                           with M. Slotnick, H. Korman, A. Krapf re same,
                           timing of closing.
06/19/15          JTM      Teleconference with proposed buyer team.                    1.30 Hrs
06/19/15          JTM      Review memo from H. Korman re: PSA.                         0.40 Hrs
06/19/15          JTM      Communicate with F. McGinn re: DHCD meeting.                0.20 Hrs


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06/20/15          JTM      Communicate with F. McGinn (re: DHCD).                     0.20 Hrs
06/20/15          JTM      Communicate with EC re: DHCD meeting plans.                0.10 Hrs
06/22/15          JTM      Communicate with DHCD counsel.                             0.10 Hrs
06/22/15          JTM      Communicate with client re: DHCD call.                     0.10 Hrs
06/22/15          JTM      Communicate with DHCD counsel.                             0.10 Hrs
06/22/15          JTM      Communicate with client re: DHCD call.                     0.20 Hrs
06/22/15          JTM      Communicate with Buyer re: status.                         0.20 Hrs
06/23/15          MJG      Conference call with M. Slotnick, H. Korman, J.            1.00 Hrs
                           Morrier re timing of closing, DHCD issues, need for
                           interim support for longer pre-closing period.
06/23/15          JTM      Call with buyer team.                                      1.00 Hrs
06/24/15          MJG      Conference call with DHCD legal staff, client, J.          1.40 Hrs
                           Morrier re background to Chapter 11 case, auction
                           procedures, timing issues.
06/24/15          JTM      Conference with counsel to DHCD.                           0.10 Hrs
06/24/15          JTM      Call to DHCD legal team.                                   1.10 Hrs
06/24/15          JTM      Conference with F. McGinn re: real estate title            0.20 Hrs
                           review.
06/24/15          JTM      Correspond with Executive Committee.                       0.30 Hrs
06/26/15          JTM      Telephone call with M. Slotnick.                           0.50 Hrs
06/26/15          JTM      Telephone call with F. McGinn.                             0.10 Hrs
06/26/15          JTM      Conference with G. Howell.                                 0.10 Hrs
06/30/15          JTM      Conference with counsel to Bread of Life.                  0.10 Hrs
06/30/15          JTM      Conference with M. Goldberg re: housing                    0.20 Hrs
                           transaction.
06/30/15          JTM      Call to counsel to DHCD.                                   0.10 Hrs
07/01/15          JTM      Communicate with M. Slotnick.                              0.20 Hrs
07/02/15          JTM      Communicate with M. Slotnick.                              0.10 Hrs
07/09/15          JTM      Communicate with US Atty B. Mockler.                       0.20 Hrs
07/10/15          JTM      Communicate with J. Williams (HHS).                        0.20 Hrs
07/10/15          JTM      Communicate with R. Pierre-Louis.                          0.10 Hrs


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07/13/15          JTM      Telephone call with B. Mockler, Assistant US               0.40 Hrs
                           Attorney re: HUD and HHS.
07/13/15          JTM      Communicate with Jennifer Williams, HHS.                   0.20 Hrs
07/14/15          JTM      54 Eastern term sheet; communicate with Geoff              0.80 Hrs
                           Howell.
07/15/15          JTM      Research vehicle title; communicate with L. Kemp           0.40 Hrs
                           re: same.
07/15/15          JTM      Communicate with M. Slotnick re: 54 Eastern.               0.30 Hrs
07/15/15          JTM      Communicate with G. Howell re: 54 Eastern.                 0.10 Hrs
07/15/15          JTM      Analyze 54 Eastern finances; communicate with              0.70 Hrs
                           client team re: same.
07/15/15          JTM      APA revisions.                                             1.20 Hrs
07/15/15          JTM      Term sheet revisions.                                      0.80 Hrs
07/16/15          JTM      Telephone call with G. howell re: 54 Eastern.              0.40 Hrs
07/16/15          JTM      Communicate with B. Mockler re: HUD rights in              0.50 Hrs
                           housing units; review same.
07/17/15          JTM      Conference call with client team re: assets.               0.60 Hrs
07/17/15          JTM      Communicate with M. Slotnick re: status and follow-        0.40 Hrs
                           up questions for his team.
07/20/15          JTM      Communicate with L. Kemp re: 54 Eastern.                   0.10 Hrs
07/21/15          JTM      Telephone call with Phillip Bronder-Giroux and             0.50 Hrs
                           Loretta Kemp re: 54 Eastern; follow-up.
07/21/15          JTM      Revise BOC term sheet; communicate with G.                 0.80 Hrs
                           Howell re redline.
07/21/15          JTM      Follow-up re: 54 Eastern Ave (communicate with L.          0.20 Hrs
                           Kemp).
07/22/15          JTM      Revise 54 Eastern term sheet; communicate with G.          1.30 Hrs
                           Howell.
07/22/15          JTM      Communicate with M. Slotnick re: 54 Eastern term           0.30 Hrs
                           sheet.
07/22/15          JTM      Correspond with H. Korman.                                 0.20 Hrs
07/23/15          JTM      Communicate with A. Krapf and M. Slotnick.                 0.20 Hrs
07/24/15          JTM      Review 54 Eastern Ave Malden LLC accountings               0.60 Hrs
                           and operating agreement.
07/24/15          JTM      Telephone call with M. Slotnick, A. Krapf and H.           0.90 Hrs
                           Korman.
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07/29/15          JTM      Communicate with and telephone call with M.               0.70 Hrs
                           Slotnick; revise term sheet.
08/03/15          JTM      Correspondence from G. Howell; review Bread of            0.80 Hrs
                           Life's comments to term sheet; communicate with
                           EC re: same; communicate with G. Howell re: same.
08/04/15          JTM      Telephone call with G. Howell; review his revised         0.60 Hrs
                           term sheet.
08/04/15          JTM      Communicate with E.C. re: 54 Eastern.                     0.20 Hrs
08/05/15          JTM      Review BOL revised term sheet.                            0.50 Hrs
08/06/15          JTM      Communicate with K. Nicholson re: 54 Eastern.             0.20 Hrs
08/06/15          JTM      Telephone call with M. Slotnick.                          0.50 Hrs
08/07/15          JTM      Revise 54 Eastern term sheet; communicate with            0.70 Hrs
                           Executive Committee re same.
08/07/15          JTM      Communicate with Executive Committee re: housing          0.30 Hrs
                           transaction.
08/11/15          JTM      Telephone call with M. Slotnick.                          0.20 Hrs
08/14/15          JTM      Telephone call with Andrew McNealy; Bread of Life.        0.20 Hrs
08/14/15          JTM      Revise term sheet; correspond with BoL and                0.70 Hrs
                           committee counsel; correspond with EC.
08/16/15          JTM      Correspond with counsel to Bread of Life.                 0.10 Hrs
08/19/15          JTM      Communicate with G. Howell re: status of BoL term         0.10 Hrs
                           sheet review.
08/19/15          JTM      Communicate with G. Howell and with K. Nicholson          0.20 Hrs
                           re: 54 E.
08/20/15          JTM      Review revised term sheet; communicate with Board         0.80 Hrs
                           re: analysis of same.
08/20/15          JTM      Communicate with K. Nicholson re: 54 E.                   0.20 Hrs
08/20/15          JTM      Draft motion to approve settlement.                       0.80 Hrs
08/21/15          JTM      Correspond with M. Slotnick.                              0.10 Hrs
08/21/15          JTM      Correspond with R. Howell.                                0.20 Hrs
08/24/15          JTM      Correspondence from counsel to Bread of Life.             0.30 Hrs
08/24/15          JTM      Communicate with M. Slotnick.                             0.10 Hrs
08/24/15          JTM      Communicate with K. Nicholson.                            0.10 Hrs



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08/25/15          JTM      Communicate with counsel to Century Bank re: 54             0.20 Hrs
                           Eastern.
08/25/15          JTM      Communicate with counsel to Committee re: 54                0.10 Hrs
                           Eastern.
08/25/15          JTM      Communicate with counsel to Bread of Life re: 54            0.10 Hrs
                           Eastern.
08/25/15          JTM      Communicate with M. Slotnick re: 54 Eastern.                0.10 Hrs
08/25/15          JTM      Review revised Term Sheet; communicate with K.              0.50 Hrs
                           Nicholson.
08/25/15          JTM      Correspond with EC re: term Sheet and authority.            0.50 Hrs
08/26/15          JTM      Communicate with K. Nicholson.                              0.20 Hrs
08/26/15          JTM      Communicate with EC re: term sheet.                         0.50 Hrs
08/27/15          JTM      Multiple correspondence with client team, committee         0.80 Hrs
                           counsel and Bread of Life counsel re: final approval
                           and logistics for executing term sheet.
08/27/15          JTM      Continue drafting motion to approve 54 Eastern              0.70 Hrs
                           Settlement.
08/28/15          DYL      Confer with Morrier re filing motion to approve             0.30 Hrs
                           settlement. File and serve same.
08/28/15          JTM      Communicate with G. Howell and with M. Dugan re:            0.20 Hrs
                           signature release.
08/28/15          JTM      Finalize motion to approve 54 Eastern settlement;           2.00 Hrs
                           attention to filing same.
08/28/15          JTM      Communicate with K. Nicholson re: settlement.               0.10 Hrs
08/28/15          JTM      Communicate with M. Slotnick re: settlement.                0.20 Hrs
08/28/15          JTM      Communicate with Executive Committee re:                    0.20 Hrs
                           settlement.
08/28/15          JTM      Communicate with M. Slotnick and with G. Ehrlich            0.30 Hrs
                           re: 54 Eastern.
08/31/15          DYL      Confer with Morrier re emergency motion to                  0.30 Hrs
                           reschedule hearings. File and serve same. Call to
                           clerk's office re hearing date.
08/31/15          JTM      Communicate with M. Slotnick (multiple emails).             0.60 Hrs
09/01/15          DYL      Call and voicemail to clerk re setting emergency            0.30 Hrs
                           hearings. File and serve notice of hearing.
09/03/15          JTM      Communicate with G. Howell re: 54 Eastern.                  0.20 Hrs


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09/04/15          JTM      Communicate with G. Howell.                               0.20 Hrs
09/04/15          JTM      Communicate with G. Ehrlich (multiple emails).            0.20 Hrs
09/04/15          JTM      Communicate with Committee re: Century Bank.              0.20 Hrs
09/04/15          JTM      Communicate with G. Howell re: Century Bank.              0.20 Hrs
09/04/15          JTM      Communicate with M. Slotnick re: Century Bank.            0.10 Hrs
09/07/15          JTM      Telephone call with M. Slotnick.                          0.70 Hrs
09/07/15          JTM      Communicate with M. Slotnick.                             0.20 Hrs
09/08/15          JTM      Correspond with M. Slotnick; analyze spreadsheets         0.50 Hrs
                           re; 54 Eastern financing.
09/08/15          JTM      Communicate with G. Howell.                               0.10 Hrs
09/09/15          JTM      Communicate with G. Howell and K. Burgerer re: 54         0.50 Hrs
                           Eastern.
09/09/15          JTM      Communicate with K. Nicholson re: 54 Eastern.             0.30 Hrs
09/11/15          JTM      Review Century correspondence.                            0.10 Hrs
09/16/15          JTM      Communicate with F. McGinn.                               0.10 Hrs
09/16/15          JTM      Communicate with M. Slotnick.                             0.10 Hrs
09/16/15          JTM      Correspond re: DHCD funding of housing rehab;             0.50 Hrs
                           conference with client re: same.
09/17/15          JTM      Order re: 54 Eastern.                                     0.10 Hrs
09/17/15          JTM      Communicate with G. Howell re: 54 Eastern.                0.10 Hrs
09/17/15          JTM      Communicate with M. Slotnick re: 54 Eastern.              0.10 Hrs
09/17/15          JTM      Work on houses transaction documents; revise key          1.80 Hrs
                           terms and schedule of assumed debts; telephone
                           call with and conference with M. Slotnick.
09/18/15          JTM      Correspond with A. Krapf and analysis of financial        0.80 Hrs
                           conditions.
09/18/15          JTM      Communicate with H. Korman.                               0.20 Hrs
09/18/15          JTM      Revise term sheet.                                        0.50 Hrs
09/21/15          JTM      Correspond and conference call with MetroNorth            0.90 Hrs
                           Housing team; review info; revise term sheet.
09/21/15          JTM      Communicate with F. McGinn, counsel to DHCD re:           0.20 Hrs
                           housing term sheet.


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09/21/15          JTM      Communicate with counsel to Malden                       0.20 Hrs
                           Redevelopment re: housing term sheet.
09/21/15          JTM      Communicate with K. Nicholson re: housing term           0.20 Hrs
                           sheet.
09/21/15          JTM      Communicate with B. Mockler, AUSA re: housing            0.20 Hrs
                           term sheet.
09/22/15          JTM      Communicate with K. Nicholson.                           0.10 Hrs
09/23/15          JTM      Communicate with DLA Piper; review draft                 0.50 Hrs
                           redemption documents.
09/23/15          JTM      Communicate with DLA Piper and K. Nicholson re:          0.20 Hrs
                           Century consent.
09/24/15          JTM      Communicate with G. Ehrlich.                             0.10 Hrs
09/24/15          JTM      Communicate with K. Nicholson.                           0.10 Hrs
09/25/15          JTM      Revise APA.                                              0.50 Hrs
09/28/15          JTM      Communicate with G. Ehrlich re: Century consent          0.60 Hrs
                           conditions; communicate with BOL and with
                           Committee; follow up with Gayle.
09/29/15          JTM      Telephone call with K. Burgerer and G. Howell re:        0.20 Hrs
                           Century consent.
09/29/15          JTM      Communicate with G. Ehrlich.                             0.20 Hrs
09/29/15          JTM      Communicate with K. Burgerer and G. Howell;              0.50 Hrs
                           revise Redemption Agreement and send.
09/29/15          JTM      Communicate with G. Ehrlich; communicate with K.         0.60 Hrs
                           Nicholson.
09/30/15          JTM      Communicate with M. Slotnick re: Term Sheet              0.10 Hrs
                           approval.
10/01/15          JTM      Communicate with G. Ehrlich; review draft inter          0.90 Hrs
                           creditor agreement; correspond with DLA Piper and
                           with G. Ehrlich; correspond with EC.
10/01/15          JTM      Correspond with M. Slotnick.                             0.30 Hrs
10/02/15          JTM      Multiple emails and correspond with DLA Piper and        2.40 Hrs
                           K. Nicholson re: Century Bank documents;
                           Communicate with and telephone call with G.
                           Ehrlich.
10/02/15          JTM      Correspond with NEC; review FHLB application             0.80 Hrs
                           support.
10/02/15          JTM      Correspond with K. Nicholson.                            0.30 Hrs

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10/02/15          JTM      Revise term sheet; communicate with A. Krapf and                 0.50 Hrs
                           M. Slotnick.
10/02/15          JTM      Revise APA.                                                      0.80 Hrs
10/03/15          JTM      Revise APA; communicate with NECI re: same.                      2.50 Hrs
10/05/15          JTM      Calls and correspond re: 54 Eastern Ave Exit;                    1.90 Hrs
                           communicate with G. Ehrlich; communicate with
                           K.Nicholson.
10/06/15          JTM      Communicate with K. Nicholson re: Century/54                     0.20 Hrs
                           Eastern.
10/06/15          JTM      Communicate with K. Burglierer re: Century/54                    0.30 Hrs
                           Eastern.
10/06/15          JTM      Communicate with K. Ehrlich re: Century/54                       0.20 Hrs
                           Eastern.
10/09/15          JTM      Communicate with parties re: 54 Eastern.                         0.20 Hrs
10/13/15          JTM      Communicate with G. Ehrlich re: documentation.                   0.50 Hrs
10/13/15          JTM      Telephone call with F. McGinn re: DHCD.                          0.70 Hrs
10/15/15          JTM      Telephone call with F. McGinn.                                   0.30 Hrs
10/15/15          JTM      Legal research.                                                  0.40 Hrs
10/15/15          JTM      Correspondence from G. Ehrlich; review revised                   0.30 Hrs
                           agreement to release guaranty; communicate with
                           counsel.
10/19/15          JTM      Conference call with A. Krapf and M. Slotnick.                   0.40 Hrs
10/22/15          JTM      Communicate with G. Ehrlich; review "final" docs.                0.40 Hrs
10/22/15          JTM      Communicate with A. Krapf re: 54 Eastern; emails                 0.50 Hrs
                           with documents.
10/22/15          JTM      Telephone call with A. Krapf and M. Slotnick re: 54              0.30 Hrs
                           Eastern.
10/24/15          JTM      Obtain client signatures on 54 Eastern Avenue                    0.10 Hrs
                           documents.
10/26/15          JTM      54 Eastern: assemble documents and transmit                      0.70 Hrs
                           signatures; letter to counsel to Bread of Life; letter to
                           counsel to Century.
10/26/15          JTM      Communicate with K. Burgerer re: 54 Eastern                      0.20 Hrs
                           documents.
10/27/15          JTM      Correspond with parties re: status of 54 Eastern                 0.20 Hrs
                           closing.

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10/29/15          ASL      Draft board vote on sale of properties.                     0.60 Hrs
10/30/15          ASL      Draft board vote on property sale.                          0.40 Hrs
11/02/15          JTM      Correspondence from H. Korman with APA                      0.80 Hrs
                           revisions; further review and revise APA;
                           communicate with H. Korman re: same.
11/02/15          JTM      Correspond re: 54 Eastern Ave.                              0.10 Hrs
11/02/15          JTM      Telephone call with M. Slotnick.                            0.20 Hrs
11/03/15          JTM      Telephone call with H. Korman re: APA.                      0.60 Hrs
11/04/15          JTM      Telephone call with H. Korman re: APA.                      0.60 Hrs
11/04/15          JTM      Telephone call with K. Burgerer re: 54 Eastern; call        0.20 Hrs
                           to G. Ehrlich.
11/04/15          JTM      Communicate with E. Evans.                                  0.10 Hrs
11/04/15          JTM      Communicate with F. McGinn.                                 0.10 Hrs
11/04/15          JTM      Outline mini-disclosure statement for sale                  0.80 Hrs
                           disclosures.
11/05/15          JTM      Telephone call with K. Nicholson and communicate            0.20 Hrs
                           with B. Mockler re: Bus motion; case status.
11/05/15          JTM      Communicate and telephone call from K Burgerer              0.30 Hrs
                           re: 54 Eastern.
11/05/15          JTM      Telephone call with F. McGinn.                              0.20 Hrs
11/06/15          JTM      Telephone call and communicate with B. Mockler re:          0.10 Hrs
                           HHS notice.
11/09/15          JTM      Telephone call with M. Slotnick.                            0.10 Hrs
11/09/15          JTM      Correspond and telephone call among 54 Eastern              0.30 Hrs
                           Avenue parties.
11/10/15          JTM      Multiple emails re: 54 Eastern closing; review              1.40 Hrs
                           documents and communicate with counsel.
11/10/15          JTM      Communicate with MJG re: sale.                              0.10 Hrs
11/11/15          JTM      Telephone call with Henry Korman.                           0.30 Hrs
11/17/15          JTM      Communicate with M. Slotnick and communicate                0.40 Hrs
                           with parties' counsel re: closing.
11/18/15          JTM      Communicate with H. Korman.                                 0.20 Hrs
11/19/15          JTM      Communicate with M. Slotnick re: 54 Eastern Ave.            0.10 Hrs
                           .


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12/09/15          JTM      Communicate with Bread of Life with relevant                 0.30 Hrs
                           documents re: 54 Eastern Ave.
02/04/16          JTM      Correspond with M. Slotnick re: taxes.                       0.20 Hrs
02/18/16          JTM      Correspond re: bus transfer.                                 0.20 Hrs
02/19/16          JTM      Correspond re: bus transfer.                                 0.20 Hrs
02/22/16          JTM      Communicate with MJG re: housing transaction.                0.20 Hrs
02/22/16          JTM      Bus transfer logistics.                                      0.40 Hrs
02/23/16          JTM      Telephone call with W. Mullen.                               0.30 Hrs
02/24/16           EM      Obtain application for duplicate certificate of title        0.30 Hrs
                           from RMV; telephone call to RMV; email to JTM.
02/24/16          JTM      Communicate with Eagle Bank and with Greenfield              0.40 Hrs
                           CAP re: vehicle title.
02/25/16           EM      Telephone call with Registry of Motor Vehicles; IRS          0.70 Hrs
                           research and telephone call with IRS; Secretary of
                           Commonwealth research; email to JTM; review prior
                           corporate filings; prepare and file 2014 Annual
                           Report with Secretary of the Commonwealth.
02/25/16          JTM      Bus transfer (c/w Eagle).                                    0.40 Hrs
02/26/16          JTM      Work to resolve vehicle title issues; telephone call         0.60 Hrs
                           with W. Mullen (buyer).
02/29/16          JTM      Bus transfer correspondence.                                 0.20 Hrs
03/04/16           EM      Telephone call with IRS; conferences with JTM;               0.50 Hrs
                           review application and attachments; telephone call
                           and fax to Mass DOT.
03/04/16          JTM      Communicate with E. Evans re: housing transaction.           0.20 Hrs
03/16/16          JTM      Communicate with W. Mullen re: vehicle transfer.             0.10 Hrs
03/21/16          JTM      Communicate with M. Dugan re: vehicle title.                 0.20 Hrs
03/22/16          JTM      Vehicle transfer logistics; communicate with buyer.          0.60 Hrs
04/20/16          JTM      Communicate with M. Slotnick.                                0.10 Hrs
04/20/16          JTM      Communicate with ABCD.                                       0.10 Hrs
04/20/16          JTM      Communicate with Malden Redevelopment                        0.10 Hrs
                           Authority.
04/25/16          JTM      Call with ABCD.                                              0.40 Hrs
05/19/16          JTM      Communicate with H. Korman.                                  0.10 Hrs

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05/19/16          JTM      Communicate with J. Shapiro re: MRA.                        0.20 Hrs
05/23/16          JTM      Review APA.                                                 0.40 Hrs
05/23/16          JTM      Telephone call with Henry Korman re APA.                    0.60 Hrs
07/08/16          JTM      Correspondence from and to M. Slotnick.                     0.30 Hrs
08/12/16          JTM      Revise APA; revise plan provisions.                         1.60 Hrs
08/26/16          JTM      Revise APA.                                                 1.40 Hrs
09/01/16          JTM      Corespond with H. Korman.                                   0.30 Hrs
09/14/16          JTM      Review MNHC converts to APA; revise.                        0.70 Hrs
09/15/16          JTM      Communicate with Metro North re: insurance;                 1.00 Hrs
                           resolve issues and correspond with Malden
                           Redevelopment and with HUB International; call and
                           correspond with Marjorie Lombard.
09/15/16          JTM      Call with N. Megaloudis.                                    0.40 Hrs
09/15/16          JTM      Call with H. Korman.                                        0.80 Hrs
09/15/16          JTM      Communicate with F. McGinn.                                 0.10 Hrs
09/15/16          JTM      Correspond with N. Megaloudis (Heading Home).               0.20 Hrs
09/15/16          JTM      Communicate with J. Loughnane.                              0.10 Hrs
09/16/16          JTM      Further work on houses/expenses; calls with Natalie         0.70 Hrs
                           Megaloudis, Marjorie Lombard; correspond with
                           Metro North.
09/16/16          JTM      Review APA; communicate with M. Goldberg re                 0.50 Hrs
                           status and open items.
09/21/16          MJG      Review comments to PSA and edit same; email to J.           0.80 Hrs
                           Morrier re same.
09/22/16          MJG      Detail review of PSA; conference with M. Morrier re         1.20 Hrs
                           same; emails to H. Korman.
09/22/16          JTM      Communicate with MJG re: APA open issues.                   0.30 Hrs
09/22/16          JTM      Communicate with H. Korman re APA.                          0.50 Hrs
09/22/16          JTM      Communicate with F. McGinn re: APA.                         0.20 Hrs
09/23/16          JTM      Communicate with MJG re: title review and outline of        0.50 Hrs
                           assumed mortgage debt,.
09/27/16          JTM      Communicate with Henry Korman and MJG re:                   0.40 Hrs
                           purchase agreement.


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09/27/16          JTM      Communicate with F. McGinn re: purchase                         0.20 Hrs
                           agreement.
09/27/16          JTM      Communicate with MJG re: purchase agreement.                    0.20 Hrs
09/27/16          JTM      Review real estate loan documents for assumption.               0.50 Hrs
09/28/16          JTM      Emails with H. Korman; communicate with MJG re:                 0.50 Hrs
                           meeting/call.
09/30/16          MJG      Conference call with H. Korman, M. Slotnick, A.                 1.00 Hrs
                           Krapf, J. Morrier re PSA issues, status of settlement
                           negotiations.
09/30/16          JTM      Communicate with H. Korman.                                     0.20 Hrs
10/03/16          JTM      Correspondence from H. Korman.                                  0.20 Hrs
10/03/16          JTM      Correspond with J. Loughnane.                                   0.20 Hrs
10/04/16          JTM      Correspond with Mark Powers re: Committee claim.                0.20 Hrs
10/04/16          JTM      Communicate with F. McGinn.                                     0.10 Hrs
10/06/16          JTM      Correspond with counsel to DHCD.                                0.30 Hrs
10/06/16          JTM      Correspond with MetroNorth re: loan documents.                  0.60 Hrs
10/07/16          MJG      Conference call with buyer, J. Morrier, H. Korman.              0.50 Hrs
10/07/16          JTM      Telephone call with H. Korman and MNHC (with                    0.70 Hrs
                           MJG); review APA>.
10/07/16          JTM      Correspond with MNHC/Alia Krapf.                                0.30 Hrs
10/11/16          MJG      Conference with J. Morrier re: PSA issues,                      0.70 Hrs
                           deadlines and notices; mark changes to PSA and
                           email to H. Korman re: same.
10/25/16          JTM      Correspond with H. Korman; communicate with                     0.60 Hrs
                           MRA.
10/25/16          JTM      Communicate with C. Harak re: transaction.                      0.30 Hrs
10/26/16          MJG      Review changes made by buyer; CN with J. Morrier                1.40 Hrs
                           re same; review title files for legal description; draft
                           form of DIP deed.
10/27/16          MJG      Attention to deed and P&S.                                      0.30 Hrs
10/28/16          MJG      Email to H. Korman re P&S exhibits.                             0.10 Hrs
11/16/16          JTM      Review final APA.                                               0.80 Hrs
11/16/16          JTM      Communicate with H. Korman; communicate with M.                 0.20 Hrs
                           Slotnick.

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11/17/16          MJG      Review changes to agreement and prepare final                 0.50 Hrs
                           version.
11/21/16          MJG      Final review and revisions to PSA.                            0.30 Hrs
11/29/16          JTM      Communicate with Executive Committee re P&S.                  0.30 Hrs
12/06/16          JTM      Communicate with M. Slotnick.                                 0.10 Hrs
12/08/16          JTM      Communicate with H. Korman.                                   0.30 Hrs
12/11/16          JTM      Communicate with H. Korman.                                   0.20 Hrs
12/21/16          JTM      Communicate with M. Slotnick.                                 0.20 Hrs
01/04/17          JTM      Telephone call with H. Korman re: DHCD program                0.50 Hrs
                           change.
01/04/17          JTM      Review APA provisions.                                        0.20 Hrs
01/09/17          JTM      Call with H. Korman; outline issues with transition of        1.00 Hrs
                           program at K-House; review mortgage status of K-
                           House.
01/20/17          MJG      CN with J. Morrier re P&S changes to address                  0.30 Hrs
                           changes in DHCD plans for property.
01/20/17          JTM      Communicate with MJG re APA.                                  0.30 Hrs
01/20/17          JTM      Communicate with H. Korman.                                   0.30 Hrs
01/22/17          MJG      Review P&S and revise re: extension of study                  0.80 Hrs
                           period, closing date, other related dates.
01/22/17          JTM      Communicate with M. Goldberg re: APA provisions.              0.20 Hrs
01/23/17          JTM      Review and revise APA (first amendment);                      1.50 Hrs
                           communicate with H. Korman and with M. Goldberg.
01/24/17          MJG      CN with J. Morrier and revise PSA draft.                      0.40 Hrs
01/24/17          JTM      Revisions to APA; correspond with H. Korman;                  0.90 Hrs
                           communicate with MJG.
01/31/17          JTM      Review loan package for MRA/North Suburban.                   0.80 Hrs
02/01/17          JTM      Telephone call with H. Korman.                                0.90 Hrs
02/01/17          JTM      Email H. Korman re: payoff. .                                 0.10 Hrs
02/10/17          JTM      Outline estate tax issues and communicate with LFR            0.20 Hrs
                           re: objection to confirmation.
02/13/17          JTM      Telephone call with H. Korman.                                0.70 Hrs
02/16/17          JTM      Correspond with H. Korman re: 22 Charles; review              0.80 Hrs
                           documents.

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02/17/17          JTM      Communicate with H. Korman with APA revisions.             0.20 Hrs
02/27/17          JTM      Review 22 Charles St. info.                                0.40 Hrs
02/27/17          JTM      Call with H. Korman.                                       0.50 Hrs
02/28/17          JTM      Correspond with H. Korman re: 22 Charles.                  0.20 Hrs
03/21/17          JTM      Telephone call with H. Korman; revise APA and              0.80 Hrs
                           finalize; correspond with Buyer group re: status.
03/22/17          JTM      Communicate with H. Korman.                                0.20 Hrs
03/27/17          JTM      Communicate with M. Slotnick re: revised APA.              0.20 Hrs
03/28/17          JTM      Communicate with Metro North re: APA -                     0.30 Hrs
                           final/executed.
03/28/17          ADW      Reviewed Committee draft of motion seeking                 0.30 Hrs
                           authority to prosecute and compromise claims
                           against officers, revised and edited same and
                           provided mark-up to JTM.
03/30/17          JTM      Communicate with M. Slotnick re: tenants;                  0.50 Hrs
                           communicate with EC. .
04/14/17          JTM      Call to and correspond with H. Korman re: property         0.50 Hrs
                           APA; correspond re: filed plan.
04/19/17          JTM      Communicate with A. Krapf.                                 0.20 Hrs
04/25/17          JTM      Communicate and telephone call with M. Slotnick re:        0.30 Hrs
                           water bills.
04/27/17          JTM      Communicate with M. Slotnick and A.                        0.30 Hrs
04/27/17          JTM      Telephone call with F. McGinn.                             0.20 Hrs
05/11/17          JTM      Confer with MJG re: legal opinion; provide revised         0.50 Hrs
                           language.
05/24/17          JTM      Communicate with Marc Slotnick and Alice Krapf.            0.30 Hrs
06/26/17          JTM      Correspond with ABCD and counsel to DHCD re:               0.30 Hrs
                           housing transfer.
06/28/17          JTM      Correspond with Marjorie Lombard.                          0.20 Hrs
07/05/17          JTM      Communicate with MJG re: order approving real              0.20 Hrs
                           estate transaction.
07/12/17          JTM      Correspondence from H. Korman; review proposed             0.90 Hrs
                           revisions and communicate with MJG; compile info
                           and revise both proposed orders.
07/13/17          JTM      Correspond with buyer legal team.                          0.30 Hrs

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08/01/17          JTM      Communicate with M. Slotnick and with C. Harak re:        0.50 Hrs
                           logistics for board of health inspection.
08/07/17          JTM      Communicate with H. Korman.                               0.20 Hrs
08/08/17          MJG      Conference call with purchaser's counsel re               0.40 Hrs
                           preparations for closing.
08/08/17          JTM      Planning call with H. Korman.                             1.10 Hrs
08/08/17          JTM      Outline closing deliverables.                             0.60 Hrs
08/08/17          JTM      Telephone call with MJG re: closing.                      0.10 Hrs
08/08/17          JTM      Analyze Malden admin/priority/lien claims.                0.80 Hrs
08/22/17          JTM      Communicate with C. Harak re: boiler replacement          0.50 Hrs
                           contract; communicate with M. Slotnick with signed
                           agreement.
08/22/17          JTM      Communicate with M. Slotnick re: permit.                  0.20 Hrs
08/22/17          JTM      Compile info for Officer's Certificate.                   0.60 Hrs
08/23/17          JTM      Compile info for call with Jon Green (Mass AGO).          0.40 Hrs
08/23/17          JTM      Conference call with Jon Green (Mass AGO).                0.30 Hrs
08/24/17          JTM      Draft updated 8A notice to AGO.                           1.30 Hrs
08/24/17          JTM      Review notice re: extension of closing date;              0.20 Hrs
                           communicate with Matt Dugan re: same. .
08/25/17          JTM      Correspond with H. Korman; reply; further                 0.50 Hrs
                           correspond.
08/30/17          JTM      Closing documents; communicate with H. Korman.            1.50 Hrs
08/30/17          JTM      Email client.                                             0.20 Hrs
08/31/17          MJG      Review emails from H. Korman and draft                    0.50 Hrs
                           documents; CN with J. Morrier.
08/31/17          JTM      Compile closing deliverables.                             1.30 Hrs
08/31/17          JTM      Correspondence from and to H. Korman.                     0.30 Hrs
09/01/17          JTM      Communicate with H. korman.                               0.20 Hrs
09/05/17          JTM      Review and revise assignment and deeds.                   0.70 Hrs
09/05/17          JTM      Correspond with H. Korman.                                0.20 Hrs
09/05/17          JTM      Correspondence from M. Slotnick.                          0.10 Hrs
09/06/17          MJG      CN with J. Morrier re comments on assignment,             0.30 Hrs
                           closing.
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09/06/17          JTM      Communicate with MJG re: buyer draft assignments.         0.50 Hrs
09/06/17          JTM      Revise 2 Assignments; and communicate with H.             1.20 Hrs
                           Korman re: same.
09/08/17          JTM      Call with H. Korman re: closing.                          0.20 Hrs
09/13/17          JTM      Conference with F. McGinn re: loan document               0.30 Hrs
                           status.
09/13/17          JTM      Conference with H. Korman re: loan document               0.30 Hrs
                           status and transaction schedule.
09/18/17          JTM      Communicate with H. Korman with revised                   0.80 Hrs
                           documents; review.
09/19/17          JTM      Correspondence from H. Korman.                            0.10 Hrs
09/19/17          JTM      Investigate Korman inquiry re: HUD service and            0.30 Hrs
                           respond.
09/20/17          JTM      Communicate with MJG re: review of real estate            0.50 Hrs
                           documents and with H. Korman.
09/25/17          JTM      Correspondence from H. Korman re: closing date            0.20 Hrs
                           extension.
09/25/17          JTM      Communicate with C. Harak and M. Dugan re:                0.10 Hrs
                           status.
09/26/17          MJG      Review checklist and email to H. Korman re same.          0.20 Hrs
09/26/17          JTM      Correspondence from/to H. Korman.                         0.20 Hrs
10/10/17          JTM      Communicate wtih and telephone call with H.               0.50 Hrs
                           Korman.
10/11/17          JTM      Communicate with H. Korman re: closing checklist          0.20 Hrs
                           items.
10/16/17          JTM      Correspond with H. Korman re: HUD grant                   0.40 Hrs
                           agreement; review.
10/17/17          JTM      Review APA and related claims for grant agreement;        1.00 Hrs
                           communicate with MJG re: analysis and
                           communicate with H. Korman.
10/18/17          MJG      Conference call with H. Korman, J. Morrier re HUD         1.20 Hrs
                           issues and follow-up TC to J. Morrier.
10/19/17          JTM      Correspond and telephone call with H. Korman.             0.70 Hrs
10/20/17          MJG      CN with J. Morrier, TC to J. Loughnane re Eagle           0.20 Hrs
                           Bank mortgage discharges.
10/20/17          JTM      Communicate with H. Korman.                               0.30 Hrs


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10/23/17          JTM      Correspondence from H. Korman re: closing                0.10 Hrs
                           extension.
10/31/17          JTM      Communicate with R. Rubin of DHCD.                       0.10 Hrs
10/31/17          JTM      Telephone call with H. Korman re: closing.               0.40 Hrs
10/31/17          JTM      Review correspondence from H. Korman re:                 0.10 Hrs
                           documents.
10/31/17          JTM      Review correspondence from H. Korman r:                  0.20 Hrs
                           documents.
10/31/17          JTM      Call with R. Rubin/DHCD re: closing.                     0.30 Hrs
11/07/17          MJG      Draft discharges and email to N. Bloomenthal re          0.50 Hrs
                           same; revise discharges and email to H. Korman re
                           same.
11/07/17          JTM      Communicate with MJG re: discharges; review              0.50 Hrs
                           same.
11/08/17          MJG      Review closing documents against prior drafts; CN        0.70 Hrs
                           with J. Morrier; email to H. Korman.
11/09/17          JTM      Communicate with MJG and with H. Korman re:              0.50 Hrs
                           closing documents.
11/09/17          JTM      Revise closing documents and communicate with M.         0.50 Hrs
                           Dugan re: logistics for execution.
11/10/17          JTM      Communicate with H. Korman.                              0.30 Hrs
11/10/17          JTM      Communicate with clients re: HUD resolution.             0.40 Hrs
11/13/17          JTM      Correspondence from H. Korman with closing               0.40 Hrs
                           documents (Assignment) (.2); communicate with M.
                           Dugan re: logistics for signing (.2).
11/14/17          JTM      Meeting with Matt Dugan to sign Assignments;             0.50 Hrs
                           communicate with H. Korman re: same.
11/16/17          JTM      Correspondence from H. Korman with draft closing         1.00 Hrs
                           escrow letter; review same.
11/18/17          JTM      Correspond with H. Korman re: good standing and          1.20 Hrs
                           re: escrow letter; review escrow letter.
11/20/17          JTM      Communicate with H. Korman.                              0.20 Hrs
11/20/17          JTM      Communicate with Jonathan Green (Mass AGO).              0.20 Hrs
11/20/17          JTM      Correspondence to Jonathan Green (Mass AGO) re:          0.30 Hrs
                           8A update.
11/21/17           EM      Email with MJG; order Certificates of Legal              0.20 Hrs
                           Existence and Good Standing.

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11/21/17          JTM      CW H. Korman re: closing deliverables and status.           0.60 Hrs
11/21/17          JTM      Communicate with Executive Committee re: status             0.50 Hrs
                           and closing logistics.
11/21/17          JTM      Communicate with J. Loughnane re: Eagle                     0.30 Hrs
                           discharge forms.
11/21/17          JTM      Communicate with J. Green re: status of closing and         0.30 Hrs
                           status of AGO 8A review.
11/22/17          MJG      TC to J. Morrier, K. Martin-Epstein, H. Korman re           0.60 Hrs
                           closing; email to J. Morrier re discharges.
11/22/17          JTM      Conference call re: closing logistics (w/H. Korman).        0.50 Hrs
11/22/17          JTM      Communicate with MJG re: closing.                           0.20 Hrs
11/22/17          JTM      Communicate with J. Loughnane re: discharge and             0.30 Hrs
                           closing.
11/22/17          JTM      Receipt and review of draft settlement statement            1.20 Hrs
                           from K. Martin-Epstein; communicate with H.
                           Korman and Attorney Martin-Epstein re; same;
                           calculate payoff.
11/22/17          JTM      Communicate with Jonathan Green regarding 8A                0.20 Hrs
                           review.
11/24/17          JTM      Communicate with Jonathan Green.                            0.10 Hrs
11/26/17          JTM      Communicate with H. Korman re: UCC liens; review;           0.60 Hrs
                           communicate with H. Korman and K. Martin-Epstein
                           re: analysis and lien releases.
11/27/17           EM      Receive and review Certificate of Legal Existence;          0.20 Hrs
                           email to MJG.
11/27/17          JTM      Call with J. Green re: 8A review; follow-up                 0.60 Hrs
                           correspondence confirming status.
11/27/17          JTM      Correspond wtih H. Korman re: 8A review and                 0.40 Hrs
                           closing items.
11/27/17          JTM      Communicate with S. Loughnane re: discharges;               0.50 Hrs
                           review; communicate with Attorney Loughnane re:
                           instructions.
11/27/17          JTM      Communicate with H. Korman re: closing delay;               0.40 Hrs
                           review extension notice.
11/27/17          JTM      Communicate with Executive Committee re: closing            0.40 Hrs
                           delay.
11/27/17          JTM      Communicate with E Masas re: good standing.                 0.10 Hrs


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11/30/17          JTM      Communicate with H. Korman re; legal description;           0.50 Hrs
                           review closing package and fix legal description.
11/30/17          JTM      Communicate with J. Loughnane.                              0.30 Hrs
12/01/17          JTM      Communicate with H. Korman re: settlement                   0.50 Hrs
                           statement draft; review same; communicate with K.
                           Martin-Epstein re: same.
12/01/17          JTM      Telephone call with Jonathan Green; call to H.              1.00 Hrs
                           Korman re: AGO questions; correspond with J.
                           Green.
12/01/17          JTM      Calls and correspond with A. Krapf re: tenant               0.70 Hrs
                           identity; review files and respond.
12/01/17          JTM      Communicate with J. Loughnane re: discharge                 0.10 Hrs
                           documents.
12/04/17          JTM      Review files for resident info; communicate with A.         0.60 Hrs
                           Karpf and Carole Collins.
12/04/17          JTM      Correspond with J. green re: 8A acknowledgement             0.50 Hrs
                           letter from AGO; communicate with H. Korman.
12/05/17          JTM      Correspond and telephone call with H. Korman re:            0.60 Hrs
                           status and remaining issues.
12/08/17          JTM      Communicate with H. Korman re: status.                      0.30 Hrs
12/08/17          JTM      Communicate with creditor counsel re: status of             0.30 Hrs
                           closing.
12/08/17          JTM      Correspondence from counsel to Eagle.                       0.10 Hrs
12/13/17          JTM      Message from H. Korman re: closing.                         0.20 Hrs
12/13/17          JTM      Communicate with Executive committee re: closing.           0.50 Hrs
12/13/17          JTM      Communicate with K. Nicholson re: closing.                  0.10 Hrs
12/13/17          JTM      Communicate with M. Goldberg re: closing.                   0.20 Hrs
12/13/17          JTM      Correspond with clients re: closing/document signing        0.60 Hrs
                           logistics.
12/14/17          JTM      Memo to clients re: closing documents; assemble             1.70 Hrs
                           packet of necessary documents and correspond re:
                           same.
12/14/17          JTM      Communicate with H. Korman re: closing logistics.           0.20 Hrs
12/14/17          JTM      Call and communicate with P. Valentine; review and          2.50 Hrs
                           revise report to court; communicate with P.
                           Valentine and J. Dinoff re: additional issues to
                           include/address.

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12/15/17          JTM      Review and communicate with H. Korman re:                    0.70 Hrs
                           settlement statement draft.
12/15/17          JTM      Continue assembly and verifying closing documents            1.30 Hrs
                           package.
12/15/17          JTM      Confirm appointments with authorized signatures.             0.20 Hrs
12/18/17           EM      Email with JTM; review prior emails and certificates.        0.20 Hrs
12/18/17          JTM      To Malden to review and executing closing                    1.50 Hrs
                           documents with clerk, Marie Cassidy.
12/18/17          JTM      Meeting with C. Harak to review and executing                1.50 Hrs
                           closing documents.
12/18/17          JTM      To office of buyer's counsel to review and exchange          1.50 Hrs
                           closing documents; call to C. Harak to re-execute
                           deed documents.
12/18/17          JTM      Correspond with client re: closing progress.                 0.50 Hrs
12/18/17          JTM      Correspond with Creditor's counsel.                          0.50 Hrs
12/18/17          JTM      Communicate with H. Korman.                                  0.20 Hrs
12/18/17          JTM      Communicate with DYL re: certified order. 58.                0.10 Hrs
12/18/17          JTM      Communicate with E. Matas re: good standing.                 0.20 Hrs
12/19/17          JTM      Assemble additional closing deliverables; draft and          1.00 Hrs
                           revise escrow letter and deliver documents in
                           escrow for closing.
12/19/17          JTM      Monitor closing progress; call and correspond re:            0.50 Hrs
                           same.
12/19/17          JTM      Telephone call with H. Korman.                               0.30 Hrs
12/20/17          JTM      Correspondence from/to H. Korman re; settlement              0.40 Hrs
                           statement, including review of same.
12/20/17          JTM      Telephone call with M. Goldberg re: authority to             0.10 Hrs
                           close.
12/20/17          JTM      Updates re: closing logistics; communicate with              0.70 Hrs
                           client; communicate with creditor counsel.
12/27/17          JTM      Communicate with F. McGinn and with J.                       1.00 Hrs
                           Loughnane; closing logistics.
12/28/17          JTM      Correspondence from J. Loughnane and                         0.50 Hrs
                           communicate with M. Powers re: closing wires.

                                                          TOTAL LEGAL SERVICES                      $95,436.00


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 Tri-City Community Action Program, Inc.                                                May 4, 2018
                                                                                      Bill Number 0
                                                                           File Number 58492.00003
 Re: Asset Disposition




LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs              Rate       Amount
GOLDBERG, MICHAEL J.                        28.70             450.00    12,915.00
LICHTBLAU, ANITA S.                          1.00             375.00       375.00
LUO, DIYING                                  0.90             175.00       157.50
MATAS, EVANNE                                2.10             175.00       367.50
MORRIER, JOHN T.                           181.10             450.00    81,495.00
WHITESELL, A. DAVIS                          0.30             420.00       126.00
                                           214.10                      $95,436.00




                                                                       GRAND TOTAL DUE       $95,436.00




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                                     Exhibit D
                          Category 4: Business Operations

       The Firm assisted the Debtor in comporting its operations and wind-down with

the requirements applicable to a debtor in possession. The Firm also advised the Debtor

and its Board of Directors at its periodic board meetings during the case, both to achieve

authority for the various post-petition transactions, and to comply with its obligations as

a nonprofit corporation under Massachusetts law.

       During the case, the Debtor vacated its headquarters office premises. The Firm

assisted the Debtor in negotiations with its landlord with respect to its lease and

vacating the property. Services in this category also included assisting the Debtor with

determining how to comply with its responsibilities under government regulations, both

state and federal, to maintain certain records, and to implement an appropriate archive

plan. (Certain of the Firm’s services, including implementing the archive plan, were

provided at no charge.) The Firm sought and obtained Court authority to implement this

archive plan, including to abandon certain property of negligible or no value, and to

destroy old records not needed to comply with its obligations to its regulators or as a

debtor in bankruptcy.

       The Firm also assisted the Debtor in responding to creditor inquiries, sorting out

pre-petition claims subject to the stay from administrative priority or ordinary course

bills. While the Debtor well understood that distinction, on occasion, the intervention of

counsel was required to obtain creditor compliance.

       The following chart summarizes the services in this category, by professional:
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                                         Hourly        Total
      Professional             Title                                 Total Fees
                                          Rate         Hours
John T Morrier (JTM)         Attorney      $450            90.9        $40,905.00
John T Morrier (JTM)         Attorney       $0.00            41.8            $0.00
Evanne Matas (EM)            Paralegal        $175            0.2           $35.00
         Totals                                           132.90     $40,940.00

      The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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                                                        June 26, 2018


Tri-City Community Action Program, Inc.

Re: Business Operations

File Number: 58492.00004



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                       $40,940.00
              CURRENT BALANCE                                                                            $40,940.00

              TOTAL DUE                                                                                  $40,940.00




             Casner & Edwards, LLP | 303 Congress Street, Boston, MA 02210 | (TEL) 617.426.5900 | (FAX) 617.426.8810
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 Tri-City Community Action Program, Inc.                                                     June 26, 2018
                                                                                             Bill Number 0
                                                                                  File Number 58492.00004
 Re: Business Operations




LEGAL SERVICES

Date               Atty    Description                                                    Time
04/24/15          JTM      Communicate with M. Dugan re: bank account                  0.20 Hrs
                           authority.
04/24/15          JTM      Communicate with Executive Committee re: Audit.             0.20 Hrs
04/24/15          JTM      Emails with HUB International; email L. Kemp re:            0.30 Hrs
                           same.
04/29/15          JTM      Communicate with S. Torino at HUB International re:         0.30 Hrs
                           insurance.
04/29/15          JTM      Telephone call with S. Torino.                              0.10 Hrs
04/29/15          JTM      Follow-up with S. Torino re: policy renewal (Workers        0.30 Hrs
                           Comp) and premiums.
04/29/15          JTM      Telephone call with L. Kemp re: insurance.                  0.20 Hrs
04/29/15          JTM      Finalize application to return C&E.                         0.50 Hrs
04/29/15          JTM      Work on L. Kemp re: bank acount logistics.                  0.70 Hrs
04/29/15          JTM      Communicate with M. Dugan re: worker's comp;                0.20 Hrs
                           communicate with L. Kemp.
04/30/15          JTM      Review correspondence re: insurance; telephone              0.70 Hrs
                           call with L. Kemp and Communicate with HUB
                           International.
04/30/15          JTM      Board meeting prep and communicate with L. Kemp.            0.70 Hrs
05/01/15          JTM      Communicate with Chair re: board meeting and                0.40 Hrs
                           agenda; review agenda.
05/04/15          JTM      Conference call with Executive Committee.                   1.10 Hrs
05/04/15          JTM      To Malden for Board of Directors Meeting.                   3.50 Hrs
05/11/15          JTM      Communicate with L. Kemp re: payroll.                       0.20 Hrs
05/12/15          JTM      Draft real estate term sheet.                               1.10 Hrs
05/13/15          JTM      Correspond with DHCD.                                       0.30 Hrs
05/13/15          JTM      Review ABCD document; communicate with E.                   0.90 Hrs
                           Evans.
05/13/15          JTM      Correspond re: management letter.                           0.30 Hrs
05/13/15          JTM      Communicate with client re: tax returns (all filed).        0.30 Hrs
05/14/15          JTM      Communicate with E. Evans (ABCD).                           0.10 Hrs

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 Tri-City Community Action Program, Inc.                                                    June 26, 2018
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05/14/15          JTM      Communicate with L. Kemp re: management letter.            0.20 Hrs
05/14/15          JTM      Correspond re: resolution of tax liability/filing.         0.20 Hrs
05/18/15          JTM      Communicate with EC re: insurance.                         0.50 Hrs
05/18/15          JTM      Communicate with L. Kemp re: MHOT program.                 0.20 Hrs
05/18/15          JTM      Communicate with L. Kemp re: DHCD consultant.              0.10 Hrs
05/18/15          JTM      Communicate with A. Krapf re: MHOT program.                0.10 Hrs
05/20/15          JTM      Communicate with Exec Committee re: LIHEAP                 0.30 Hrs
                           program details.
05/20/15          JTM      Communicate with ASL re: LIHEAD terms.                     0.40 Hrs
05/20/15          JTM      Review Rule 2015.3 required info and for;                  0.60 Hrs
                           communicate with R. Pierre-Louis.
05/20/15          JTM      Communicate with counsel to Bread of Life.                 0.40 Hrs
05/20/15          JTM      Communicate with L. Kemp re: audit; 990.                   0.10 Hrs
05/20/15          JTM      Communicate with L. Kemp re: contact info.                 0.10 Hrs
05/20/15          JTM      Communicate with HUB re: insurance.                        0.10 Hrs
05/20/15          JTM      Communicate with EC re: LIHEAP related claims.             0.50 Hrs
05/21/15          JTM      Communicate with accountant and auditor re: status         0.30 Hrs
                           of 2014 tax returns.
05/21/15          JTM      telephone call with Ron Pierre-Louis re: 54 Eastern        0.20 Hrs
                           Ave Financials.
05/21/15          JTM      Communicate with MJG; research 363 vs. Plan                1.00 Hrs
                           issues.
05/22/15          JTM      Correspond with James George re: audit and tax             0.20 Hrs
                           return.
05/26/15          JTM      Communicate with client re: insurance.                     0.30 Hrs
05/27/15          JTM      Communicate with L. Kemp re: health insurance.             0.30 Hrs
05/27/15          JTM      Communicate with L. Kemp re: utilities.                    0.10 Hrs
05/27/15          JTM      Communicate with client group re: executive                0.20 Hrs
                           committee.
05/27/15          JTM      Communicate with L. Kemp confirming auto                   0.20 Hrs
                           insurance.
05/27/15          JTM      Communicate with client re: busses.                        0.30 Hrs
05/28/15          JTM      Communicate with client re: board election.                0.20 Hrs

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05/29/15          JTM      Executive Committee call.                                  0.80 Hrs
05/29/15          JTM      Communicate with Auditor.                                  0.20 Hrs
05/29/15          JTM      Review order.                                              0.10 Hrs
05/29/15          JTM      Communicate with EC re: board election.                    0.20 Hrs
06/01/15          JTM      Board meeting.                                             0.80 Hrs
06/01/15          JTM      Communicate with L. Kemp re: board meeting.                0.20 Hrs
06/03/15          JTM      Communicate with L. Kemp re: Malden BOH                    0.10 Hrs
                           Certification.
06/08/15          JTM      Call from ABCD re: tax and water bills.                    0.20 Hrs
06/11/15          JTM      Communicate with L. Kemp; review board minutes.            0.20 Hrs
06/12/15          JTM      Communicate with L. Kemp re: employee health               0.10 Hrs
                           insurance.
06/12/15          JTM      Communicate with L. Kemp re: payroll records and           0.30 Hrs
                           bank records.
06/15/15          JTM      Communicate with Executive Committee.                      0.10 Hrs
06/17/15          JTM      Communicate with L. Kemp re: work schedule.                0.10 Hrs
06/22/15          JTM      Review and revise ABCD agreement; communicate              1.50 Hrs
                           with ABCD and HeadingHome re: same.
06/22/15          JTM      Communicate with N. Megaloudis re: lease/tenant            0.30 Hrs
                           renewals; review doc.
06/23/15          JTM      Communicate with N. Megaloudis and with E.                 0.40 Hrs
                           Evans; review draft agreement.
06/23/15          JTM      Call to E. Evans.                                          0.10 Hrs
06/24/15          JTM      Telephone call with Natalie Megaloudis.                    0.20 Hrs
06/24/15          JTM      Telephone call with Natalie Megaloudis and Eleanor         0.80 Hrs
                           Evans.
06/24/15          JTM      Conference with G. Kemp re: invoices.                      0.10 Hrs
06/24/15          JTM      Correspond with L. Kemp and R. Pierre Louis re: tax        0.30 Hrs
                           paperwork.
06/30/15          JTM      Conference with E.C. and L. Kemp; conference with          0.30 Hrs
                           J. George re: audit and Form 990.
07/01/15          JTM      Communicate with L. Kemp re: Form PC tax return.           0.20 Hrs
07/08/15          JTM      Communicate with L. Kemp re: status.                       0.20 Hrs


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07/09/15          JTM      Telephone call and communicate with F. MGinn re:          0.60 Hrs
                           DHCD.
07/14/15          JTM      Communicate with J. George and L. Kemp re:                0.10 Hrs
                           990/Form PC.
07/20/15          JTM      Communicate with L. Kemp re: minutes of Executive         0.20 Hrs
                           Committee call. Review same.
07/30/15          JTM      Communicate with M. Dugan.                                0.50 Hrs
08/03/15          JTM      Communicate with L. Kemp re: utility refund.              0.20 Hrs
08/07/15          JTM      Communicate with L. Kemp.                                 0.10 Hrs
08/07/15          JTM      Communicate with M. Dugan.                                0.10 Hrs
08/10/15          JTM      Communicate with M. Dugan.                                0.10 Hrs
08/19/15          JTM      Communicate with L. Kemp re: real estate tax bills        0.20 Hrs
                           (admin only).
08/21/15          JTM      Correspond with M. Dugan.                                 0.10 Hrs
08/26/15          JTM      Communicate with L. Kemp re: Head Start                   0.20 Hrs
                           equipment.
08/31/15          JTM      Correspond with C. Harak.                                 0.20 Hrs
09/02/15          JTM      Communicate with L. Kemp re: board                        0.10 Hrs
                           meeting/agenda.
09/14/15          JTM      Board meeting (Malden HQ).                                3.00 Hrs
09/16/15          JTM      Conference with L. Kemp re: payroll tax service.          0.30 Hrs
09/23/15          JTM      Communicate with L. Kemp re: payroll tax reporting        0.50 Hrs
                           by Harpers.
09/25/15          JTM      Communicate with HUB re: insurance premium                0.10 Hrs
                           schedule.
09/28/15          JTM      Communicate with L. Kemp and S. Torino re:                0.30 Hrs
                           insurance.
09/28/15          JTM      Communicate with L. Kemp re: storage bills.               0.10 Hrs
09/29/15          JTM      Communicate with L. Kemp re: insurance.                   0.10 Hrs
09/29/15          JTM      Update report to client Executive Committee.              0.50 Hrs
09/30/15          JTM      Correspond with L. Kemp and S. Torino re:                 0.10 Hrs
                           insurance.
10/02/15          JTM      Communicate with L. Kemp.                                 0.20 Hrs



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 Tri-City Community Action Program, Inc.                                                  June 26, 2018
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10/05/15          JTM      Calls and correspond re: ABCD storage of                 0.90 Hrs
                           equipment and vacating 110 Pleasant Street.
10/05/15          JTM      Communicate with L. Kemp re: health insurance            0.20 Hrs
                           rebate.
10/05/15          JTM      Board meeting.                                           2.50 Hrs
10/06/15          JTM      Communicate with ASL re: record retention.               0.20 Hrs
10/07/15          JTM      Call with AGO (Green/Mann); communicate with             0.80 Hrs
                           ASL.
10/07/15          JTM      Call with L. Kemp.                                       0.60 Hrs
10/14/15          JTM      Telephone call with L. Kemp.                             0.50 Hrs
10/14/15          JTM      Communicate with L. Kemp re: meeting notice.             0.30 Hrs
10/19/15          JTM      Communicate with L. Kemp re: Board.                      0.20 Hrs
10/21/15          JTM      Telephone call with L. Kemp.                             0.40 Hrs
10/21/15          JTM      Review Iron Mountain agreement; communicate with         0.30 Hrs
                           L. Kemp.
10/23/15          JTM      To 110 Pleasant to review, categorize and sort           7.00 Hrs
                           record for storage/archive. [NO CHARGE].
10/24/15          JTM      To 110 Pleasant Street to review, categorize and         7.00 Hrs
                           sort records for storage/archive. [NO CHARGE].
10/25/15          JTM      Draft motion for authority to destroy records.           0.70 Hrs
11/02/15          JTM      Communicate with L. Kemp re: NHP refund.                 0.10 Hrs
11/02/15          JTM      Review nd revise vote; communicate with EC and L.        0.30 Hrs
                           Kemp.
11/02/15          JTM      Travel to/from Malden for board meeting. [NO             1.50 Hrs
                           CHARGE].
11/02/15          JTM      Board meeting, including prepararation and follow        2.80 Hrs
                           up with Loretta Kemp.
11/03/15          JTM      Telephone call with John Lamb re: Network.               0.20 Hrs
11/03/15          JTM      Telephone call with L. Kemp re: stauts.                  0.20 Hrs
11/04/15          JTM      Telephone call with L. Kemp.                             0.40 Hrs
11/04/15          JTM      Communicate with Executive Committee re: file and        0.20 Hrs
                           review.
11/04/15          JTM      Correspond and telephone call with L. Kemp re:           0.30 Hrs
                           Verizon; correspond with company re: service
                           termination.

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11/04/15          JTM      Calls and correspond with L. Kemp re: vacating 110         0.30 Hrs
                           Pleasant.
11/05/15          JTM      Telephone call and communicate with Verizon re:            0.50 Hrs
                           waiver of early termination fee.
11/05/15          JTM      Telephone call with L. Kemp re: transition.                0.20 Hrs
11/05/15          JTM      Draft motion to abandon/destroy records and                2.50 Hrs
                           abandon property; draft Rule 6007 notice.
11/05/15          JTM      Communicate with AGO, DHCD and committee                   0.40 Hrs
                           counsel re: abandonment; communicate with client
                           re: same.
11/05/15          JTM      Correspond re: records storage costs and logistics.        0.40 Hrs
11/06/15          JTM      Finalize notice; communicate with B. Mockler;              1.00 Hrs
                           compile service list; file.
11/06/15          JTM      Review order re: bus compromise.                           0.10 Hrs
11/06/15          JTM      Calls/Emails with L. Kemp and C. Harak re: server,         0.50 Hrs
                           other moving logistics.
11/09/15          JTM      Telephone call with L. Kemp.                               0.30 Hrs
11/09/15          JTM      Create record storage index.                               0.30 Hrs
11/10/15          JTM      Prepare for next round of records archive project;         1.80 Hrs
                           correspond with Recordkeeper; memo to client re:
                           file sorting. [NO CHARGE].
11/11/15          JTM      Correspond with L. Kemp.                                   0.20 Hrs
11/13/15          JTM      To Tri-Cap for records archive project [NO                 7.00 Hrs
                           CHARGE].
11/14/15          JTM      To Tri-Cap for records archive project. [NO                8.00 Hrs
                           CHARGE].
11/16/15          JTM      Telephone call with L. Kemp and R. Pierre-Louis re         0.30 Hrs
                           accounting software.
11/16/15          JTM      Communicate with L. Kemp.                                  0.20 Hrs
11/17/15          JTM      Archive project.                                           0.20 Hrs
11/17/15          JTM      Communicate with E. Evans; correspond with Evans           0.50 Hrs
                           re: houses.
11/18/15          JTM      Communicate with L. Kemp.                                  0.30 Hrs
11/18/15          JTM      Communicate with Executive Committee.                      0.20 Hrs
11/18/15          JTM      Communicate with E. Evans.                                 0.40 Hrs


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11/18/15          JTM      Revise ABCD Agreement.                                     0.50 Hrs
11/20/15          JTM      To Tri-Cap offices to review and segregate records         6.00 Hrs
                           for archive and destruction. [NO CHARGE].
11/20/15          JTM      Review objection to Notice to Destroy Records;             0.80 Hrs
                           telephone call with B. Mockler; communicate with
                           and telephone call with J. Williams; confer with
                           client.
11/23/15          JTM      Call with Eleanor Evans (ABCD).                            0.20 Hrs
11/23/15          JTM      Draft response to USA/HHS Limited Objection; file          0.70 Hrs
                           and serve; review order and communicate with client
                           re: same.
11/24/15          JTM      Communicate with Brendan Mockler re: records               0.20 Hrs
                           retention.
11/25/15          JTM      Communicate with F. McGinn re: records.                    0.20 Hrs
11/25/15          JTM      Communicate with S. Tornio re: umbrella coverage.          0.30 Hrs
11/30/15          JTM      Communicate with L. Kemp.                                  0.10 Hrs
12/01/15          JTM      Communicate with F. McGinn re: records.                    0.20 Hrs
12/02/15          JTM      Communicate with and telephone call with F.                0.20 Hrs
                           McGinn re: records.
12/02/15          JTM      Communicate with L. Kemp.                                  0.10 Hrs
12/03/15          JTM      Communicate with L. Kemp re: board meeting.                0.20 Hrs
12/04/15          JTM      Multiple emails with counsel to DHCD; communicate          0.80 Hrs
                           with client and with Recordkeeper re: records
                           archive.
12/07/15          JTM      Communicate with Walsh Co re: storage and                  0.20 Hrs
                           moving.
12/07/15          JTM      Communicate with Jon Green and ASC re: 8A                  0.40 Hrs
                           notice.
12/07/15          JTM      Communicate with F. McGinn re: DHCD/archive                0.20 Hrs
                           issues.
12/07/15          JTM      Board meeting.                                             1.50 Hrs
12/07/15          JTM      Archive project [NO CHARGE].                               1.00 Hrs
12/07/15          JTM      Travel to/from Board meeting. [NO CHARGE].                 1.50 Hrs
12/10/15          JTM      Update and categorize archive records;                     0.50 Hrs
                           communicate with Recordkeeper and with L. Kemp.


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12/11/15          JTM      Communicate with L. Kemp.                                    0.10 Hrs
12/14/15          JTM      Communicate with L. Kemp re: vacating 110                    0.20 Hrs
                           Pleasant Street HQ.
12/15/15          JTM      Telephone call from G. Stephens at Wayside                   0.10 Hrs
                           compartments.
12/15/15          JTM      Resolve insurance issues.                                    0.90 Hrs
12/15/15          JTM      Correspond re: vacating Wayside.                             0.20 Hrs
12/16/15          JTM      Telephone call with HUB (S. Torino) re: insurance.           0.60 Hrs
12/16/15          JTM      Draft lease termination letter (Wayside).                    0.40 Hrs
12/16/15          JTM      Communicate with EC re: insurance.                           0.20 Hrs
12/18/15          JTM      Communicate with L. Kemp re: landlord.                       0.10 Hrs
12/21/15          JTM      Multiple calls and emails re: office closing and             1.50 Hrs
                           archive issues; review invoices.
12/22/15          JTM      Meeting with L. Kemp re: transition.                         0.80 Hrs
12/22/15          JTM      Meeting with L. Kemp re: file archive. [NO                   1.00 Hrs
                           CHARGE].
12/28/15          JTM      Communicate with Board re: quorum requirements.              0.20 Hrs
01/06/16          JTM      Communicate with C. Harak and M. Cassidy re:                 0.30 Hrs
                           invoices, bank statements.
01/15/16          JTM      Communicate with S. Torino re: coverage.                     0.30 Hrs
01/21/16          JTM      Telephone call with HUB International; follow up with        1.20 Hrs
                           S. Torino re: requested information.
01/21/16          JTM      Communicate with S. Torino.                                  0.20 Hrs
01/22/16          JTM      Telephone call with S. Torino.                               0.40 Hrs
01/23/16          JTM      Communicate with L. Kemp re: payroll forms/W-2s.             0.20 Hrs
01/29/16          JTM      Communicate with S. Torino re: insurance.                    0.20 Hrs
02/02/16          JTM      Communicate with S. Torino.                                  0.20 Hrs
02/03/16          JTM      Year end payroll reports.                                    0.50 Hrs
02/19/16          JTM      Correspond with S. Torino re: insurance.                     0.20 Hrs
02/19/16          JTM      Correspond with C. Harak re: banking.                        0.20 Hrs
02/25/16          JTM      Mass SOS filing.                                             0.20 Hrs
02/25/16          JTM      IRS change of address; POA.                                  0.20 Hrs

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                                                                             File Number 58492.00004
 Re: Business Operations




02/26/16          JTM      Correspondence to executive committee.                 1.00 Hrs
03/01/16          JTM      Communicate with C. Harak.                             0.20 Hrs
03/01/16          JTM      Communicate with M. Dugan.                             0.10 Hrs
03/01/16          JTM      Communicate with S. Torino re: insurance.              0.20 Hrs
03/04/16          JTM      Work on business insurance renewal; communicate        1.70 Hrs
                           with S. Torino; communicate with ABCD.
03/04/16          JTM      communicate with EC re: insurance.                     0.30 Hrs
03/04/16          JTM      Communicate with EC re: mail.                          0.10 Hrs
03/04/16          JTM      Work on IRS change of address/Mass RMV issues.         2.00 Hrs
03/07/16          JTM      Conference with C. Harak.                              0.10 Hrs
03/07/16          JTM      Conference with M. Dugan.                              0.10 Hrs
03/18/16          JTM      Communicate with Executive Committee.                  0.40 Hrs
03/20/16          JTM      Communicate with EC.                                   0.20 Hrs
03/23/16          JTM      REview admin expenses; communicate with Harpers        0.20 Hrs
                           re: tax bills.
03/31/16          JTM      Communicate with C. Harak re: adm. payments.           0.20 Hrs
04/05/16          JTM      Communicate with S. Torino.                            0.10 Hrs
04/19/16          JTM      Correspond with E. Evans (ABCD).                       0.40 Hrs
05/09/16          JTM      Communicate with C. Harak.                             0.20 Hrs
05/19/16          JTM      Communicate with Heading Home.                         0.30 Hrs
05/20/16          JTM      Communicate with C. Harak.                             0.10 Hrs
05/23/16          JTM      Communicate with C. Harak.                             0.20 Hrs
05/26/16          JTM      Telephone call with C, Harak.                          0.30 Hrs
06/22/16          JTM      Call and email with C. Harak re: DNCD inquiry.         0.50 Hrs
07/26/16          JTM      Communicate with C. Harak re OUST.                     2.00 Hrs
08/26/16          JTM      Telephone call with P. Scolaro re: houses.             0.30 Hrs
09/13/16          JTM      Correspond re: insurance; resolve issue.               0.60 Hrs
09/13/16          JTM      Telephone call with M. Lombard (ABCD).                 0.20 Hrs
09/13/16          JTM      Communicate with K.Nicholson.                          0.20 Hrs
09/20/16          JTM      Telephone call with M. Powers.                         0.40 Hrs

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09/26/16          JTM      Communicate with H. Korman re: loan documents.                  0.20 Hrs
10/07/16          JTM      Communicate with C. Harak re: IRS Form 5500.                    0.10 Hrs
11/18/16          JTM      Correspond re insurance.                                        0.30 Hrs
11/22/16          JTM      Review banks statement and communicate with M.                  0.20 Hrs
                           Dugan.
12/12/16          JTM      Communicate with C. Harak re: payroll records.                  0.10 Hrs
01/03/17          JTM      Communicate with M. Dugan and C. Harak.                         0.20 Hrs
01/18/17          JTM      Communicate with EC re: DHCD program change                     1.00 Hrs
                           and options re: preserving the transaction.
01/30/17          JTM      Correspond re: insurance of S. Torino.                          0.20 Hrs
05/08/17          JTM      Correspond with E.C. .                                          0.20 Hrs
05/23/17          JTM      Communicate with M. Dugan and C. Harak.                         0.20 Hrs
06/26/17          JTM      Correspond with Malden re: tax bill.                            0.50 Hrs
06/26/17          JTM      Correspond re: website.                                         0.20 Hrs
06/26/17          JTM      Correspondence from J. Shapiro re: Malden.                      0.20 Hrs
08/11/17          JTM      Review bank statement.                                          0.10 Hrs
08/21/17          JTM      Communicate with M. Slotnick and M. Dugan and C.                0.80 Hrs
                           Harak re: boiler replacement grant; review contracts.
10/04/17           EM      Email with JTM; file 2017 annual report with                    0.20 Hrs
                           Corporations Division.
10/23/17          JTM      Communicate with M. Dugan and C. Harak re:                      0.30 Hrs
                           business issues.
12/19/17          JTM      Communicate with M. Dugan and C. Harak re:                      0.30 Hrs
                           dissolution.

                                                          TOTAL LEGAL SERVICES                         $40,940.00


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs              Rate                  Amount
MATAS, EVANNE                                0.20             175.00                  35.00
MORRIER, JOHN T.                            90.90             450.00               40,905.00


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MORRIER, JOHN T.                            41.80             0.00     No Charge
                                           132.90                      $40,940.00




                                                                      GRAND TOTAL DUE        $40,940.00




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                                     Exhibit D
                          Category 5: Case Administration


The Firm assisted the Debtor in compliance with its obligations as a debtor in

possession. Among the services recorded in this category, the Firm assisted the Debtor

in the preparation of its monthly operating reports submitted to the Office of the United

States Trustee. Among the other services performed were the following:

      Preparation of the Debtor’s Schedules of Assets and Liabilities, and Statement of

       Financial Affairs, and other case-opening documents and disclosures

      Representation of the Debtor at the Initial Debtor Conference and First Meeting

       of Creditors, convened by the Office of the United States Trustee

      Other communications about the case, generally, including with counsel to the

       United States Trustee and other parties in interest

      General monitoring of the case docket

      Calendaring of hearings and deadlines

      Maintenance of the creditor matrix and service lists, including changes of

       creditor address

      Preparation of certificates of service and service of selected documents (with

       some of these services included in other categories relating to the topic of the

       particular pleading).

The Firm’s activities in this category were necessary in order to comply with the

provisions of the Bankruptcy Code, Bankruptcy Rules and Local Rules of this Court and

the Guidelines and other requirements of the Office of the United States Trustee.

       The following chart summarizes the services in this category, by professional:
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                                          Hourly       Total
      Professional             Title                                 Total Fees
                                           Rate        Hours
John T Morrier (JTM)          Attorney      $450          100.7        $45,315.00
Di Ying Luo (DYL)             Paralegal       $175           10.0        $1,750.00
          Totals                                          110.70     $47,065.00

      The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Case Administration

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FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                       $47,065.00
              CURRENT BALANCE                                                                            $47,065.00

              TOTAL DUE                                                                                  $47,065.00




             Casner & Edwards, LLP | 303 Congress Street, Boston, MA 02210 | (TEL) 617.426.5900 | (FAX) 617.426.8810
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LEGAL SERVICES

Date               Atty    Description                                                      Time
04/23/15          DYL      Confer with Morrier re filing. Compile, finalize              1.80 Hrs
                           documents for filing. Communications with Harak.
                           Open case with Bankruptcy Court.
04/23/15          JTM      Communicate with select parties in interest re filing;        1.80 Hrs
                           telephone call with counsel to Heading Home; email
                           notices.
04/24/15          DYL      Review Order to update. Prep for filing. Email fr/to          0.20 Hrs
                           Morrier re revsion to forms and notice of bk filing.
04/24/15          JTM      Review correspondence from L. Rogers.                         0.30 Hrs
04/24/15          JTM      Email from and return call to P. Bachtell.                    0.10 Hrs
04/24/15          JTM      Telephone call with L. Kemp re: UST requirements.             0.40 Hrs
04/24/15          JTM      Analyze orders to update (and revisions); calendar            0.30 Hrs
                           deadlines.
04/24/15          JTM      Communicate with 341 meeting/order; calendar.                 0.20 Hrs
04/24/15          JTM      Analyze title info; revise schedules.                         1.20 Hrs
04/24/15          JTM      Telephone call with P. Backtell.                              1.50 Hrs
04/24/15          JTM      Communicate with L. Kemp and L. Rogers and P.                 0.30 Hrs
                           Backtell re: rescheduled IDC.
04/27/15          JTM      Communicate with L. Kemp and R. Pierre-Louis re:              0.20 Hrs
                           information.
04/27/15          JTM      Media-message from herald; review Malden press.               0.50 Hrs
04/27/15          JTM      Emails with L. Kemp re: board/org. chart.                     0.30 Hrs
04/27/15          JTM      Email with L. Kemp re: account.                               0.30 Hrs
04/28/15          DYL      Confer with Morrier. Obtain 2012-2013 fed tax and             0.40 Hrs
                           state audit for SOC. Provide docs to UST.
04/28/15          JTM      Communicate with DYL re: UST info request.                    0.20 Hrs
04/28/15          JTM      Three emails with Bachtell re: info exchange.                 0.30 Hrs
04/28/15          JTM      Bank account logistics and correspondence.                    0.80 Hrs
04/28/15          JTM      Compile info and complete initial debtor conference           0.80 Hrs
                           forms; email and telephone call with L. Kemp.



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04/28/15          JTM      Communicate with HUB International; review binder;            0.60 Hrs
                           call re: coverage policies.
04/29/15          JTM      Review initial debtor conference info and revise              0.30 Hrs
                           forms.
04/29/15          JTM      Compile info for IDC; email UST.                              0.60 Hrs
04/30/15          JTM      Initial debtor conference.                                    1.50 Hrs
04/30/15          JTM      Follow-up with Linda Rogers.                                  0.30 Hrs
04/30/15          JTM      Order; prepare and file electronic filing declaration;        0.60 Hrs
                           review Rule 7; revise declaration.
05/01/15          JTM      Obtain and communicate with L. Rogers re:                     0.80 Hrs
                           insurance coverage info.
05/01/15          JTM      Compile info for statement and schedules; review              1.20 Hrs
                           drafts for missing information; communicate with L.
                           Kemp and R. Pierre-Louis re: needed info.
05/01/15          JTM      Call and communicate with Harak re: insurance.                0.50 Hrs
05/01/15          JTM      Communicate with C. Harka re: insurance.                      0.10 Hrs
05/04/15          JTM      Communicate with P. Bachtell.                                 0.20 Hrs
05/04/15          JTM      341 meeting notice.                                           0.10 Hrs
05/04/15          JTM      Communicate with L. Kemp re: food service grant.              0.20 Hrs
05/05/15          JTM      Telephone call and communicate with counsel to                0.30 Hrs
                           AMG Realty.
05/05/15          JTM      Communicate with HUB re: insurance.                           0.10 Hrs
05/07/15          DYL      Finalize and file emergency motion to extend time             1.20 Hrs
                           file schedule F with cos. Finalize and file emergency
                           2004 examination with cos. Serve pleadings.
05/07/15          JTM      Draft motion to continue deadline to file Schedule F          1.50 Hrs
                           and motion for 2004 exam; communicate with DYL
                           re: finalizing and filing same.
05/07/15          JTM      Call from USBank re: copier lease.                            0.20 Hrs
05/07/15          JTM      Emails from L. Kemp with info for schedules.                  0.40 Hrs
05/07/15          JTM      Calls with C. Harak re: signatures; review                    0.60 Hrs
                           documents.
05/07/15          JTM      Communicate with HUB and with UST re: workers                 0.30 Hrs
                           comp coverage.



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05/08/15          DYL      Confer with Morrier re filing schedules and                    0.30 Hrs
                           statements per court order. File list of equity holder.
                           Email Morrier re 2004 subpoena.
05/08/15          JTM      Finalize schedules; compile exhibits; review with              1.00 Hrs
                           client and file same.
05/08/15          JTM      Finalize SOFA; compile exhibits and file same.                 1.00 Hrs
05/08/15          JTM      Finalize 20 Largest and related papers and file                0.50 Hrs
                           same.
05/08/15          JTM      Communicate with P. Bachtell re: 20 Largest.                   0.20 Hrs
05/08/15          JTM      Prepare Rule 2004 subpoena; serve on DHCD by                   0.80 Hrs
                           email and by hand; communicate with DYL, ASL,
                           DK.
05/08/15          JTM      Review Rule 2004 order.                                        0.10 Hrs
05/08/15          JTM      Review order extending deadline for Schedule F.                0.10 Hrs
05/11/15          JTM      Review order to update.                                        0.20 Hrs
05/12/15          JTM      Communicate with L. Kemp re: post-petition                     0.20 Hrs
                           expense payment.
05/14/15          JTM      Court order re: Matrix deadline; calendar.                     0.20 Hrs
05/18/15          JTM      Communicate with and telephone call with Lauren                0.30 Hrs
                           Vitale, counsel to DHCD.
05/19/15          JTM      Communicate with EC re: same and                               0.80 Hrs
                           recommendations.
05/19/15          JTM      Communicate with Maureen Lambert (UST);                        0.20 Hrs
                           communicate with client re: creditor contact.
05/19/15          JTM      Communicate with P. Bachtell.                                  0.20 Hrs
05/19/15          JTM      Correspond with client re: 54 Eastern Ave Malden               0.30 Hrs
                           LLC financials.
05/20/15          JTM      Revise Scheduled E and F.                                      0.30 Hrs
05/20/15          JTM      Prepare for 341 meeting.                                       0.60 Hrs
05/20/15          JTM      Communicate with P. Bachtell.                                  0.30 Hrs
05/20/15          JTM      Compile insurance coverage for autos and                       0.60 Hrs
                           correspond with P. Bachtell.
05/20/15          JTM      Communicate with Creditor G. Stephens.                         0.20 Hrs
05/21/15          DYL      Confer with Morrier re filing amendments and F.                2.50 Hrs
                           Prepare amendments. Compare current matrix with
                           one on docket. Draft motion to amend.
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05/21/15          JTM      Communicate with P. Bachtell.                               0.60 Hrs
05/21/15          JTM      Compile info for P. Bachtell.                               0.60 Hrs
05/21/15          JTM      Revise schedules; communicate with DYL re: filing           1.40 Hrs
                           same, notice and motion requirements; review local
                           rules.
05/21/15          JTM      Draft Rule 2015.3 statement.                                0.60 Hrs
05/22/15          DYL      Further revise amendments. Confer with Morrier re           2.30 Hrs
                           revisions. Draft Notice of Amendments and cos. File
                           amendments and Notice. Serve accordingly.
                           Confer with Morrier re filing Rule 2015.3 statement.
                           File same.
05/22/15          JTM      Telephone call with C. Harak and M. Dugan (re 341           1.00 Hrs
                           meeting).
05/22/15          JTM      Finalize Rule 2015.3 statement.                             0.50 Hrs
05/22/15          JTM      Obtain copy of policy; communicate with P. Bachtell         0.50 Hrs
                           re: date of D&O reporting period.
05/22/15          JTM      Review schedules, matrix and related papers for             1.00 Hrs
                           filing; confirm with DYL.
05/22/15          JTM      Review info from J. George; communicate with P.             0.60 Hrs
                           Bachtell with 2014 tax returns.
05/22/15          JTM      Communicate with L. Kemp re: final audit                    0.30 Hrs
                           requirements.
05/22/15          JTM      Communicate with M. Slotnick re: TriCap schedules.          0.30 Hrs
05/22/15          JTM      Telephone call with M. Slotnick re: 341 meeting and         0.50 Hrs
                           status.
05/22/15          JTM      Communicate with L. Vitale.                                 0.30 Hrs
05/26/15          JTM      Section 341 meeting,including to/from P.O. Square;          3.00 Hrs
                           confering with client and OUST before meeting and
                           creditors offer.
05/27/15          JTM      Communicate with R. Pierre-Louis re: health                 0.30 Hrs
                           insurance; review claim schedules.
05/27/15          JTM      Follow-up from Section 341 meeting; emails re:              0.70 Hrs
                           audit, 990, Form PC.
05/27/15          JTM      Communicate with OUST re: Audit.                            0.20 Hrs
05/28/15          JTM      Communicate with counsel to contractor creditors,           0.20 Hrs
                           Kevin Kiely.
05/28/15          JTM      Communicate with P. Bachtell.                               0.20 Hrs

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06/03/15          JTM      Correspond with Auditor firm and with P. Bachtell re:        0.20 Hrs
                           Form PS.
06/04/15          JTM      Communicate with counsel to creditor, Mark Powers.           0.40 Hrs
06/05/15          JTM      Communicate with P. Bachtell re: committee                   0.20 Hrs
                           formation; review appointment.
06/05/15          JTM      Communicate with EC re: Committee appointment.               0.20 Hrs
06/08/15          JTM      Communicate with P. Bachtell.                                0.10 Hrs
06/10/15          JTM      Communicate with P. Bachtell re: committee                   0.40 Hrs
                           formation and request for information; review and
                           reply.
06/10/15          JTM      Communicate with L. Kemp re: utility bills.                  0.20 Hrs
06/11/15          JTM      Notice of Appearance (HHS).                                  0.10 Hrs
06/11/15          JTM      Communicate with L. Kemp re: MOR.                            0.30 Hrs
06/11/15          JTM      Communicate with and telephone call to P. Bachtell           0.20 Hrs
                           re: MOR.
06/12/15          JTM      Call to/email P. Bachtell.                                   0.20 Hrs
06/12/15          JTM      Work on MOR.                                                 0.60 Hrs
06/15/15          JTM      Prepare MOR; compile info from L. Kemp; telephone            2.50 Hrs
                           call with Ms. Kemp re: follow-up info; complete MOR
                           form and correspond re same.
06/15/15          JTM      Communicate with L. Kemp with final MOR for her              0.20 Hrs
                           signature/review.
06/15/15          JTM      Telephone call with L. Kemp re: bank records;                1.00 Hrs
                           review correspondence re: schedules; draft
                           corrected amended Schedule B.
06/15/15          JTM      Communicate with P. Bachtell.                                0.20 Hrs
06/16/15          DYL      Prepare amended schedule B with amended                      0.60 Hrs
                           summary and declaration. Prepare notice of
                           amended B. File both. Confer with Morrier re same.
                           Confer with Morrier re filing MOR. File MOR with
                           UST.
06/16/15          JTM      Send May MOR.                                                0.10 Hrs
06/16/15          JTM      Finalize amended Schedule B and notice; attention            0.30 Hrs
                           to filing.
06/16/15          JTM      Correspondence to/from P. Bachtell.                          0.10 Hrs



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06/24/15          JTM      Telephone call with Kerry Kavanaugh (media                0.20 Hrs
                           inquiry).
06/24/15          JTM      Conference with Tri-CAP re: media inquiry.                0.10 Hrs
06/24/15          JTM      Draft statement to Fox 25.                                0.30 Hrs
06/24/15          JTM      Telephone call with C. Harak re: statement; revise        0.20 Hrs
                           and send.
06/24/15          JTM      Review media report.                                      0.10 Hrs
07/06/15          JTM      Communicate with HHS re: transportation finance;          0.30 Hrs
                           communicate with client.
07/13/15          JTM      Communicate with L. Kemp re: MOR, Form PC and             0.30 Hrs
                           Quarterly UST fees.
07/13/15          JTM      Communicate with L. Kemp and DYL re: MOR info.            0.20 Hrs
07/14/15          JTM      Communicate with L. Kemp re: MOR; review                  1.20 Hrs
                           documents; prepare MOR.
07/15/15          JTM      Finalize MOR; communicate with OUST.                      0.30 Hrs
07/15/15          JTM      Communicate with L. Kemp re: inquiry from Eastern         0.20 Hrs
                           Bank.
07/16/15          JTM      Communicate with L. Kemp re: final 2014 tax return        0.20 Hrs
                           filing.
07/16/15          JTM      Communicate with UST and Committee re: tax                0.20 Hrs
                           return.
07/20/15          JTM      Review and revise May calculations; communicate           0.80 Hrs
                           with L. Rogers and communicate with L. Kemp.
07/21/15          JTM      Communicate with Linda Rogers re: May MOR.                0.10 Hrs
07/21/15          JTM      Communicate with L. Kemp re: May MOR.                     0.10 Hrs
07/21/15          JTM      Communicate with client re: audit.                        0.20 Hrs
07/28/15          JTM      Communicate with L. Kemp re: audit.                       0.20 Hrs
08/11/15          JTM      Communicate with L. Kemp re: MOR.                         0.20 Hrs
08/19/15          JTM      Compile client info and complete MOR; correspond          2.00 Hrs
                           with OUST.
08/21/15          JTM      Correspond with counsel to DHCD.                          0.20 Hrs
08/25/15          JTM      Telephone call with F. McGinn, counsel to DHCD;           1.20 Hrs
                           memo to file.
08/31/15          JTM      Review order granting expedited request.                  0.10 Hrs


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08/31/15          JTM      Draft and file motion to reschedule guaranty motion.          0.70 Hrs
08/31/15          JTM      Draft Notice of Hearing.                                      0.20 Hrs
08/31/15          JTM      Check docket; correspond re: status of clerk order.           0.20 Hrs
08/31/15          JTM      Correspond with counsel to Century Bank.                      0.20 Hrs
09/01/15          JTM      Check docket; communicate with DYL re:                        0.20 Hrs
                           scheduling.
09/01/15          JTM      Telephone call with clerk re: scheduling; draft and           0.50 Hrs
                           serve and file notice of hearing.
09/01/15          JTM      Communicate with M. Slotnick re: hearing schedule.            0.20 Hrs
09/01/15          JTM      Communicate with Ehrlich re hearing schedule.                 0.10 Hrs
09/01/15          JTM      Communicate with G. Howell re hearing schedule.               0.10 Hrs
09/02/15          JTM      Communicate with HUB Insurance and L. Kemp re:                0.40 Hrs
                           Workers comp audit and claim.
09/03/15          JTM      Telephone call with David Nickerson, counsel to               0.20 Hrs
                           landlord.
09/09/15          JTM      Emails with P. Bachtell and with L. Rogers re: OUST           0.70 Hrs
                           requirements; confirm debtor remains in full
                           compliance and email P. Bachtell.
09/09/15          JTM      Communicate with L. Fleury re: creditor inquiry;              0.70 Hrs
                           review matrix for missing creditors (2); revise matrix
                           to include missing and additional parties; motion to
                           amend.
09/09/15          JTM      Notice of Bar Date (supplemental) to new potential            0.80 Hrs
                           creditors.
09/09/15          JTM      Communicate with L. Kemp and C. Harak re: Mass                0.20 Hrs
                           CAP claim.
09/10/15          JTM      Hearing.                                                      1.50 Hrs
09/10/15          JTM      Notice of continued hearing; save same; file; CS.             0.50 Hrs
09/10/15          JTM      Communicate with G. Howell.                                   0.20 Hrs
09/10/15          JTM      Communicate with M. Slotnick.                                 0.30 Hrs
09/14/15          JTM      Conference with L. Kemp re: MOR.                              0.20 Hrs
09/15/15          JTM      Telephone call with L. Kemp; prepare draft MOR;               1.50 Hrs
                           telephone call with L. Kemp and revise and file
                           MOR.
09/16/15          JTM      Check docket -- no opposition filed.                          0.10 Hrs

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09/16/15          JTM      Review order cancelling hearing; calls to clerk's           1.50 Hrs
                           office re:erroneous basis for cancellation order;
                           begin drafting motion to reconsider; calls to client
                           and NEC re: consequences of cancelled hearing;
                           correspond with parties re: status.
09/21/15          JTM      Communicate with B. Mockler re: motion to continue          0.20 Hrs
                           hearing on relief from stay; review same.
10/14/15          JTM      Communicate with L. Kemp re: MOR and bank                   0.20 Hrs
                           statement.
10/15/15          JTM      Prepare September MOR; communicate with OUST.               1.00 Hrs
10/15/15          JTM      Communicate with L. Kemp and R. Pierre-Louis re:            0.20 Hrs
                           healthcare refund; communicate with ASL.
10/15/15          JTM      Multiple emails with Board re: next meeting agenda          0.50 Hrs
                           and notice; communicate with ASL.
12/09/15          JTM      October and November MORs; communicate with                 1.50 Hrs
                           client.
12/09/15          JTM      MORs for October and November; communicate                  2.20 Hrs
                           with L. Rogers.
02/09/16          JTM      Communicate with PRC Bachtell.                              0.10 Hrs
02/11/16          JTM      Communicate with M. Slotnick re: tax bills; review          0.50 Hrs
                           same; communicate with ABCD re: payment.
02/12/16          JTM      Communicate with City of Malden re: tax bills.              0.20 Hrs
02/18/16          JTM      Emails re: bank statements; deposits.                       0.50 Hrs
02/18/16          JTM      Emails re: MORs.                                            0.50 Hrs
02/19/16          JTM      Correspond with USTP.                                       0.20 Hrs
02/22/16          JTM      Correspond with OUST.                                       0.30 Hrs
02/23/16          JTM      MORs - Dec and Jan.                                         1.50 Hrs
02/24/16          JTM      Correspond with OUTST with MORs.                            0.20 Hrs
02/26/16          JTM      Letter to M. Dugan re: signatures.                          0.50 Hrs
03/04/16          JTM      Communicate with USTP re: insurance.                        0.20 Hrs
03/21/16          JTM      Prepare MOR.                                                0.80 Hrs
03/21/16          JTM      Communicate with M. Dugan re: MOR.                          0.20 Hrs
03/22/16          JTM      Correspond re: Feb. MOR.                                    0.20 Hrs
04/19/16          JTM      MOR/March; communicate with M. Dugan.                       0.70 Hrs

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04/21/16          JTM      Telephone call with P. Bachtell re: insurance.         0.20 Hrs
04/25/16          JTM      March MOR report.                                      0.20 Hrs
05/16/16          JTM      Communicate with A. Nevers re: OUST bill.              0.20 Hrs
05/23/16          JTM      Communicate with A. Nevers.                            0.10 Hrs
05/26/16          JTM      Communicate with A. Nevers.                            0.20 Hrs
06/17/16          JTM      Communicate with C. Harak and M. Dugan re:             0.70 Hrs
                           OUST payment and MORs; communicate with A.
                           Nevers re: same; communicate with P. Bachtell.
06/20/16          JTM      MORs (April & May).                                    1.00 Hrs
06/20/16          JTM      Communicate with C. Harak and M. Dugan re              0.20 Hrs
                           update.
08/04/16          JTM      Communicate with P. Bachtell.                          0.10 Hrs
08/09/16          JTM      Prepare June and July MORs; communicate with M.        1.50 Hrs
                           Dugan.
08/10/16          JTM      Finalize and file MORs; communicate with PRCB          0.30 Hrs
                           and AN re: same.
09/28/16          JTM      Prepare August MOR; communicate with M. Dugan.         0.60 Hrs
09/28/16          JTM      Draft correspondence to Malden re: tax lien.           0.50 Hrs
09/30/16          JTM      File August MORs.                                      0.10 Hrs
09/30/16          JTM      Finalise August MOR filing.                            0.60 Hrs
10/27/16          JTM      September MOR, communicate with M. Dugan and           0.70 Hrs
                           file.
11/14/16          JTM      Correspond re: MORs.                                   0.40 Hrs
11/15/16          JTM      Communicate with M. Dugan re: MORs.                    0.20 Hrs
11/28/16          JTM      October MOR.                                           0.50 Hrs
12/12/16          JTM      Communicate with C. Harak re: MOR/Nov. DIP             0.10 Hrs
                           statement.
12/21/16          JTM      November MOR; communicate with M. Dugan; file.         0.60 Hrs
01/18/17          JTM      December MOR.                                          0.60 Hrs
01/20/17          JTM      Communicate with C. Harak re: OUST quarterly.          0.20 Hrs
01/20/17          JTM      File December MOR.                                     0.20 Hrs
01/22/17          JTM      Communicate with C. Harak re: OUST fee payment.        0.10 Hrs


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02/10/17          JTM      Communicate with M. Dugan re: MOR.                         0.20 Hrs
02/13/17          JTM      Correspond re: MOR records.                                0.20 Hrs
02/16/17          JTM      January MOR.                                               0.50 Hrs
03/01/17          JTM      Correspond with OUST and with Hub International            0.20 Hrs
                           re: insurance.
03/03/17          JTM      Review AGO correspondence re: dissolution; revise          0.80 Hrs
                           plan re: AGO process.
03/04/17          JTM      Correspond with HUB/Sandy Torino re: insurance             0.20 Hrs
                           renewal.
03/06/17          JTM      Correspond with A. Nevers re insurance, MOR.               0.50 Hrs
03/13/17          JTM      Telephone call with Paula Bachtell re: case status.        0.30 Hrs
04/03/17          DYL      Verify cos on debtor's assent. Finalized and file          0.20 Hrs
                           Assent to OCUC's motion.
04/04/17          JTM      Calendar hearing deadline.                                 0.10 Hrs
04/05/17          JTM      Change of address notice from clerk.                       0.10 Hrs
04/11/17          JTM      Communicate with P. Bachtell; MOR; follow-up with          0.60 Hrs
                           accounting re: escrow bank statements.
04/12/17          JTM      March MOR; communicate with M. Dugan and C.                0.60 Hrs
                           Harak and J. Holbrook re: bank statements.
04/12/17          JTM      Communicate with PRC Bachtell re bank                      0.10 Hrs
                           statements.
05/05/17          JTM      Correspond re: calendar hearing dates;                     0.20 Hrs
                           communicate with DYL re: notice of hearing.
05/08/17          DYL      Confer with Morrier re returned mails.                     0.10 Hrs
05/08/17          JTM      Returned mail notices.                                     0.10 Hrs
05/10/17          JTM      Compile MOR info.                                          0.20 Hrs
05/11/17          JTM      Revise MOR.                                                0.10 Hrs
05/16/17          JTM      April MOR.                                                 0.50 Hrs
06/16/17          JTM      May MOR. .                                                 0.80 Hrs
06/27/17          JTM      Calls and correspond with A. Nevers re:                    0.60 Hrs
                           MORs/Quarterly fees.
06/27/17          JTM      Communicate with client re quarterly fees.                 0.30 Hrs
07/12/17          JTM      Compile MOR info.                                          0.30 Hrs


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 Tri-City Community Action Program, Inc.                                                            May 4, 2018
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07/14/17          JTM      June MOR.                                                        0.50 Hrs
07/19/17          JTM      Correspond with A. Nevers re: post-confirmation                  0.30 Hrs
                           reporting.
08/22/17          JTM      Complete July post-confirmation UST report; send to              0.70 Hrs
                           OUST.
08/29/17          JTM      Review plan provisions re: Administrative Claims;                0.50 Hrs
                           communicate with ADW re: same.
09/13/17          JTM      Monthly report/account review.                                   0.10 Hrs
12/12/17          JTM      Correspond re: November bank statements.                         0.20 Hrs
12/18/17          DYL      Call to clerk's office re certified copy cost. Draft             0.40 Hrs
                           cover letter to clerk re same. Arrange drop-off/ pick
                           up of payment/ certified copy of confirmation order.

                                                          TOTAL LEGAL SERVICES                          $47,065.00


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs              Rate                   Amount
LUO, DIYING                                 10.00             175.00                 1,750.00
MORRIER, JOHN T.                           100.70             450.00                45,315.00
                                           110.70                                  $47,065.00




                                                                               GRAND TOTAL DUE           $47,065.00




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                                   Exhibit D
               Category 6: Claims Administration and Objections

       The Firm’s services in this category related to claims administration and analysis,

and to a limited extent, objections. In addition, the Firm prepared pleadings and

achieved Court authority to set a bar for filing of claims, and served the approved notice.

The Debtor’s schedules reflected very few unliquidated, contingent or disputed claims,

and as a result, there was a modest volume of filed claims. The Firm prepared an

analysis of all scheduled and filed claims to inform decisions regarding claim objections

and to support plan negotiations. The Firm shared this analysis with the Committee,

and conferred with the Committee about the asserted claims. Where discrepancies

between scheduled and filed claims were identified, the Firm worked with the Debtor to

reconcile the issue. In certain instances, the Debtor’s records did not agree with the

creditor’s asserted claim. The Firm corresponded with each of these creditors and their

counsel, where applicable, resolving the disputes without Court intervention.

       The following chart summarizes the services in this category, by professional:


                                           Hourly        Total
      Professional              Title                                  Total Fees
                                            Rate         Hours
John T Morrier (JTM)          Attorney       $450            14.7         $6,615.00
David Koha (DK)               Attorney         $295            11.7       $3,451.50
Di Ying Luo (DYL)             Paralegal        $175             2.1         $367.50
          Totals                                            28.50      $10,434.00

       The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Claims Administration & Objections

File Number: 58492.00006



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                       $10,434.00
              CURRENT BALANCE                                                                            $10,434.00

              TOTAL DUE                                                                                  $10,434.00




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 Tri-City Community Action Program, Inc.                                                      May 4, 2018
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LEGAL SERVICES

Date               Atty    Description                                                   Time
04/24/15          JTM      Analyze creditor/payables info and compile                 0.80 Hrs
                           schedules.
04/27/15          JTM      Communicate with E. Evans re: hearing claims.              0.20 Hrs
04/27/15          JTM      Call and email J. Wells re: heating claims.                0.20 Hrs
04/28/15          JTM      Communicate with John Wells at ABCD.                       0.10 Hrs
04/28/15          JTM      Telephone call with ABCD (Eleanor Evans) re:               0.20 Hrs
                           agreement.
04/28/15          JTM      Call with ABCD (John Wells); communicate with              1.20 Hrs
                           ABCD (Eleanor Evans)and correspond with DHCD
                           (Gerald Bell) re: fuel assistance debts/creditors.
04/28/15          JTM      Review/revise creditor schedules re: 20 largest.           0.70 Hrs
04/28/15          JTM      Review/revised secured claims with updated info on         0.70 Hrs
                           mortgages.
04/29/15          JTM      Communicate with Creditor (AMS).                           0.20 Hrs
04/30/15          JTM      Telephone call with Lauren Vitale, DHCD re: heating        0.40 Hrs
                           assistance, creditor list and DHCD issues.
04/30/15          JTM      Telephone call with creditor D. Raffelson.                 0.20 Hrs
04/30/15          JTM      Communicate with L. Kemp re: creditors; folllow-up         0.20 Hrs
                           schedules.
05/04/15          JTM      Communicate with K. Kemp re: IRS Notice; review            0.30 Hrs
                           same and communicate with client re: more info.
05/11/15          JTM      Communicate with L. Kemp re: tax and employment            0.30 Hrs
                           claims.
05/11/15          JTM      Emails with L. Kemp re: invoices.                          0.60 Hrs
05/12/15          JTM      Add creditor to Schedule F.                                0.20 Hrs
05/26/15          JTM      Correspond and telephone call with Frank McGinn,           0.30 Hrs
                           proposed special counsel to DHCD.
05/26/15          JTM      Communicate with fed agency re: vehicles;                  0.50 Hrs
                           communicate with UST (P. Bechtel) and with client
                           re: same.
06/05/15          JTM      Telephone call with Mike Rodkey re: payroll tax            0.30 Hrs
                           returns (filed).


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06/11/15          JTM      Communicate with Jennifer Williams (US Dept. of               0.20 Hrs
                           Health and Human Services).
08/07/15          JTM      Correspond re: Bar Date.                                      0.30 Hrs
08/11/15           DK      Conf. with JTM re: bar date motion; review rules re:          0.90 Hrs
                           notices of bar date motion; draft bar date motion.
08/12/15           DK      Draft bar date motion; emails with JTM.                       2.00 Hrs
08/12/15          JTM      Bar date motion.                                              0.20 Hrs
08/13/15           DK      Emails from JTM and K. Nicholson re: bar date                 0.10 Hrs
                           motion.
08/13/15          JTM      Finalize and file bar date motion.                            0.40 Hrs
08/17/15           DK      Conf. with JTM re: service of bar date notice; review         1.40 Hrs
                           bar date order; review mortgages re: notice
                           addresses; draft service list.
08/17/15          JTM      Review bar date order; correspond re: same.                   0.20 Hrs
08/18/15           DK      Finalize service list and bar date notice; conf. with         2.10 Hrs
                           JTM and L. Fleury re: filing and service; draft
                           certificate of service; file notice.
08/18/15          JTM      Review Bar Date service and notice/certificate of             0.20 Hrs
                           service re: same.
08/21/15          JTM      Telephone call with City of Medford (Rachel                   0.20 Hrs
                           Powers).
09/09/15          DYL      Confer with Morrier re amending matrix and service            0.80 Hrs
                           of notice of bar date. Prepare and file motion to
                           amend matrix. File certificate of service of notice of
                           bar date on added creditors and parties in interest.
                           Call to clerk re upload matrix.
09/22/15          JTM      Telephone call with J. Sheldon (NY Marine and                 0.20 Hrs
                           General) re: W/C audit claim.
10/28/15           DK      Draft claims analysis spreadsheet.                            2.90 Hrs
10/28/15          JTM      Communicate with D. Koha re: POC analysis.                    0.10 Hrs
10/29/15           DK      Draft claims analysis spreadsheet.                            1.70 Hrs
10/30/15           DK      Finalize claims analysis and send to JTM.                     0.60 Hrs
11/04/15          JTM      Communicate with J. Loughnane.                                0.20 Hrs
11/06/15          JTM      Review claim summary and register; review selected            1.00 Hrs
                           claims.
12/08/15          JTM      Telephone call with Mark Powers.                              0.20 Hrs

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02/10/16          JTM      Correspond re: tax bills.                                       0.30 Hrs
02/24/16          JTM      Claim analysis (re: plan classification).                       0.50 Hrs
03/22/16          DYL      Review letters from DOR. Confer with Morrier re                 0.30 Hrs
                           withholding tax owed for 2015 periods.
03/22/16          JTM      Review tax claim.                                               0.30 Hrs
03/24/16          JTM      Review claims for classification.                               1.50 Hrs
03/31/16          JTM      Correspond re: DOR claims.                                      0.20 Hrs
04/19/16          JTM      Correspond with Malden RA re: mortgage.                         0.20 Hrs
07/11/16          JTM      Revise claim analysis.                                          0.40 Hrs
09/02/16          JTM      Communicate with M. Powers re: National Grid.                   0.10 Hrs
05/04/17          DYL      Confer with Koha re filing settlement with Brandano.            0.40 Hrs
                           Prepare cos for motion. Finalize and file settlement
                           agreement with Brandano and motion to approve
                           with cos. Confer with assistant re serving settlement
                           and notice when issued.
05/04/17          JTM      Correspondence from former client and correspond                0.20 Hrs
                           with Mark Powers re: credit report.
05/05/17          DYL      Review and download notice of hearing re                        0.30 Hrs
                           settlement with Brandano. Emails fr/to Koha and
                           Morrier re same. Instruction to assistant re service.
                           Prepare and file cos re same.
05/09/17          DYL      Emails fr/to Morrier re voicemail fr claimant. Call to          0.30 Hrs
                           claimant re pleadings received and expecting ballot
                           in June. Research new address for creditor. Prepare
                           and file notice of change addresses. Return call to
                           claimant.

                                                            TOTAL LEGAL SERVICES                       $10,434.00


LEGAL SERVICES SUMMARY


Attorney Name                                  Hrs               Rate               Amount
KOHA, DAVID                                 11.70               295.00              3,451.50
LUO, DIYING                                  2.10               175.00               367.50
MORRIER, JOHN T.                            14.70               450.00              6,615.00

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                                           28.50                      $10,434.00




                                                                     GRAND TOTAL DUE        $10,434.00




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                                   Exhibit D
                   Category 7: Employee Benefits and Pensions


      During the case, the Debtor conducted several layoffs, reducing its staff, first to

one acting executive director, and then to no employees. The Firm assisted the Debtor in

compliance with applicable law with respect to employment matters. The Firm also

assisted the Debtor with payroll processing and payroll tax reporting issues.

      The following chart summarizes the services in this category, by professional:


                                         Hourly          Total
     Professional             Title                                    Total Fees
                                          Rate           Hours
John T Morrier (JTM)         Attorney       $450               8.7         $3,91500
         Totals                                                8.7       $3,915.00

      The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Employee Benefits and Pensions

File Number: 58492.00007



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                         $3,915.00
              CURRENT BALANCE                                                                              $3,915.00

              TOTAL DUE                                                                                    $3,915.00




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 Re: Employee Benefits and Pensions




LEGAL SERVICES

Date               Atty    Description                                                   Time
10/06/15          JTM      Review and comment on latest revised documents             0.70 Hrs
                           re: 54 Eastern; correspond with all parties.
02/03/16          JTM      Telephone call with C. Harak and M. Dugan re: 403          1.00 Hrs
                           (b) termination.
02/04/16          JTM      Communicate with C. Harak; review notice and               0.20 Hrs
                           communicate with Administrator.
02/05/16          JTM      Correspond with 403(b) admin; communicate with C.          0.40 Hrs
                           Harak.
02/05/16          JTM      Correspond with Bank Statements.                           0.30 Hrs
02/14/16          JTM      Communicate with C. Harak.                                 0.20 Hrs
02/18/16          JTM      Communicate with C. Harak and M. Dugan.                    0.30 Hrs
02/29/16          JTM      Review 403(b) plan elections; communicate with L.          0.80 Hrs
                           Kemp re: terminations; correspond with M. Lefebure.
03/01/16          JTM      Communicate with L. Kemp re: 503(b) plan                   0.30 Hrs
                           information.
03/03/16          JTM      Review and complete participant forms; transmit            1.20 Hrs
                           same.
03/31/16          JTM      Communicate with M. Dugan re: 403(b) plan                  0.20 Hrs
                           termination.
04/01/16          JTM      Communicate with EC re: 403(b) termination and             0.40 Hrs
                           filings.
05/05/16          JTM      Communicate with C. Harak and communicate with             0.40 Hrs
                           One America re: 403(b).
05/10/16          JTM      Telephone call with MRA (Malden Redev. Authority)          0.40 Hrs
                           and counsel.
09/22/16          JTM      Communicate with S. Smith re: Form 5500 return;            0.70 Hrs
                           review and communicate with C. Harak re: next
                           steps to file.
09/28/16          JTM      Review Form 500 filing requirements; communicate           1.20 Hrs
                           with C. Harak re: comments to draft submission.

                                                        TOTAL LEGAL SERVICES                       $3,915.00




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LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs             Rate        Amount
MORRIER, JOHN T.                             8.70            450.00      3,915.00
                                             8.70                       $3,915.00




                                                                      GRAND TOTAL DUE         $3,915.00




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                                Exhibit D
             Category 8: Employment Applications and Objections

      The Firm prepared applications to be employed as the Debtor’s counsel, as well

as to employ the Debtor’s accountant. The Firm reviewed the applications of other estate

professionals retained by the Committee, including its counsel and litigation counsel.

The Firm’s activities in this category were necessary in order to comply with the

provisions of the Bankruptcy Code, Bankruptcy Rules and Local Rules of this Court with

regard to the retention of bankruptcy professionals performing services for the estate.

      The following chart summarizes the services in this category, by professional:


                                          Hourly        Total
      Professional              Title                                 Total Fees
                                           Rate         Hours
John T Morrier (JTM)          Attorney      $450              5.5        $2,475.00
A. Davis Whitesell (ADW)      Attorney        $420             0.1          $42.00
Di Ying Luo (DYL)             Paralegal        $175            0.5          $87.50
          Totals                                             6.10      $2,604.50

      The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Employment Applications & Objections

File Number: 58492.00008



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                         $2,604.50
              CURRENT BALANCE                                                                              $2,604.50

              TOTAL DUE                                                                                    $2,604.50




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LEGAL SERVICES

Date               Atty    Description                                                       Time
04/25/15          JTM      Work on CE retention.                                         0.70 Hrs
04/25/15          JTM      Work on accountant retention.                                 0.50 Hrs
04/28/15          JTM      Draft application to retain counsel, affidavit and            1.50 Hrs
                           proposed order.
04/28/15          JTM      Communicate with Loretta Kemp re: application;                0.20 Hrs
                           communicate with Executive Committee.
04/29/15          DYL      Compile, finalize and file application to employ C&E          0.50 Hrs
                           as counsel. Prepare declaration re electronic filing
                           for Kemp and cos.
05/20/15          JTM      Application to Employ CPA.                                    0.90 Hrs
05/21/15          JTM      Communicate with R. Pierre-Louis; review papers               0.30 Hrs
                           and prepare for filing.
06/02/15          JTM      Correspond to/from R. Pierre-Louis.                           0.30 Hrs
06/02/15          JTM      Review accountant invoices; communicate with P.               0.40 Hrs
                           Bachtell re: same.
04/04/16          JTM      Communicate with UA/Traci Pape re: 403(b);                    0.30 Hrs
                           communicate with EC.
04/21/17          JTM      Review Committee Special Counsel retention                    0.20 Hrs
                           application.
04/21/17          ADW      Reviewed Committee application to employ                      0.10 Hrs
                           successor special litigation counsel, related court
                           order of deficiency.
10/03/17          JTM      Fee application.                                              0.20 Hrs

                                                           TOTAL LEGAL SERVICES                       $2,604.50


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs               Rate              Amount
LUO, DIYING                                   0.50            175.00                87.50
MORRIER, JOHN T.                              5.50            450.00              2,475.00


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WHITESELL, A. DAVIS                          0.10            420.00        42.00
                                             6.10                       $2,604.50




                                                                      GRAND TOTAL DUE         $2,604.50




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                                       Exhibit D
                       Category 9: Fee Applications & Objections


          The Firm began preparation of this compensation application prior to the

Effective Date of the Plan, and those services are captured here. The bulk of the time

devoted to the preparation of the Firm’s fee application, as well as the Firm’s assistance

to the Debtor’s accountant in preparation of its application, occurred after the Effective

Date, and therefore are not compensated, by the estate or otherwise. The Firm will

continue to assist the estate on an uncompensated basis by reviewing all applications

filed with the Court, conferring with the Creditor Trustee regarding filed applications,

serving appropriate notices and attending the hearing on compensation applications.

The Firm’s activities in this category were necessary in order to comply with the

provisions of the Bankruptcy Code, Bankruptcy Rules and Local Rules of this Court with

regard to the compensation of bankruptcy professionals performing services for the

estate.

          The following chart summarizes the services in this category, by professional:


                                            Hourly         Total
      Professional               Title                                   Total Fees
                                             Rate          Hours
John T Morrier (JTM)            Attorney       $450              3.6        $1,620.00
            Totals                                                3.6      $1,620.00

          The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Fee Applications & Objections

File Number: 58492.00009



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attached description




              FEES                                                                                         $1,620.00
              CURRENT BALANCE                                                                              $1,620.00

              TOTAL DUE                                                                                    $1,620.00




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 Re: Fee Applications & Objections




LEGAL SERVICES

Date               Atty    Description                                                  Time
06/01/15          JTM      Communicate with P. Bachtell re: RPL.                    0.10 Hrs
08/29/17          JTM      Communicate with Estate Professionals re:                0.20 Hrs
                           estimated effective date and professional fee
                           application deadline. .
09/14/17          JTM      Outline narrative.                                       0.70 Hrs
09/19/17          JTM      Work on fee application.                                 1.50 Hrs
09/30/17          JTM      Outline draft fee app. narrative.                        1.10 Hrs

                                                            TOTAL LEGAL SERVICES                 $1,620.00


LEGAL SERVICES SUMMARY


Attorney Name                                   Hrs              Rate         Amount
MORRIER, JOHN T.                                3.60            450.00       1,620.00
                                                3.60                        $1,620.00




                                                                           GRAND TOTAL DUE        $1,620.00




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                                     Exhibit D
                               Category 10: Financing

      Early in the case, the Debtor had contemplated obtaining debtor in possession

financing, secured by its supported housing properties, to finance the operation of those

properties. That was abandoned when it became clear that grant funding would remain

available to support those programs, through a fiscal agent designated by DHCD. In

addition, during the case, the Firm assisted the Debtor in negotiating with Century Bank

over extensions of its loan to 54 Eastern Ave Malden LLC, a non-debtor entity in which

the Debtor then held an interest. Services in this category also included early reviews of

the financing structure of the supported housing properties.

      The following chart summarizes the services in this category, by professional:


                                          Hourly        Total
      Professional              Title                                 Total Fees
                                           Rate         Hours
John T Morrier (JTM)          Attorney      $450              4.5        $2,025.00
A. Davis Whitesell (ADW)      Attorney        $420              2.6      $1,092.00
Di Ying Luo (DYL)             Paralegal        $175             0.6        $105.00
          Totals                                               7.70     $3,222.00

      The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Re: Financing

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attached description




              FEES                                                                                         $3,222.00
              CURRENT BALANCE                                                                              $3,222.00

              TOTAL DUE                                                                                    $3,222.00




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LEGAL SERVICES

Date               Atty    Description                                                     Time
04/29/15          JTM      Communicate with ADW re: loan terms.                         0.10 Hrs
05/01/15          ADW      Outlined and drafted skeletal motion to obtain               2.50 Hrs
                           postpetition financing on priming lien basis per 364
                           (d)(1), related order, and related promissory note,
                           revised and finalized papers and transmitted to JTM
                           with explanatory note.
05/11/15          JTM      Revise borrowing motion.                                     0.80 Hrs
05/12/15          JTM      Communicate with L. Vitale, counsel and DHCD.                0.20 Hrs
05/21/15          ADW      Communicate with JTM re planned sale of real                 0.10 Hrs
                           estate, searched form files for appropriate asset
                           purchase agreements and provided to JTM.
08/04/15          JTM      Telephone call and communicate with Gayle Erlich             0.60 Hrs
                           re: financing of 54 Eastern.
08/11/15          JTM      Communicate with EC re: guaranty.                            0.20 Hrs
08/11/15          JTM      Draft motion to clarify authority to extend guaranty.        0.80 Hrs
08/11/15          JTM      Correspond and telephone call with Gayle Ehrlich,            0.30 Hrs
                           counsel to Century.
08/12/15          JTM      Telephone call with G. Ehrlich.                              0.20 Hrs
08/13/15          DYL      File and serve motion to extend expiration date of           0.40 Hrs
                           guaranty of an affiliate's mortgage, and statement of
                           no opposition. File assented motion to set bar date
                           for admin claims.
08/13/15          JTM      Finalize and file motion to approve extension.               0.30 Hrs
08/13/15          JTM      Correspond with G. Ehrlich.                                  0.10 Hrs
08/17/15          JTM      Review scheduling order on Century Bank motion;              0.40 Hrs
                           correspond with G. Dhrlich and with K. Nicholson re:
                           same.
08/17/15          JTM      Communicate with K. Nicholson re: status of                  0.10 Hrs
                           committee assent.
09/25/15          JTM      Telephone call with Gayle Ehrlich re: Century Bank           0.40 Hrs
                           conditions to consent for Tri Cap redemption.




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 Re: Financing




10/15/15          DYL      Download two cited cases for Morrier's review.            0.20 Hrs

                                                         TOTAL LEGAL SERVICES                     $3,222.00


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs             Rate             Amount
LUO, DIYING                                  0.60            175.00             105.00
MORRIER, JOHN T.                             4.50            450.00           2,025.00
WHITESELL, A. DAVIS                          2.60            420.00           1,092.00
                                             7.70                            $3,222.00




                                                                            GRAND TOTAL DUE        $3,222.00




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                                       Exhibit D
                                 Category 11: Litigation

       The Firm assisted the Debtor with litigation matters, including two significant

assets of the estate. The Firm represented the Debtor in its dispute with Eagle Bank,

specifically the Debtor’s pre-petition claim that the bank had improperly offset certain

government grant funds. The Firm represented the Debtor with respect to this issue,

including analysis of the legal and factual basis for the parties’ positions, and

negotiations with counsel and with bank executives. This work resulted in an agreement

in principle to resolve the dispute, resulting in the LIHEAP Settlement Agreement,

described in Category 13, below. Certain of the services in finalizing and documenting

the agreement are tracked in Category 13. The recovery and other settlement benefits

obtained in the LIHEAP Settlement Agreement are a key component of the Plan.

       The Firm also assisted the Debtor with respect to its claims against the Debtor’s

former executive director and former controller regarding the improper grant

accounting and supervision which precipitated the Debtor’s demise. These services

included analysis of the factual basis for the claim, discussions with representatives of

the Debtor’s insurer regarding coverage, legal analysis of coverage issues, and

discussions with the Committee regarding the scope and basis for the claims. The Firm

investigated the nature of the claims, reviewing the Debtor’s records and interviewing

the Debtor’s personnel and board members. Also included here are discussions with the

Committee regarding its request to bring the claims on the estate’s behalf, and

proceedings to authorize standing. In addition, the Firm communicated with the

Committee’s special counsel, and with the defendants and their counsel, regarding

access to the Debtor’s records in facilitating discovery. The claims against the former
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executive director and former controller are ongoing, under the supervision and control

of the Creditor Trustee. If the Creditor Trustee prevails in obtaining damages in the

amount sought, the recovery would fund a significant additional distribution to

unsecured creditors.

      Prior to the case, the Debtor was involved in other disputes in various stages of

litigation. The Firm assisted the Debtor in resolving those matters, including the

following:

                A claim for subrogation in a Middlesex Superior Court case, Acadia v.

                 O’Brien, in which the Debtor was represented by insurance defense

                 counsel. The Firm assisted the Debtor and its insurer in compliance with

                 Superior Court orders and approval of a settlement, authorized by this

                 Court and funded entirely from insurance proceeds.

                Pre-petition litigation in which creditor Brandano Plumbing obtained pre-

                 judgment attachment of the Debtor’s bank account. The Firm assisted the

                 Debtor in analysis of the amount of the claim, and negotiated an

                 agreement with the claimant’s counsel for release of the attachment and

                 allowance of a general unsecured claim.

      The following chart summarizes the services in this category, by professional:


                                             Hourly        Total
      Professional                 Title                                Total Fees
                                              Rate         Hours
David Koha (DK)                  Attorney      $320              5.4       $1,728.00
David Koha (DK)                  Attorney        $295            1.3         $383.50
Anita S. Lichtblau (ASL)         Attorney       $390             0.5         $195.00
Anita S. Lichtblau (ASL)         Attorney        $375            0.9         $337.50
John T Morrier (JTM)             Attorney        $450           52.5     $23,625.00
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A. Davis Whitesell (ADW)      Attorney       $420             0.1          $42.00
Di Ying Luo (DYL)             Paralegal       $175            0.8         $140.00
          Totals                                           61.50      $26,451.00

      The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Litigation

File Number: 58492.00011



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                 FEES                                                                                    $26,451.00
              CURRENT BALANCE                                                                            $26,451.00

                 TOTAL DUE                                                                               $26,451.00




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LEGAL SERVICES

Date               Atty    Description                                                    Time
04/23/15          JTM      Research addresses for litigants; email notice.             0.50 Hrs
04/24/15          JTM      Review superior court dockets; communicate with             0.40 Hrs
                           DYL re: suggestion of bankruptcy.
04/24/15          JTM      Communicate with Brandano counsel re: filing.               0.20 Hrs
04/27/15          DYL      Prepare suggestion of bankruptcy for two pending            0.80 Hrs
                           litigation in Middlesex Superior Court. Confer with
                           Morrier and his assistant re filing with Court.
04/27/15          JTM      Suggestions of bankruptcy; attention to filing same.        0.80 Hrs
04/29/15          JTM      Communicate with ASL re: AGO's request.                     0.30 Hrs
05/09/15          JTM      Correspond re: Acadia v. O'Brien.                           0.40 Hrs
05/11/15          JTM      Correspond re: Acadia v. O'Brien (Tri-CAP).                 0.30 Hrs
05/11/15          JTM      Telephone call with counsel to acadia.                      0.20 Hrs
05/11/15          JTM      Communicate with L. Kemp re: Eagle Bank.                    0.20 Hrs
05/27/15          JTM      Message from B. Touhy re: O'Brien litigation.               0.10 Hrs
06/03/15          JTM      Communicate with K. Nicholson re: insurance.                0.10 Hrs
06/04/15          JTM      Communicate with defense counsel re: litigation/bar         0.10 Hrs
                           date.
06/22/15          JTM      Correspond re: O'Brien lawsuit; communicate with J.         0.30 Hrs
                           Baldiga; correspond re: defense counsel.
06/22/15          JTM      Telephone call with Brendan Tuohy.                          0.30 Hrs
06/23/15          JTM      Correspond and telephone call with B. Tuohy re:             0.10 Hrs
                           O'Brien litigation.
06/24/15          JTM      Telephone call with B. Tuohy and B. Misinra re:             0.30 Hrs
                           O'Brien litigation.
06/24/15          JTM      Conference with J. Baldiga re: O'Brien litigation.          0.10 Hrs
07/13/15          JTM      Review Superior Court Motion to Vacate Stay in              0.50 Hrs
                           Acadia v. O'Brien; communicate with B. Tuohy re:
                           same.
07/14/15          JTM      Communicate with B. Tuohy re: O'Brien.                      0.10 Hrs
07/15/15          JTM      Telephone call with B. Tuohy re: O'Brien.                   0.30 Hrs


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07/21/15           DK      Research re: bankruptcy court's exclusive                     1.00 Hrs
                           jurisdiction re: stay violations and whether insurance
                           policy and proceeds are property of the estate.
07/21/15          JTM      Draft opposition to stay motion; communicate with B.          1.50 Hrs
                           Tuohy and revise; serve under 9A on movant.
07/27/15          JTM      Correspondence from Morrison Mahoney re: reply                0.20 Hrs
                           brief.
08/12/15          JTM      Communicate with B. Tuohy re: Superior Court.                 0.10 Hrs
08/14/15          JTM      Review reply memo from opposing counsel;                      0.40 Hrs
                           communicate with insurance defense counsel;
                           calendar hearing.
08/17/15          JTM      Telephone call with B. Tuohy re: Acadia v. O'Brien            0.20 Hrs
                           hearing.
08/19/15          JTM      Communicate with B. Tuohy re: Acadia v. O'Brien.              0.10 Hrs
08/25/15          JTM      Telephone call with B. Tuohy re: Acadia v. O'Brien.           0.20 Hrs
09/15/15          JTM      To Middlesex Superior for hearing on motion to lift           2.50 Hrs
                           the stay imposed in Acadia v. O'Brien.
09/16/15          JTM      Conference with B. Tuohy re: Superior Court order             0.20 Hrs
                           respecting the stay.
10/13/15          JTM      Communicate with J. Baldiga re: Acadia v. O'Brien.            0.30 Hrs
10/13/15          JTM      Telephone call with J. Loughnane re: Eagle Bank.              0.30 Hrs
10/15/15          JTM      Emails wtih J. Baldiga re: Acadia litigation; email B.        0.30 Hrs
                           Tuohy.
10/16/15          JTM      Communicate with Jos. Baldiga; communicate with               0.30 Hrs
                           B. Tuohy.
10/26/15          JTM      Communicate with J. Loughnane.                                0.20 Hrs
10/27/15          ASL      Meeting with John Morrier re meeting with Eagle               0.50 Hrs
                           Bank.
10/27/15          JTM      Communicate with ASL re: Eagle Bank claims and                0.30 Hrs
                           issues.
10/28/15          JTM      Meeting with Eagle Bank and counsel.                          1.40 Hrs
10/28/15          JTM      Telephone call with K. Nicholson.                             0.30 Hrs
11/05/15          ASL      Review and respond to John Morrier's proposed                 0.40 Hrs
                           notice on records; review and respond to email from
                           John re record retention and notice to ACF.
11/25/15          JTM      Telephone call with B. Tuohy re: settlement                   0.20 Hrs
                           requirements.
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12/01/15          JTM      Telephone call with J. Loughnane re: Eagle Bank.            0.50 Hrs
12/03/15          JTM      Telephone call with J. Loughnane re: Eagle Bank.            0.30 Hrs
12/14/15          JTM      Communicate with B, Tuohy.                                  0.20 Hrs
12/15/15          JTM      Communicate with B. Mockler re: vehicle transfer;           0.40 Hrs
                           communicate with J. Williams re: same.
01/13/16          JTM      Communicate with S. Torino re: insurance.                   0.20 Hrs
02/08/16          JTM      Communicate with B. Tuohy re: Acadia settlement             0.20 Hrs
                           draft.
02/19/16          JTM      Correspond with K. Nicholson; telephone call with M.        0.50 Hrs
                           Fencer re: Committee claims.
02/24/16          JTM      Review D&O insurance policy.                                1.00 Hrs
02/26/16          JTM      Draft claim notice to carrier.                              1.50 Hrs
02/26/16          JTM      Telephone call with Philip Bronder Grioux.                  0.30 Hrs
02/29/16          JTM      Review reservation of rights letter.                        0.30 Hrs
02/29/16          JTM      Correspondence from Bronder-Grioux.                         0.10 Hrs
02/29/16          JTM      Telephone call with L. Kemp.                                0.20 Hrs
03/01/16          JTM      Communicate with P. Brodner-Giroux, A. Houser               0.40 Hrs
                           and L. Kemp re: D&O policy, insurer response.
03/04/16          JTM      Review stipulation; communicate with B. Tuohy.              0.20 Hrs
03/07/16          JTM      Conference with and telephone call with Jonathan            0.30 Hrs
                           Horne re: 2004 Exams.
03/08/16          JTM      Conference with J. Horne re: archive document               0.20 Hrs
                           index.
03/09/16          JTM      Conference with J. Horne.                                   0.10 Hrs
03/15/16          JTM      Communicate with J. Horne re: document review.              0.10 Hrs
03/15/16          JTM      Assemble documents for Committee review.                    0.30 Hrs
03/16/16          JTM      Prepare for and meet with J. Horne re: document             0.70 Hrs
                           review.
03/16/16          JTM      Two telephone calls with M. fencer re: Committee            0.30 Hrs
                           investigation.
03/16/16          JTM      Correspond with RSUI re: coverage.                          0.30 Hrs
03/16/16          JTM      Correspondence from RUSI re: coverage.                      0.10 Hrs
03/16/16          JTM      Call with L. Kemp.                                          0.30 Hrs

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03/17/16          JTM      Commitee document review.                                  0.50 Hrs
03/17/16          JTM      Correspond with deponents re: status.                      0.30 Hrs
03/17/16          JTM      Call with P. Brouder-Grioux re: status.                    0.20 Hrs
03/17/16          JTM      Correspond with RSUI re: coverage.                         0.50 Hrs
03/18/16          JTM      Document production to committee.                          0.60 Hrs
03/19/16          JTM      Communicate with EC.                                       0.10 Hrs
03/21/16          JTM      Communicate with J. Horne.                                 0.20 Hrs
03/21/16          JTM      Communicate with E. Slavitte re: Philip Bronder-           0.20 Hrs
                           Grioux.
03/22/16          JTM      Correspond with 2004 deponents re: documents.              0.20 Hrs
03/22/16          JTM      Communicate with C. Mullen re: Trustee certificate.        0.10 Hrs
03/24/16          JTM      Review correspondence re: coverage from counsel            0.20 Hrs
                           to RSUI.
03/24/16          JTM      Communicate with C. Harak; communicate with                0.30 Hrs
                           RSUI counsel.
03/25/16          JTM      Telephone call with L. Kemp.                               0.20 Hrs
03/25/16          JTM      Telephone call with J. Horne.                              0.20 Hrs
03/25/16          JTM      Communicate with J. Horne.                                 0.30 Hrs
03/25/16          JTM      Communicate with John Lamb re: electronic                  0.10 Hrs
                           production.
03/28/16          JTM      Communicate with J. Horne and with L. Kemp re:             0.20 Hrs
                           Kemp depo.
03/28/16          JTM      Telephone call with Mark Laredo and Mark Smith re:         0.20 Hrs
                           P. B-G.
03/29/16          JTM      Meeting with L. Kemp to retrieve documents and             1.00 Hrs
                           computer.
03/30/16           DK      T/c with JTM re: email production to AGO; review           0.30 Hrs
                           emails and files; conf. with JTM re: production to
                           creditors committee.
03/30/16          JTM      Electronic document production; meet with John             1.50 Hrs
                           Lamb and compile info; communicate with ASL and
                           with DK re: same.
03/30/16          JTM      Telephone call with J. Horne.                              0.20 Hrs



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03/31/16          ASL      Review and respond to email from John Morrier re            0.30 Hrs
                           emails produced to AG; meet with John Morrier re
                           same.
03/31/16          JTM      Electronic document production.                             0.50 Hrs
04/01/16          ASL      Retrieve and review files re emails produced to AG.         0.20 Hrs
04/01/16          JTM      compile info for Committee; devlier to J. Horne.            0.60 Hrs
04/05/16          JTM      Communicate with M. Kane.                                   0.30 Hrs
04/11/16          JTM      Communicate with counsel to PBG.                            0.20 Hrs
04/14/16          JTM      Communicate with J. Horne; telephone call with              0.50 Hrs
                           Jonathan re: status; message to L. Kemp.
04/20/16          JTM      Review copy of Committee demand letter; prepare             1.00 Hrs
                           and transmit notice of claim; correspond with EC;
                           communicate with A. Howser; communicate with M.
                           Kane; communicate with Hub International.
04/22/16          JTM      Communicate with P. Bachtell re: D&O claims,                0.20 Hrs
                           policy.
04/29/16          JTM      Review/revise stipulation; communicate with B.              0.30 Hrs
                           Tuohy.
05/11/16          JTM      Correspond with M. Kane.                                    0.10 Hrs
05/25/16          JTM      Communicate with J. Horne re: Howser;                       0.20 Hrs
                           communicate with A. Howser.
06/01/16          JTM      Correspondence from Michael Duffey, counsel to              0.30 Hrs
                           insurer re: cover.
06/01/16          JTM      Telephone call with M. Duffey re: Howser deposition.        0.10 Hrs
06/01/16          JTM      Communicate with A. Howser re: Howser deposition.           0.20 Hrs
06/01/16          JTM      Telephone call with M. Fenar re: Howser deposition.         0.10 Hrs
06/01/16          JTM      Telephone call with M. Duffey re: Howser deposition.        0.10 Hrs
06/02/16          JTM      Correspond with Duffy, Howser, Horne re:                    0.30 Hrs
                           deposition.
06/03/16          JTM      Communicate with M. Duffy re: counsel for                   0.20 Hrs
                           defendants PBG and AH.
07/27/16          JTM      Telephone call with Michael Duffy; telephone call           0.40 Hrs
                           with Jonathan Horne.
08/26/16          JTM      Telephone call with M. Kane re: insurer                     0.20 Hrs
                           correspondence.


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09/16/16          JTM      Communicate with M. Duffy re Philly - assignment of        0.40 Hrs
                           counsel for Anne Houser; communicate with HUB
                           re: same.
11/03/16          JTM      Correspond with M. Kane re: By-laws; communicate           0.50 Hrs
                           with Kane re personnel records.
11/10/16          JTM      Communicate with M. Kane review archives.                  0.50 Hrs
11/15/16          JTM      Communicate with M. Kane re: personal files.               0.10 Hrs
11/16/16          JTM      Communicate with M. Kane; review archive and call          0.70 Hrs
                           M. Kane.
01/09/17          JTM      Review Acadia docket entry dismissing civil action.        0.10 Hrs
01/10/17          JTM      Review APA re: DHCD program; call with M.                  0.60 Hrs
                           Powers.
01/26/17          JTM      Emails with B. Misiura re: potential insurance             0.50 Hrs
                           settlement of Powers/O'Brien claims.
02/04/17          JTM      Correspond with J. Baldiga re: settlement.                 0.10 Hrs
02/06/17          JTM      Communicate with B. Misiura re: Powers Oil.                0.20 Hrs
02/07/17          JTM      Communicate with J. Baldiga re: insurance                  0.50 Hrs
                           settlement.
02/14/17          JTM      Communicate with B. Misiura and G. O'Neill re:             0.20 Hrs
                           O'Brien/Powers.
03/06/17          JTM      Correspond with HUB (Crystal Firek) re litigation          0.30 Hrs
                           status.
03/27/17          JTM      Communicate with Nicholson re: Committee motion;           0.60 Hrs
                           review same.
03/28/17          JTM      Review motion to confer jurisdiction; communicate          0.80 Hrs
                           with K. Nicholson.
04/03/17          JTM      Brief review of Committee motion; draft and file           0.50 Hrs
                           assent.
04/11/17          JTM      Review Acadia motion; communicate with G. O'Neill          0.40 Hrs
                           re: revisions and assent.
04/11/17          JTM      Telephone call with G. O'Neill re dividend                 0.10 Hrs
                           projections.
04/12/17           DK      Conf. with JTM re: preference issue.                       0.10 Hrs
04/12/17          JTM      Hearing on Committee Standing motion.                      1.20 Hrs
04/12/17          JTM      Communicate with D. Koha re: preference claim;             0.50 Hrs
                           compile info.


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04/12/17          JTM      Evaluate officer claim status.                               0.50 Hrs
04/13/17           DK      Conf. with JTM re: preference action.                        0.10 Hrs
04/14/17           DK      Draft letter to Brandano re: attachment.                     1.20 Hrs
04/15/17          JTM      Communicate with J. Loughnane re Brandano                    0.20 Hrs
                           settlement.
04/17/17           DK      T/c A. Greenberg, email with JTM.                            0.20 Hrs
04/17/17          JTM      Communicate with D. Koha re: Brandano settlement             0.20 Hrs
                           terms.
04/18/17          JTM      Communicate with G. O'Neil re: O'Brien.                      0.10 Hrs
04/20/17           DK      Draft settlement agreement.                                  0.40 Hrs
04/20/17          JTM      Communicate with D. Koha; review draft.                      0.20 Hrs
04/21/17          JTM      Review adversary complaint.                                  0.80 Hrs
04/21/17          JTM      Communicate with J. Loughnane re: Brandano.                  0.20 Hrs
04/21/17          ADW      Reviewed adversary complaint against former                  0.10 Hrs
                           officers.
04/24/17           DK      Finalize and circulate Brandano settlement.                  0.30 Hrs
04/24/17          JTM      Review and correspond re: revised O'Brien                    0.30 Hrs
                           settlement. n.
04/26/17           DK      Email from J. Loughnane.                                     0.10 Hrs
04/26/17          JTM      Communicate with J. Loughnane and with D. Koha               0.20 Hrs
                           re: Brandano.
04/27/17           DK      Emails and conf. with JTM re: Brandano attachment;           0.40 Hrs
                           review state court docs and send to JTM.
04/28/17           DK      Email to J. Loughnane re: attachment; t/c from A.            0.10 Hrs
                           Greenberg.
05/03/17           DK      Emails with JTM re: Brandano settlement.                     0.10 Hrs
05/03/17          JTM      Communicate with D. Koha re: Brandano.                       0.10 Hrs
05/04/17           DK      Draft motion to approve settlement; conf. with D. Luo        0.50 Hrs
                           re: service.
05/10/17          JTM      Communicate with RSUI counsel, Michael Duffy, re:            0.30 Hrs
                           Committee's complaint.
05/24/17           DK      Email to A. Greenberg re: approval of Brandano               0.10 Hrs
                           settlement.



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07/07/17          JTM      Communicate with G. O'Neill re: O'Brien settlement;               0.50 Hrs
                           revise and sign.
08/04/17          JTM      Call with counsel to RSUI (M. Duffy) re: assent                   0.20 Hrs
                           request to order re: stay.
08/04/17          JTM      Communicate with K. Nicholson r: RSUI status.                     0.20 Hrs
09/05/17          JTM      Correspondence from J. Redlener re: discovery;                    0.50 Hrs
                           review and reply.
09/06/17          JTM      Call with Jesse Redlener and K. Nicholson.                        0.90 Hrs
09/07/17          JTM      Communicate with J. Redlener re: discovery; review.               0.30 Hrs
09/08/17           DK      Conf. with JTM re: research; email from JTM.                      0.30 Hrs
09/08/17          JTM      Correspond and confer with D. Koha re: discovery                  0.30 Hrs
                           research.
09/10/17           DK      Research re: duty of directors to sign interrogatories.           0.40 Hrs
09/14/17           DK      Research and review pleadings/orders re: obligation               1.10 Hrs
                           of directors to sign interrogatory responses; conf.
                           with JTM.
09/14/17          JTM      Conference with D. Koha re: discovery.                            0.20 Hrs
12/15/17          JTM      Correspond and telephone call with J. Redlener re:                0.80 Hrs
                           discovery; communicate with d. Golden re: archive.

                                                          TOTAL LEGAL SERVICES                           $26,451.00


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs              Rate                    Amount
KOHA, DAVID                                   5.40            320.00                  1,728.00
KOHA, DAVID                                   1.30            295.00                   383.50
LICHTBLAU, ANITA S.                           0.50            390.00                   195.00
LICHTBLAU, ANITA S.                           0.90            375.00                   337.50
LUO, DIYING                                   0.80            175.00                   140.00
MORRIER, JOHN T.                             52.50            450.00                 23,625.00
WHITESELL, A. DAVIS                           0.10            420.00                    42.00
                                             61.50                               $26,451.00

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                                                                      GRAND TOTAL DUE        $26,451.00




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                                     Exhibit D
                         Category 12: Meeting of Creditors

       The Firm communicated with the Committee and its counsel about aspects of the

case throughout these proceedings, by telephone, in meetings, in correspondence, and

via the preparation of reports. Many of these communications are captured in other

categories related to the topic of the communication. Communications about the case

generally or about multiple topics, are captured in this category. Included in this

category are communications about the Creditor Trust structure, and about the

Committee’s (and then the Trust’s) authority to pursue Estate Causes of Action.

       The following chart summarizes the services in this category, by professional:


                                          Hourly         Total
     Professional              Title                                   Total Fees
                                           Rate          Hours
John T Morrier (JTM)         Attorney        $450            13.6         $6,120.00
John T Morrier (JTM)         Attorney         $0.00             0.7           $0.00
         Totals                                               14.3       $6,120.00

       The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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                                                        June 26, 2018


Tri-City Community Action Program, Inc.

Re: Meetings of Creditors

File Number: 58492.00012



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                         $6,120.00
              CURRENT BALANCE                                                                              $6,120.00

              TOTAL DUE                                                                                    $6,120.00




             Casner & Edwards, LLP | 303 Congress Street, Boston, MA 02210 | (TEL) 617.426.5900 | (FAX) 617.426.8810
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 Tri-City Community Action Program, Inc.                                                     June 26, 2018
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LEGAL SERVICES

Date               Atty      Description                                                  Time
06/16/15          JTM        Telephone call with prospective Committee counsel.        0.30 Hrs
                             [NO CHARGE].
06/17/15          JTM        Telephone call with prospective committee counsel.        0.40 Hrs
                             [NO CHARGE].
06/23/15          JTM        Communicate with K. Nicholson.                            0.10 Hrs
06/24/15          JTM        Conference with K. Nicholson, counsel to                  0.10 Hrs
                             Committee.
06/26/15          JTM        Conference with K. Nicholson; review withdrawal.          0.20 Hrs
06/29/15          JTM        Telephone call with Kate Nicholson, counsel to            1.10 Hrs
                             Committee.
07/01/15          JTM        Communicate with K. Nicholson.                            0.20 Hrs
07/01/15          JTM        Communicate with client re: Committee request.            0.10 Hrs
07/01/15          JTM        Communicate with G. Howell re: committee request.         0.10 Hrs
07/08/15          JTM        Communicate with K. Nicholson with info compiled          0.50 Hrs
                             for Committee.
07/13/15          JTM        Telephone call with K. Nicholson re: case status.         0.40 Hrs
07/13/15          JTM        Communicate with K. Nicholson re: 54 Eastern              0.20 Hrs
                             operating agreement.
07/13/15          JTM        Communicate with K. Nicholson re: Eagle Bank.             0.20 Hrs
07/15/15          JTM        Telephone call with K. Nicholson.                         0.40 Hrs
07/15/15          JTM        Compile info for Committee; communicate with K.           0.60 Hrs
                             Nicholson r: same.
07/22/15          JTM        Correspond with creditor.                                 0.20 Hrs
07/27/15          JTM        Communicate with Kate Nicholson.                          0.10 Hrs
07/28/15          JTM        Communicate with K. Nicholson.                            0.20 Hrs
08/04/15          JTM        Communicate with Committee re: 54 Eastern.                0.20 Hrs
08/05/15          JTM        Communicate with K. Nicholson.                            0.20 Hrs
08/05/15          JTM        Communicate with K. Nicholson re: revised term            0.50 Hrs
                             sheet; communicate with K. Nicholson re: NECC
                             letter agreement.
08/07/15          JTM        Conference call with K. Nicholson.                        1.20 Hrs

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08/13/15          JTM        Telephone call with K. Nicholson re: assents.                  0.30 Hrs
08/13/15          JTM        Telephone call with K. Nicholson re: assents.                  0.10 Hrs
08/14/15          JTM        Telephone call with K. Nicholson.                              0.40 Hrs
08/21/15          JTM        Call with K. Nicholson.                                        0.50 Hrs
08/21/15          JTM        Correspond with K. Nicholson.                                  0.50 Hrs
08/27/15          JTM        Review hearing notice and communicate with B.                  0.50 Hrs
                             Touhy and B. Misiura (re: Acadia v. O'Brien);
                             calendar hearing.
08/31/15          JTM        Telephone call with K. Nicholson.                              0.50 Hrs
09/07/15          JTM        Communicate with K. Nicholson.                                 0.10 Hrs
09/11/15          JTM        Communicate with Nicholson.                                    0.20 Hrs
09/17/15          JTM        Communicate with N. Nicholson re: 54 Eastern.                  0.10 Hrs
10/01/15          JTM        Telephone call with K. Nicholson.                              0.60 Hrs
10/19/15          JTM        Telephone call with J. Loughnane.                              0.40 Hrs
10/26/15          JTM        Communicate with K.Nicholson and with USA re:                  0.20 Hrs
                             bus settlement.
10/26/15          JTM        Telephone call with K. Nicholson.                              0.30 Hrs
10/26/15          JTM        Communicate with K. Nicholson re: document                     0.20 Hrs
                             retention and destruction.
11/04/15          JTM        Review stipulation re: busses; correspond re: same.            0.20 Hrs
12/22/15          JTM        Meeting with kate Nicholson.                                   1.40 Hrs
01/18/16          JTM        Communicate with K. Nicholson re: discovery.                   0.20 Hrs
06/22/16          JTM        Communicate with K. Nicholson.                                 0.10 Hrs

                                                             TOTAL LEGAL SERVICES                        $6,120.00


LEGAL SERVICES SUMMARY


Attorney Name                                  Hrs               Rate                Amount
MORRIER, JOHN T.                             13.60              450.00              6,120.00
MORRIER, JOHN T.                              0.70                0.00             No Charge

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                                            14.30                       $6,120.00




                                                                      GRAND TOTAL DUE         $6,120.00




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                                    Exhibit D
                  Category 13: Plan and & Disclosure Statement

      The Debtor’s Chapter 11 Plan implements the three key elements of the case. The

Plan provides the authority for the terms of the Supported Housing Transaction; it

implements the settlement of the dispute between the Debtor and Eagle Bank; and it

incorporates an agreement regarding distribution among key constituents. The Firm’s

services were devoted to the negotiation and implementation of these transactions and

settlements; negotiations with the Committee regarding the Plan and Creditor Trust; the

drafting of the Plan, Disclosure Statement and related documents; and pursuit of Plan

confirmation.

      The Plan is the instrument authorizing the Debtor to enter into the Supported

Housing Transaction. Services devoted to the negotiation and documentation of that

transaction were tracked in Category 3, described above. Once the transaction was

agreed-to in principle, the Firm provided services to the estate in obtaining necessary

approvals for the transaction among the Debtor, Metro North Housing, DHCD,

including negotiations involving the Committee regarding additional transaction

consideration. Final authority to enter into the Supported Housing Transaction

remained contingent on the resolution of other negotiations, described below, leading to

the agreements underlying the Plan.

      The Firm represented the estate in negotiations resulting in an agreement

resolving disputes involving the Debtor, Eagle Bank, and DHCD arising out of

prepetition application by Eagle Bank of certain funds made available to the Debtor

under the federal Low Income Housing Energy Assistance Program administered by
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DHCD. This agreement, referred to as the “LIHEAP Settlement Agreement,” forms the

second pillar supporting the Plan.

       The Firm represented the estate in negotiations with National Grid, the estate’s

largest unsecured creditor, to resolve its asserted rights to certain funds at issue in the

LIHEAP Settlement Agreement. In negotiations involving the Committee, the estate

reached an agreement with National Grid, referred to as the “National Grid Sharing

Agreement,” to share certain proceeds it receives under the LIHEAP Settlement

Agreement, together with the Debtor’s other funds on hand, to pay the expenses of

administering the Debtor’s Chapter 11 case and to pay certain secured claims, priority

claims, and a distribution to general unsecured creditors.

       The negotiations to reach the National Grid Sharing Agreement and the LIHEAP

Settlement Agreement were protracted, in large part because these agreements and the

Supported Housing Transaction were interrelated, involving overlapping parties and

interests, including, of course, the interests of the estate and its creditors. Each of these

agreements remained contingent until all of them were essentially finalized, and each

required approval of the Plan as a whole to become effective. These three agreements

provide essentially all of the funds distributed to secured and unsecured creditors of the

estate in connection with the Effective Date of the Plan.

       As these negotiations were nearing completion, the Firm prepared the Plan,

Disclosure Statement, Creditor Trust instrument, and related documents, including the

solicitation materials. Thereafter, the Plan materials were filed, and the Firm

represented the Debtor in achieving Plan confirmation. Following confirmation, the

Firm represented the Debtor in preparing for the Effective Date, triggered by the closing

of the Supported Housing Transaction (services for which are recorded in this category
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and in Category 3 above). Preparations for the Effective Date including preparation and

review of pro forma calculations for the flow of funds for the Supported Housing

Transaction, and finalization of the claims database for the Effective Date distributions.

Pursuant to the Plan, the Firm was escrow agent for estate funds and managed the

Effective Date distributions. All unliquidated assets are the property of the Creditor

Trust.

         The following chart summarizes the services in this category, by professional:


                                            Hourly        Total
         Professional             Title                                 Total Fees
                                             Rate         Hours
Michael J. Goldberg (MJG)       Attorney      $450              1.6          $720.00
David Koha (DK)                 Attorney        $320             0.1          $32.00
John T Morrier (JTM)            Attorney        $450           161.5      $72,675.00
A. Davis Whitesell (ADW)        Attorney        $420            53.0      $22,260.00
Di Ying Luo (DYL)               Paralegal        $175             5.1        $892.50
            Totals                                           221.30      $96,579.50

         The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Plan and Disclosure Statement

File Number: 58492.00013



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                       $96,579.50
              CURRENT BALANCE                                                                            $96,579.50

              TOTAL DUE                                                                                  $96,579.50




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 Re: Plan and Disclosure Statement




LEGAL SERVICES

Date               Atty    Description                                                    Time
11/06/15          JTM      Outline draft plan.                                         0.50 Hrs
12/03/15          JTM      Outline plan based on likely asset recovery.                1.00 Hrs
12/07/15          JTM      Communicate with ASL re: Plan provisions.                   0.30 Hrs
02/12/16          JTM      Communicate with F. McGinn re: plan.                        0.30 Hrs
02/23/16          JTM      Telephone call with F. McGinn.                              0.60 Hrs
02/23/16          JTM      Telephone call with K. Nicholson.                           0.50 Hrs
02/23/16          JTM      Telephone call with M. Power.                               0.60 Hrs
02/24/16          JTM      Plan term sheet.                                            0.50 Hrs
03/08/16          JTM      Conference with and telephone call with M. Powers           1.20 Hrs
                           re: Boston Gas; memo to file.
03/24/16          JTM      Refine term sheet; communicate with EC.                     0.50 Hrs
03/25/16          JTM      Revise term sheet; analyze claims and possible              2.20 Hrs
                           classification.
05/11/16          JTM      Communicate with ADW.                                       0.20 Hrs
05/12/16          JTM      Communicate with ADW re: plan terms.                        0.50 Hrs
05/12/16          ADW      Conference with JTM to discuss plan formulation,            0.70 Hrs
                           obtain introduction to case and background
                           information.
05/24/16          ADW      Reviewed file, reviewed case docket for background          4.50 Hrs
                           and downloaded and reviewed pertinent pleadings
                           and orders, and outlined and commenced drafting of
                           liquidating plan.
05/25/16          ADW      Reviewed draft plan and prepared list of open issues        1.00 Hrs
                           to discuss with JTM; legal research on issue of
                           acceptance of plan by non-voting impaired class and
                           memorandum to JTM re same.
05/25/16          ADW      Conference with JTM re plan formulation issues,             0.50 Hrs
                           questions re background and related matters; notes
                           to file re follow-up and plan drafting points.
05/27/16          ADW      Worked on plan, completed draft, and reviewed,              2.50 Hrs
                           proofread and edited draft plan and memorandum to
                           JTM with explanatory note.


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06/20/16          JTM      Communicate with K. Nicholson.                              0.10 Hrs
06/20/16          JTM      Revise claim analysis.                                      0.70 Hrs
06/29/16          JTM      Conference call with K. Nicholson re: Plan.                 0.60 Hrs
06/29/16          JTM      Pro forma distribution calculations.                        0.40 Hrs
06/30/16          JTM      Correspond with F. McGinn and K. Nicholson.                 0.10 Hrs
06/30/16          JTM      Conference call with C. Harak and M. Dugan.                 0.70 Hrs
07/11/16          JTM      Compile info for meeting with DHCD re: housing              0.80 Hrs
                           transaction and litigation settlement.
07/11/16          JTM      To HR for meeting with Committee and DHCD                   2.20 Hrs
                           counsel.
07/13/16          JTM      Conference with ADW re: plan revisions.                     0.20 Hrs
07/13/16          ADW      Reviewed draft plan and prepared for and telephone          0.40 Hrs
                           conference with JTM re plan negotiation
                           developments and need for plan modifications;
                           notes re follow up.
07/18/16          JTM      Communicate with DHCD, Eagle, Committee                     0.20 Hrs
                           counsel.
07/19/16          JTM      Telephone call with J. Loughnane.                           0.30 Hrs
07/20/16          JTM      Prepare for meeting.                                        0.40 Hrs
07/20/16          JTM      Meeting with J. Loughnane, K. Nicholson, F. McGinn          1.30 Hrs
                           re: open issues.
07/20/16          JTM      Correspond with counsel to Boston Gas.                      0.10 Hrs
07/20/16          JTM      Telephone call with K. Nicholson.                           0.20 Hrs
07/20/16          JTM      Communicate with F. McGinn and K. Nicholson.                0.10 Hrs
07/20/16          ADW      Reviewed file and notes re plan modification, and           1.20 Hrs
                           drafted revised plan to address developments from
                           creditor input and pending settlement initiatives;
                           memorandum to JTM with revised plan.
07/22/16          JTM      Telephone call with M. Powers.                              0.20 Hrs
08/02/16          JTM      Communicate with ADW re: Plan.                              0.20 Hrs
08/02/16          ADW      Communicate with JTM re developments impacting              0.50 Hrs
                           plan and re plan structure information; reviewed and
                           revised draft plan accordingly.
08/30/16          JTM      Telephone call with F. McGinn.                              0.70 Hrs


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08/30/16          JTM      Revise APA; communicate with H. Korman.                     1.50 Hrs
08/30/16          JTM      Call to K. Nicholson; correspond re: call agenda.           0.20 Hrs
08/30/16          JTM      Analyze claim pool/settlement options; calculate pro        0.70 Hrs
                           forma distributions.
08/31/16          JTM      Correspondence from M. McGinn re: DHCD                      0.20 Hrs
                           settlement proposal.
08/31/16          JTM      Correspondence from F. McGinn re: DHCD                      0.10 Hrs
                           settlement proposal.
08/31/16          JTM      Revise plan.                                                1.00 Hrs
09/01/16          JTM      Outline issues for call; conference call with K.            1.00 Hrs
                           Nicholson.
09/01/16          JTM      Draft correspondence to Mark Powers re: National            0.50 Hrs
                           Grid.
09/01/16          JTM      Correspond with F. McGinn re: DHCD.                         0.20 Hrs
09/01/16          JTM      Communicate with K. Nicholson re: DHCD.                     0.10 Hrs
09/06/16          JTM      Work on plan/disclosure statement.                          1.50 Hrs
09/06/16          JTM      Correspond with K. Nicholson.                               0.20 Hrs
09/06/16          JTM      Telephone call with F. McGinn.                              0.70 Hrs
09/06/16          JTM      Correspond with F. McGinn re: APA.                          0.20 Hrs
09/07/16          JTM      Telephone call with F. McGinn.                              0.40 Hrs
09/07/16          JTM      Draft disclosure statement.                                 1.70 Hrs
09/07/16          JTM      Telephone conference with H. Korman.                        0.90 Hrs
09/08/16          JTM      Call with Kate Nicholson.                                   0.40 Hrs
09/08/16          JTM      Communicate with ADW re: plan and disclosure                0.50 Hrs
                           statement.
09/08/16          JTM      Communicate with K. Nicholson.                              0.20 Hrs
09/08/16          JTM      Correspond with exec. board.                                0.20 Hrs
09/08/16          ADW      Conference with John Morrier re developments on             0.20 Hrs
                           plan negotiations and structure, assistance needed
                           with disclosure statement and related matters.
09/09/16          JTM      Call with M. Powers re: National Grid.                      0.20 Hrs
09/09/16          JTM      Telephone call with M. Powers re: National Grid.            1.40 Hrs
09/09/16          JTM      Communicate with J. Longhnane re: Eagle Bank.               0.10 Hrs

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09/09/16          ADW      Worked on disclosure statement.                            2.00 Hrs
09/12/16          JTM      Communicate with K. Nicholson.                             0.10 Hrs
09/12/16          JTM      Telephone call with J. Loughnane.                          0.40 Hrs
09/15/16          JTM      Call and correspond with M. Powers; correspond             0.70 Hrs
                           with K. Nicholson.
09/16/16          JTM      Telephone call with M. Powers.                             0.40 Hrs
09/16/16          JTM      Telephone call with K. Nicholson.                          0.20 Hrs
09/16/16          JTM      Telephone call with J. Loughnane.                          0.20 Hrs
09/20/16          JTM      Correspond with K. Nicholson with spreadsheet for          0.80 Hrs
                           claims and plan analysis. .
09/20/16          ADW      Worked on disclosure statement.                            1.50 Hrs
09/21/16          JTM      Communicate with M. Dugan and C. Harak re:                 0.50 Hrs
                           status of negotiations.
09/21/16          JTM      Draft settlement correspondence to K. Nicholson;           0.80 Hrs
                           finalise spreadsheet calculations and send to
                           Nicholson, J. Loughnane, F. McGinn and M.
                           Powers.
09/21/16          JTM      Communicate with J. Loughnane.                             0.10 Hrs
09/21/16          JTM      Communicate with F. McGinn.                                0.20 Hrs
09/21/16          ADW      Memorandum from John Morrier re update on plan             1.10 Hrs
                           negotiations, reviewed term sheet and related
                           financial analysis, and thought about legal issues
                           raised by proposed plan structure [.20]; telephone
                           conference with John Morrier to discuss same [.30];
                           commenced review and revision of plan to reflect
                           developments [.60].
09/23/16          ADW      Worked on Chapter 11 plan formulation and drafting,        4.40 Hrs
                           completed updated draft plan [4.2]; memorandum to
                           John Morrier explaining updates and addressing
                           open issues [.20].
09/27/16          JTM      Communicate with M. Powers.                                0.10 Hrs
09/27/16          JTM      Communicate with F. McGinn re: plan.                       0.20 Hrs
09/27/16          JTM      Communicate with K. Nicholson.                             0.10 Hrs
09/28/16          JTM      Telephone call with M. Powers.                             0.20 Hrs
09/28/16          JTM      Telephone call with K. Nicholson.                          0.10 Hrs


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09/28/16          JTM      Correspond with J. Loughnane.                            0.10 Hrs
09/28/16          JTM      Communicate with and telephone call with F.              0.30 Hrs
                           McGinn.
09/28/16          ADW      Worked on disclosure statement.                          6.00 Hrs
09/29/16          JTM      Communicate with M. Powers.                              0.10 Hrs
09/30/16          JTM      Call with J. Loughnane.                                  0.50 Hrs
09/30/16          JTM      Communicate with ADW re: disclosure statement;           1.20 Hrs
                           review.
09/30/16          ADW      Completed draft of disclosure statement and              2.50 Hrs
                           provided to JTM for review with explanatory note.
10/06/16          JTM      Correspond with M. Powers.                               0.10 Hrs
10/10/16          JTM      Review/revise plan and disclosure statement.             1.50 Hrs
10/25/16          JTM      Communicate with F. McGinn.                              0.10 Hrs
10/25/16          JTM      Communicate with M. Powers.                              0.10 Hrs
10/27/16          JTM      Communicate with C. Harak and M. Dugan re: APA,          0.60 Hrs
                           plan terms.
10/27/16          JTM      Communicate with M. Powers.                              0.10 Hrs
10/27/16          JTM      Communicate with J. Green, Mass AGO.                     0.10 Hrs
10/28/16          JTM      Telephone call with M. Powers.                           0.60 Hrs
11/14/16          JTM      Communicate with K. Nicholson.                           0.20 Hrs
11/17/16          JTM      Communicate with M. Powers; telephone call with          0.70 Hrs
                           him re: plan.
11/17/16          JTM      Analyze correspondence from M. Powers;                   0.80 Hrs
                           correspond with Committee and Eagle counsel.
11/22/16          JTM      Telephone call with M. Powers re: National Grid.         0.40 Hrs
11/22/16          JTM      Correspondence from M. Powers; communicate with          0.60 Hrs
                           Committee and Eagle Bank re: same.
11/22/16          JTM      Correspond with C. Harak and M. Dugan.                   0.50 Hrs
12/01/16          JTM      Telephone call with J. Loughnane re: plan terms.         0.30 Hrs
12/05/16          JTM      Communicate with F. McGinn.                              0.20 Hrs
12/05/16          JTM      Telephone call with K. Nicholson.                        0.20 Hrs
12/06/16          JTM      Telephone call with F. McGinn.                           0.40 Hrs


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12/06/16          JTM      Memo to Charlie Harak and Matt Dugan; correspond           0.60 Hrs
                           re status.
12/06/16          JTM      Communicate with ADW re: settlement agreement              0.30 Hrs
                           terms and drafting.
12/06/16          ADW      Meeting with JTM to discuss recent developments            0.20 Hrs
                           leading to consensual plan, and assistance required
                           to document settlements and finalize plan and
                           related documents.
12/07/16          JTM      Correspond with F. McGinn.                                 0.30 Hrs
12/07/16          ADW      Quickly reviewed latest draft of plan for possible         0.50 Hrs
                           modification to reflect negotiated settlements with
                           Eagle Bank, National Grid, and DHCD; prepared
                           action item list for plan revision including
                           settlements; outlined settlement agreement among
                           debtor, bank, and DHCD [.30]; legal research on
                           plan support agreement as potential solicitation of
                           vote [1/2 time charged] [.20].
12/08/16          JTM      Call with Exec. Committee; follow-up                       0.70 Hrs
                           correspondence.
12/08/16          JTM      Communicate with ADW re: LINEAP settlement                 0.20 Hrs
                           terms.
12/08/16          ADW      Drafted LIHEAP Settlement Agreement, reviewed              3.60 Hrs
                           and finalized agreement for JTM review.
12/09/16          JTM      Review and revise draft agreements.                        0.30 Hrs
12/09/16          JTM      Call and correspondence with F. McGinn. .                  0.50 Hrs
12/09/16          ADW      Drafted letter agreement between debtor and                1.80 Hrs
                           National Grid concerning plan.
12/13/16          JTM      Review/revise settlement documents. .                      1.20 Hrs
12/27/16          JTM      Review/revise LIHEAP settlement.                           1.00 Hrs
12/27/16          JTM      Review/revise National Grid Settlement.                    0.50 Hrs
12/28/16          JTM      Revise side agreements; correspond with counsel to         0.80 Hrs
                           Eagle; DHCD, Committee: N. Grid. .
12/28/16          JTM      Communicate with M. Powers.                                0.10 Hrs
12/28/16          ADW      Reviewed correspondence re plan implementing               0.10 Hrs
                           agreements, and quickly reviewed draft agreements.
12/29/16          JTM      Revisions to plan and D&S.                                 1.60 Hrs
01/03/17          JTM      Revisions to Disclosure Statement.                         0.80 Hrs

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01/05/17          JTM      Telephone call with F. McGinn re: DHCD.                        0.50 Hrs
01/05/17          JTM      Correspondence from F. McGinn.                                 0.20 Hrs
01/05/17          JTM      Review comments from F. McGinn.                                0.40 Hrs
01/05/17          JTM      Communicate with M. Powers re: DHCD/NGrid.                     0.20 Hrs
01/06/17          JTM      Telephone call with M. Powers.                                 0.50 Hrs
01/06/17          JTM      Telephone call with H. Korman.                                 0.50 Hrs
01/11/17          JTM      Communicate with J. Loughnane; message to H.                   0.40 Hrs
                           Korman; message to F. McGinn.
01/12/17          JTM      Communicate with J. Loughnane.                                 0.20 Hrs
01/13/17          JTM      Correspond (with reports) from H. Korman.                      0.50 Hrs
01/17/17          JTM      Correspond with ADW; work to resolve DNCD                      0.80 Hrs
                           issues in draft plan.
01/17/17          ADW      Communicate with JTM re plan process,                          0.60 Hrs
                           developments, plan implementing agreements;
                           reviewed creditor and government comments on
                           plan agreements and meeting with JTM to discuss
                           same, other developments, and next steps; notes to
                           file re issues to address in revised drafts of plan and
                           plan implementing agreements.
01/24/17          JTM      Analyze Credit Trust structure re: litigation.                 0.60 Hrs
01/30/17          ADW      Reviewed notes and correspondence and markups                  1.30 Hrs
                           of plan implementing agreements, reviewed and
                           revised agreements to reflect all parties' comments
                           and edits and to ID open isssues and placeholders
                           for addressing same (LIHEAP settlement agreement
                           and National Grid side agreement) [.80]; reviewed
                           plan for anticpated changes to reflect changes to
                           implementing agreements, and throught about same
                           [.50].
01/31/17          ADW      Conference with JTM re status of plan negotiations,            0.10 Hrs
                           and re status of revisions to plan implementing
                           agreements, and open issues.
02/06/17          JTM      Telephone call with F. McGinn.                                 0.50 Hrs
02/06/17          JTM      Telephone call with H. Korman.                                 0.30 Hrs
02/09/17          JTM      Revisions to disclosure statement.                             1.50 Hrs
02/13/17          JTM      Memo to executive committee re Plan/transaction.               0.80 Hrs


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02/14/17          JTM      Correspond with executive committee.                         0.20 Hrs
02/16/17          ADW      Conference with JTM re developments on plan                  0.10 Hrs
                           implemening transactions, preparation for filing and
                           motion to approve dsiclosure statement.
02/21/17          JTM      Communicate with F. McGinn.                                  0.20 Hrs
02/22/17          JTM      Revisions to Plan/DS.                                        2.80 Hrs
02/22/17          JTM      Revisions to settlement/plan agents. .                       0.40 Hrs
02/26/17          ADW      Outlined and drafted motion for approval of                  2.60 Hrs
                           disclosure statement and plan solicitation
                           procedures, with accompanying forms of proposed
                           order, ballot, and notice of confirmation hearing and
                           related matters; checked updated bankruptcy forms
                           for compliance; checked draft plan to confirm
                           properly addressed in motion; reviewed, edited, and
                           finalized draft motion with attachments.
02/27/17          JTM      Call with McGinn.                                            0.30 Hrs
02/27/17          ADW      Proofread motion for approval of disclosure                  0.50 Hrs
                           statement and plan solicitation procedures, edited
                           and finalized draft, and transmitted to JTM with
                           explanatory note, conference with JTM re same, and
                           re plan-implementing agreements, retrieved latest
                           draft agreements, provided to JTM, and reviewed
                           correspondence to creditor counsel re same.
02/28/17          JTM      Revise disclosure statement.                                 1.50 Hrs
03/01/17          JTM      Revise National Grid agreement; communicate with             1.90 Hrs
                           ADW; correspond with M. Powers and F. McGinn;
                           telephone call from F. McGinn; correspond with
                           Powers and McGinn re: LIHEAP agreement terms.
03/01/17          JTM      Additional Plan drafting.                                    1.60 Hrs
03/01/17          JTM      Correspond and telephone call with H. Korman;                0.30 Hrs
                           review 54 Eastern Ave note.
03/01/17          ADW      Confer with JTM re plan implementing agreement               0.40 Hrs
                           issues, resistance from Commonwealth to current
                           version and need to refine approach; reviewed and
                           revised plan implementing agreement and conferred
                           with JTM re new approach and reviewed related
                           communications with counsel to Commonwealth.
03/02/17          JTM      Telephone call from F. McGinn. .                             0.50 Hrs
03/02/17          JTM      Telephone call from McGinn.                                  0.40 Hrs

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03/06/17          JTM      Telephone call with M. Powers.                               0.70 Hrs
03/07/17          JTM      Revise plan re: AGO approval; communicate with K.            0.80 Hrs
                           Nicholson re: status and Committee disclosures.
03/08/17          JTM      Communicate with K. Nicholson.                               0.20 Hrs
03/09/17          JTM      Revise disclosure statement; revise approval motion.         1.00 Hrs
03/10/17          JTM      Revise Plan and Disclosure Statement.                        1.70 Hrs
03/10/17          ADW      Memo from C. Yousef with summary of proposed                 0.20 Hrs
                           strategic plan for possible restructuring with or
                           without Amcomm settlement, and memo to MJG
                           with initial thoughts.
03/13/17          JTM      Revisions to plan documents.                                 1.20 Hrs
03/14/17          JTM      Revise disclosure statement re: DHCD/N. Grid;                1.10 Hrs
                           revise projections.
03/14/17          JTM      Clean up and revise draft plan. .                            0.90 Hrs
03/15/17          JTM      Clean up current drafts of side agreements;                  2.00 Hrs
                           correspondence to counsel; finalize revisions to
                           APA; communicate with H. Korman; communicate
                           with EC.
03/15/17          ADW      Reviewed JTM letter to plan parties with status              0.10 Hrs
                           report on plan effort and explaining latest drafts of
                           plan and plan-implementing agreements, proposed
                           next steps.
03/17/17          JTM      Correspond with M. Powers; review his changes.               0.30 Hrs
03/17/17          JTM      Correspond with J. Loughnane.                                0.20 Hrs
03/21/17          JTM      Correspondence from F. McGinn and from M.                    0.40 Hrs
                           Powers.
03/21/17          JTM      Communicate with K. Nicholson.                               0.20 Hrs
03/21/17          ADW      Letter from F. McGinn with DHCD's proposed                   0.30 Hrs
                           revisions to Chapter 11 plan, and reviewed and
                           thought about proposed changes; letter from M.
                           Powers raising National Grid concerns re DHCD's
                           proposed revisions to Chapter 11 plan, and initial
                           thinking about issues raised and possible means of
                           resolving.
03/22/17          JTM      Communicate with M. Powers; review revisions. .              0.60 Hrs
03/22/17          JTM      Correspond with EC.                                          0.30 Hrs
03/23/17          JTM      Correspond re: side arguments.                               0.20 Hrs
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03/24/17          JTM      Finalize APA and circulate for signature; memo to              3.50 Hrs
                           client; memo to committee; communicate with
                           counsel to National Grid, DHCD, Eagle; revisions to
                           side agreements and plan.
03/25/17          JTM      Correspond with EC.                                            0.50 Hrs
03/27/17          JTM      Correspond with K. Nicholson.                                  0.30 Hrs
03/27/17          JTM      Prepare for EC meeting.                                        0.50 Hrs
03/27/17          ADW      Conference with JTM re imminent filing of final plan           0.10 Hrs
                           and disclosure statement, located and retrieved
                           current drafts of disclosure statement and solicitation
                           procedures motion and transmitted to JTM with
                           explanatory note.
03/27/17          ADW      Reviewed JTM memo to Bank, Committee, National                 0.30 Hrs
                           Grid, and DHCD re further agreement on plan and
                           plan-implementing agreements, and reviewed
                           revised plan and revised plan-implementing
                           agreements and noted possible drafting issue re
                           certain defined terms in National Grid side
                           agreement.
03/28/17          JTM      Meeting with Executive committee.                              1.80 Hrs
03/28/17          JTM      Communicate with F. McGinn.                                    0.20 Hrs
03/28/17          ADW      Conference with JTM re plan negotiations and                   0.10 Hrs
                           related matters.
03/29/17          JTM      Communicate with K. Nicholson.                                 0.30 Hrs
03/29/17          JTM      Prepare draft closing funds flow memo.                         0.70 Hrs
03/29/17          JTM      Correspond with J. Loughnane.                                  0.20 Hrs
03/29/17          JTM      Disclosure statement.                                          2.80 Hrs
03/29/17          JTM      Compile latest versions of side agreements;                    0.80 Hrs
                           correspond with key creditor group counsel;
                           communicate with Executive Committee.
03/29/17          ADW      Conference with JTM re steps toward finalization of            0.10 Hrs
                           plan and disclosure statement for submission to
                           court. and provided documents.
03/30/17          JTM      Communicate with ADW re: disclosure statement;                 1.20 Hrs
                           review.
03/30/17          JTM      Communicate with Executive Committee.                          0.30 Hrs
03/30/17          JTM      Continue disclosure draft; review with EC and revise.          1.50 Hrs

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04/05/17          JTM      Correspondence from F. McGinn.                                0.30 Hrs
04/06/17          JTM      Communicate with EC re: plan status.                          0.10 Hrs
04/07/17          JTM      Legal research; revise disclosure statement.                  0.80 Hrs
04/10/17          JTM      Communicate with M. Powers.                                   0.20 Hrs
04/10/17          JTM      Revise disclosure statement; review Granada wines             1.30 Hrs
                           line of cases.
04/11/17          JTM      Revise motion to approve DS.                                  1.10 Hrs
04/12/17          JTM      Disclosure statement and motion to approve; revise            2.70 Hrs
                           Plan to conform to final settlement documents.
04/12/17          JTM      Communicate with J. Loughnane.                                0.10 Hrs
04/12/17          JTM      Communicate with F. McGinn.                                   0.20 Hrs
04/13/17          JTM      Communicate with ADW re: admin bar date.                      0.20 Hrs
04/13/17          JTM      Substantial revision/edits to disclosure statement            3.50 Hrs
                           and revise plan.
04/13/17          JTM      Correspond with K. Nicholson.                                 0.20 Hrs
04/13/17          JTM      Call with F. McGinn.                                          0.30 Hrs
04/13/17          JTM      Correspond with F. McGinn.                                    0.20 Hrs
04/13/17          JTM      Correspond with EC.                                           0.20 Hrs
04/13/17          ADW      Communicate with JTM re finalization of plan and              0.30 Hrs
                           dsiclosure statement and related procedural motion
                           [.10]; communicate with JTM re setting adm. bar
                           date, whether in plan or by separate motion, and
                           reviewed several cases to ascertain preferred
                           approach [.20].
04/13/17          ADW      Conference with JTM to discuss finalization and               0.50 Hrs
                           filing of plan and disclosure statement and related
                           matters inclduing need to refine approach to eliciting
                           and addressing adminsitartive claims [.40]; retrieved
                           and reviewed existing bar date order and memo to
                           JTM re prior notice re certain administrative claims
                           [.10].
04/13/17          ADW      Reviewed and revised plan to address administrative           0.90 Hrs
                           claim issues, and memo to JTM re same.
04/13/17          ADW      Reviewed LTM correspondence to F. McGinn and to               0.10 Hrs
                           K. Nicholson re plan and disclosure statement,
                           updated action item list for plan related matters.

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04/14/17          JTM      Finalize/final edits to motion, disclosure statement,           3.00 Hrs
                           plan and exhibits; prepare for filing; communicate
                           with ADW.
04/14/17          JTM      Call and communicate with F. McGinn re: Plan.                   0.50 Hrs
04/14/17          JTM      Correspond with Executive Committee.                            0.30 Hrs
04/14/17          ADW      Worked with JTM to finalize and file plan and                   3.40 Hrs
                           disclosure statement and related motion to approve
                           disc. statement and plan solicitation procedures,
                           including: conference with JTM re final plan issues
                           and reviewed file incident thereto [.40]; proofread
                           and edited plan [.80]; proofread and edited
                           disclosure statement [.70]; reviewed, edited, and
                           revised procedural motion to address developments
                           on plan, new scheduling, and new administrative bar
                           date and revised related order and notice [1.20];
                           attended to filing and service of plan and disclosure
                           statement and related procedural motion [.30].
04/17/17          JTM      Review scheduling order; communicate with D. Luo                0.50 Hrs
                           and A.D. Whitesell re: notice.
04/17/17          ADW      Downloasded and reviewed notice of hearing on                   0.10 Hrs
                           disclosure statement, updated calendar, and
                           communicate with JTM re service.
04/18/17          DYL      Draft hearing notice re approving disclosure                    1.50 Hrs
                           statement and plan procedure and cos. Emails fr/to
                           Whitesell and Morrier re service. Finalize and file
                           notice of hearing prepared by Whitesell. Instruction
                           to assistant for service on all creditors and additional
                           parties. Update cos and matrix. Finalize and file cos.
                           .
04/18/17          JTM      Correspond re: scope of notice.                                 0.20 Hrs
04/18/17          ADW      Communicate with JTM re service of disclosure                   0.60 Hrs
                           statement hearing notice; reviewed court notice;
                           checked all procedural rules re service of notice of
                           hearing on disclosure statement; checked docket for
                           any equity holders, checked disclosure statement for
                           any debts to U.S., provided supplemental service list
                           to D. Luo; reviewed JTM correspondence re
                           additional service parties, drafted notice of hearing
                           on hearing disclsoure statement and related plan
                           soliciation procieures motion and memo to D. Luo re
                           service and re preparation of COS.


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04/18/17          ADW      Reviewed, edited, and revised COS for notice of             0.20 Hrs
                           disclosure statement hearing and checked mailing
                           matrix and memo to D. Luo re need to include
                           additional address, and re certain names listed in
                           matrix.
04/27/17          JTM      Communicate with ADW re: Creditor Trust,                    0.40 Hrs
                           confirmation.
04/27/17          ADW      Conferred with MJG re planning for plan                     0.10 Hrs
                           confirmation hearing, including prepartion of plan
                           supplement.
05/03/17          ADW      Reviewed file, checked plan solicitation procedures         0.20 Hrs
                           motion, prepared action item list for disclosure
                           statement hearing, plan supplement.
05/04/17          ADW      Drafted Creditor Trust Instrument for chapter 11            1.80 Hrs
                           plan; memo to JTM re same.
05/04/17          ADW      Reviewed Brandano settlement agreement and                  0.10 Hrs
                           approval motion, checked plan and considered
                           whether modification required to reflect settlement.
05/05/17          ADW      Reviewed pleadings and court order and hearing              0.10 Hrs
                           notice on Brandano settlement, scheduling with
                           disclosure statement hearing.
05/08/17          JTM      Review and revise creditor trust instrument;                1.20 Hrs
                           communicate with Kate Nicholson re: same.
05/09/17          JTM      Review property expense issue.                              0.50 Hrs
05/10/17          ADW      Reviewed correspondence to K. Nicholson re                  0.10 Hrs
                           creditor trust instrument and draft of instrument.
05/11/17          JTM      Call with K. Nicholson; communicate with ADW re:            0.40 Hrs
                           Creditor Trustee.
05/16/17          JTM      Correspond re: Creditor Trust revisions; revise and         0.60 Hrs
                           finalize.
05/16/17          JTM      Review MRA objection.                                       0.20 Hrs




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05/16/17          ADW      Memo from K. Nicholson re final edits to Creditor             0.50 Hrs
                           Trust Instrument and proposing change to certain
                           recitals language; reviewed proposed change,
                           checked recitals language against disclosure
                           statement, and memo to. K. Nicholson explaining
                           thinking behind recitals language; correspondence
                           with JTM and K. Nicholson re same; saved revised
                           CTI to system [.30]; further communications
                           regarding trust assets and interplay between plan
                           and creditor trust instrument, revised CTI and
                           communicate with JTM and K. Nicholson re same
                           [.20].
05/17/17          JTM      Review MRA objection to disclosure and DS                     0.20 Hrs
                           provisions.
05/17/17          JTM      Telephone call with H. Korman re: MRA objection.              0.60 Hrs
05/17/17          JTM      Communicate with F. McGinn re: DHCD agreement.                0.20 Hrs
05/17/17          JTM      Communicate with ADW; revise supplement to plan.              0.20 Hrs
05/17/17          ADW      Communicate with JTM re filing of supplement to               0.60 Hrs
                           plan, reviewed plan and disclosure statement for
                           proper approach for supplement, confirmed status of
                           execution of plan-implementing agreements already
                           filed, reviewed related correspondence, and
                           finalized, filed and served plan supplement to
                           incorporate Creditor Trust Instrument into plan.
05/17/17          ADW      Reviewed opposition to disclosure statement filed by          0.10 Hrs
                           Malden Redevelopment Authority and memo to JTM
                           re same.
05/18/17           DK      Voicemail from J. Loughnane re objection of city of           0.10 Hrs
                           Malden; email to JTM.
05/18/17          JTM      Call with Jordan Shapiro.                                     0.30 Hrs
05/18/17          JTM      Email J. Korman.                                              0.20 Hrs
05/18/17          JTM      Revised DS language.                                          0.50 Hrs
05/18/17          JTM      Correspondence from/to J. Loughnane re: disclosure            0.20 Hrs
                           objection. .
05/18/17          ADW      Assisted JTM in addressing Malden Redevelopment               0.20 Hrs
                           Authority limited opposition to disclosure statement.,
                           communicate with J. Loughnane re same.
05/19/17          JTM      Correspondence to/from F. McGinn.                             0.10 Hrs



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05/19/17          JTM      Compile and file Plan documents; call with clerk's          0.60 Hrs
                           office.
05/19/17          ADW      Reviewed court order re corrective filing needed for        0.10 Hrs
                           plan, and reviewed docket entry re plan as filed
                           separately, saved to file.
05/22/17          JTM      Draft revised language for MRA.                             0.60 Hrs
05/22/17          JTM      Communicate with Jordan Shapiro.                            0.20 Hrs
05/22/17          JTM      Communicate with H. Korman.                                 0.10 Hrs
05/22/17          JTM      Draft response.                                             0.20 Hrs
05/22/17          ADW      Reviewed file, conference with JTM re disclosure            0.10 Hrs
                           statement hearing, possible assistance with same.
05/23/17          JTM      Prepare for disclosure statement hearing.                   0.80 Hrs
05/23/17          JTM      Communicate with P.R.C. Bachtell re: disclosure.            0.20 Hrs
05/23/17          JTM      Communicate with Jordan Shapiro re: amended                 0.20 Hrs
                           disclosure.
05/23/17          JTM      File amended disclosure.                                    0.20 Hrs
05/23/17          JTM      Prepare package for plan solicitation; communicate          1.20 Hrs
                           with DYL.
05/23/17          ADW      Reviewed motion to approve disclosure statement,            0.20 Hrs
                           recent pleadings re disclosure statement,
                           conference with JTM re preparation for 5-24 hearing
                           on disclosure statement.
05/24/17          DYL      Prepare cos for amended disclosure statement.               2.50 Hrs
                           Finalize and file it with Amended Disclosure
                           Statement. Research updated address for returned
                           mails. Confer with Morrier re same. Confer with
                           Morrier re service of ballot, notice, plan and
                           disclosure. Compile lists for service and documents
                           to be served. Upload documents for service of
                           documents with Ballot. Copy package without ballot.
05/24/17          JTM      To court for hearing on disclosure statement.               3.00 Hrs
05/24/17          JTM      Communicate with H. Korman.                                 0.20 Hrs
05/24/17          JTM      Finalize solicitation package.                              0.50 Hrs
05/24/17          JTM      Calendar deadlines.                                         0.20 Hrs
05/24/17          JTM      Communicate with Kate Nicholson.                            0.20 Hrs



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05/24/17          ADW      Reviewed docket and pleadings re amended                      0.30 Hrs
                           disclosure statement, order aproving disclosure
                           statement, and court notice of plan confirmation
                           hearing, and related correspondence with JTM re
                           same and re plan solicitation; filed pleadings and
                           calendared dates and deadlines.
05/25/17          DYL      Confer with assistant re service of non-ballot                0.80 Hrs
                           claimants. Emails ballot, notice with plan and
                           disclosure statement to certain ecf recipients. Draft,
                           finalize and file cos with Notice per Morrier's
                           instruction.
05/25/17          JTM      Resolve service issues re: solication package.                0.80 Hrs
05/25/17          ADW      Reviewed docket entries and downloaded pleadings              0.20 Hrs
                           and court scheduling orders and notices, updated
                           calendar for Csner team for all plan confirmation
                           matters and communicate with JTM re same.
05/30/17          JTM      Correspond w/ H. Korman.                                      0.40 Hrs
05/30/17          JTM      C/W S. Torino (HUB International).                            0.20 Hrs
06/06/17          JTM      Review ballots received to date.                              0.30 Hrs
06/06/17          JTM      Prepare for confirmation; compile confirmation                1.00 Hrs
                           proposed order provisions.
06/07/17          JTM      Telephone call with creditor.                                 0.20 Hrs
06/08/17          JTM      Review and confirm plan ballots.                              0.40 Hrs
06/13/17          JTM      Correspond with EC (Harak and Dugan).                         0.30 Hrs
06/19/17          JTM      Review ballots and claim register.                            0.50 Hrs
06/21/17          JTM      Review/verify ballots.                                        0.30 Hrs
06/26/17          JTM      Correspond with Jon Green/AGO re: housing                     0.20 Hrs
                           transfer.
06/28/17          JTM      Review ballots.                                               0.20 Hrs
06/29/17          JTM      Conference with J. Loughman re: Eagle.                        0.30 Hrs
06/29/17          JTM      Conference with and telephone call with F. McGinn             0.40 Hrs
                           re: DHCD.
06/29/17          JTM      Conference with K. Nicholson re: Committee.                   0.30 Hrs
06/29/17          JTM      Review ballots.                                               0.10 Hrs
06/30/17          JTM      Conference with J. Loughman re: client ballot.                0.20 Hrs


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06/30/17          JTM      Correspondence with ADW re: confirmation.                   0.20 Hrs
06/30/17          ADW      Communicate with JTM re status of voting on plan            0.10 Hrs
                           and re preparation for plan confirmation hearing.
07/03/17          JTM      Communicate with K. Nicholson re: ballots.                  0.10 Hrs
07/05/17          JTM      Review ballots; communicate with K. Nicholson.              0.20 Hrs
07/05/17          JTM      Draft affidavit re voting.                                  0.80 Hrs
07/05/17          JTM      Draft proposed confirmation order.                          1.20 Hrs
07/05/17          JTM      Communicate with F. McGinn re: LIHEAP                       0.20 Hrs
                           settlement.
07/06/17          JTM      Communicate with clients re ballots and results.            0.30 Hrs
07/06/17          JTM      Communicate with F. McGinn re: LIHEAP                       0.30 Hrs
                           settlement.
07/06/17          JTM      Finalize initial draft proposed order; circulate;           0.10 Hrs
                           communicate with MJG re: real estate order.
07/07/17          DYL      Prepare cos for JTM's affidavit. Finalize and file          0.30 Hrs
                           same.
07/09/17          JTM      Outline confirmation hearing; revise proposed order.        1.70 Hrs
07/10/17          MJG      Draft order re sale of real estate.                         1.00 Hrs
07/10/17          JTM      Communicate with K. Nicholson; revise proposed              0.60 Hrs
                           order and circulate.
07/10/17          JTM      To court for confirmation hearing.                          0.90 Hrs
07/10/17          JTM      Note to clients re: confirmation.                           0.20 Hrs
07/10/17          JTM      Note to Eagle counsel re: confirmation.                     0.10 Hrs
07/10/17          JTM      Note to National Grid counsel re: confirmation.             0.10 Hrs
07/10/17          JTM      Note to H. Korman and call with M. Slotnick re:             0.20 Hrs
                           confirmation.
07/10/17          JTM      Revise proposed order.                                      0.30 Hrs
07/10/17          JTM      Communicate with MJG re: real estate order; review          0.60 Hrs
                           and revise.
07/10/17          JTM      Correspond re: proposed orders.                             0.30 Hrs
07/10/17          ADW      Reviewed settlement papers for insurance claim,             0.10 Hrs
                           reviewed docket entry re plan confirmed.




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07/11/17          MJG      Conference call with H. Korman (buyer's counsel)               0.60 Hrs
                           and J. Morrier re proposed order, next steps to
                           closing.
07/11/17          JTM      Communicate with J. Loughnane; communicate with                0.20 Hrs
                           F. McGinn.
07/11/17          JTM      Call and correspond (with MJG) with H. Korman re:              0.80 Hrs
                           proposed orders.
07/11/17          JTM      Revise proposed orders to reflect comments                     0.30 Hrs
                           received.
07/12/17          JTM      Communicate with H. Korman.                                    0.10 Hrs
07/12/17          JTM      Finalize and transmit.                                         0.20 Hrs
07/13/17          JTM      Review confirmation orders, entered today's                    0.40 Hrs
                           calendar deadlines. .
07/13/17          JTM      Communicate with client re: confirmation orders and            0.20 Hrs
                           path to effective date.
07/19/17          JTM      Correspond with M. Powers re: Plan/effective date.             0.20 Hrs
07/20/17          JTM      Correspond with Marc Slotnick and telephone call re:           0.50 Hrs
                           inspection.
07/24/17          JTM      Communicate with M. Slotnick. Prepare forms for                0.80 Hrs
                           Bott inspection; draft cover letter to Malden Board of
                           Health.
07/24/17          JTM      Communicate with H. Korman re: effective date and              0.40 Hrs
                           closing deadlines.
07/24/17          JTM      Communicate with M. Slotnick and J. Shapiro.                   0.20 Hrs
07/25/17          JTM      Communicate with Marc Slotnick.                                0.20 Hrs
07/26/17          JTM      Call and correspond with M. Slotnick re: closing               0.30 Hrs
                           items.
07/27/17          JTM      Correspond with M. Slotnick re: inspections.                   0.30 Hrs
07/28/17          JTM      Check docket; verify finality of confirmation order            0.50 Hrs
                           and correspond re same.
07/28/17          JTM      Communicate with M. Slotnick; obtain and circulate             0.50 Hrs
                           proof of nonprofit status.
07/31/17          JTM      Communicate with M. Slotnick re: closing                       0.70 Hrs
                           inspections; logistics re: license.
08/01/17          JTM      Correspond with F. McGinn.                                     0.20 Hrs
08/15/17          JTM      Effective Date calculations re: priority claims; review        0.60 Hrs
                           City of Malden records.

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08/22/17          JTM      Communicate with AGO/Jonathan Green.                           0.10 Hrs
08/30/17          JTM      Email Mark Powers.                                             0.20 Hrs
09/05/17          JTM      Communicate with M. Dugan re: dissolution.                     0.20 Hrs
09/08/17          JTM      Call with K. Nicholson.                                        0.10 Hrs
09/08/17          JTM      Communicate with K. Nicholson.                                 0.10 Hrs
09/27/17          JTM      Communicate with M. Powers.                                    0.20 Hrs
10/11/17          JTM      Communicate with Committee re: effective date.                 0.20 Hrs
10/23/17          JTM      Correspond with C. Harak and M. Dugan re: status.              0.20 Hrs
10/25/17          JTM      Communicate with C. Harak re: effective date.                  0.10 Hrs
10/27/17          JTM      Communicate with M. Powers.                                    0.20 Hrs
11/06/17          JTM      Communicate with J. George.                                    0.10 Hrs
11/13/17          JTM      Communicate with K. Nicholson.                                 0.20 Hrs
12/18/17          JTM      Review bank statements through 11/30.                          0.30 Hrs
12/18/17          JTM      Communicate wtih J. Loughnane re: Eagle Bank                   0.50 Hrs
                           records and figures.
12/20/17          JTM      Email and telephone call with J. Loughnane re:                 0.50 Hrs
                           funds at Eagle Bank.
12/20/17          JTM      Obtain and review Eagle documents re: account                  1.00 Hrs
                           history and balance. 5.
12/20/17          JTM      Call with J. Loughnane.                                        0.50 Hrs
12/20/17          JTM      Revisions to draft closing/effective date calculations;        0.80 Hrs
                           circulate draft to creditor counsel.
12/21/17          JTM      Communicate with J. Loughnane re: closing                      0.30 Hrs
                           calculations.
12/21/17          JTM      Communicate with J. Loughnane re: Eagle funds,                 0.20 Hrs
                           real estate closing adjustment.
12/22/17          JTM      Post-closing calculations.                                     1.40 Hrs
12/22/17          JTM      Communicate with counsel re: LIHEAP and real                   0.60 Hrs
                           estate settlement calculations.
12/22/17          JTM      Communicate wtih J. Loughnane.                                 0.10 Hrs
12/22/17          JTM      Communicate with M. Powers.                                    0.10 Hrs




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12/26/17          JTM      Correspond re: closing approvals and logistics.            0.50 Hrs

                                                          TOTAL LEGAL SERVICES                    $96,579.50


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs               Rate            Amount
GOLDBERG, MICHAEL J.                          1.60             450.00            720.00
KOHA, DAVID                                   0.10             320.00             32.00
LUO, DIYING                                   5.10             175.00            892.50
MORRIER, JOHN T.                            161.50             450.00         72,675.00
WHITESELL, A. DAVIS                          53.00             420.00         22,260.00
                                            221.30                           $96,579.50




                                                                             GRAND TOTAL DUE       $96,579.50




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                                      Exhibit D
                             Category 14: Relief from Stay

       The Debtor’s assets included two school busses, as discussed above in Category 3.

For the transaction transferring those busses to another Head Start program, the United

States Attorney, representing the federal Department of Health and Human Services,

structured the resolution as a relief from stay to enforce HHS’s rights as the grantor

agency. The Firm represented the Debtor in negotiations regarding this transaction,

including obtaining lien releases from the secured creditor, payoff of the bus operator

vendor, and obtaining Committee assent to the transaction. The transaction resulting in

a beneficial transfer of these assets, saving storage and insurance, and netting funds for

distribution to creditors.

       The following chart summarizes the services in this category, by professional:


                                          Hourly         Total
      Professional             Title                                   Total Fees
                                           Rate          Hours
John T Morrier (JTM)          Attorney       $450              7.1        $3,195.00
          Totals                                                7.1      $3,195.00

       The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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Tri-City Community Action Program, Inc.

Re: Relief from Stay Proceedings

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FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                         $3,195.00
              CURRENT BALANCE                                                                              $3,195.00

              TOTAL DUE                                                                                    $3,195.00




             Casner & Edwards, LLP | 303 Congress Street, Boston, MA 02210 | (TEL) 617.426.5900 | (FAX) 617.426.8810
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LEGAL SERVICES

Date               Atty    Description                                                     Time
08/07/15          JTM      Review draft motion for relief.                              0.70 Hrs
08/07/15          JTM      Communicate with Executive Committee re: HHS                 0.40 Hrs
                           motion re: Head Start busses.
08/07/15          JTM      Communicate with Assistant US Attorney, B.                   0.20 Hrs
                           Mockler re: Head Start busses.
08/10/15          JTM      Communicate with L. Kemp re: Vocell; communicate             0.30 Hrs
                           with Brendan Mockler re: same.
08/10/15          JTM      Communicate with C. Harak.                                   0.10 Hrs
08/11/15          JTM      Communicate with EC re: relief from stay.                    0.10 Hrs
08/11/15          JTM      Telephone call with B. Mockler re: relief from stay.         0.20 Hrs
08/11/15          JTM      Correspondence to/from K. Nicholson re: motion for           0.30 Hrs
                           relief.
08/11/15          JTM      Communicate with L. Kemp re: lift stay motion.               0.20 Hrs
08/12/15          JTM      Telephone call with B. Mockler re: lift stay motion.         0.20 Hrs
08/13/15          JTM      Review Motion for Relief; draft and file assent.             0.40 Hrs
08/27/15          JTM      Communicate with L. Kemp and communicate with                0.50 Hrs
                           K. Nicholson re: Eagle Bank vehicle loan details.
08/31/15          JTM      Correspond re: Eagle Bank vehicle loan history.              0.40 Hrs
08/31/15          JTM      Telephone call with Brendan Mockler.                         0.40 Hrs
08/31/15          JTM      Compile info re: bus financials.                             0.50 Hrs
09/01/15          JTM      Compile info re: Eagle Bank vehicle loan; vehicle            0.80 Hrs
                           value and audit results; communicate with counsel
                           to US (B. Mockler) and Committee re: same.
10/09/15          JTM      Communicate with K.Nicholson re: bus stipulation.            0.10 Hrs
10/25/15          JTM      Review settlement and motion; communicate with               0.50 Hrs
                           parties re: revisions (re: Head start buses).
11/16/15          JTM      Correspond re: orders on motion for relief.                  0.20 Hrs
12/16/15          JTM      Communicate with B. Mockler re: vehicles.                    0.20 Hrs
01/13/16          JTM      Correspond re: vehicle transfer.                             0.20 Hrs
02/03/16          JTM      Telephone call with J. Williams re: vehicle transfer.        0.10 Hrs

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02/08/16          JTM      Communicate with J. Williams re: tax ID.               0.10 Hrs

                                                          TOTAL LEGAL SERVICES                 $3,195.00


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs              Rate         Amount
MORRIER, JOHN T.                              7.10            450.00       3,195.00
                                              7.10                        $3,195.00




                                                                        GRAND TOTAL DUE         $3,195.00




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                                      Exhibit D
                         Category 15: Government Agencies

       Prior to the Petition Date, the Debtor was subject to two investigations, by the

Public Charities Division of the Massachusetts Attorney General’s Office (“AGO”), and

by DHCD. The Massachusetts AGO issued a Civil Investigative Demand (“CID”) and

DHCD a subpoena, both seeking certain records of the Debtor’s operations, finances,

governance, and controls. The requests were extensive, and the Firm assisted the Debtor

in reviewing its records for responsive documents, and in production of those

documents. Following that, the Firm was in contact with each agency regarding follow-

up issues and questions, and advised the Debtor with respect to compliance with the

requests.

       Prior to the Petition Date, the Debtor had informed the Mass. AGO about the

dispute with Eagle Bank. During the negotiations resulting in the LIHEAP Settlement

Agreement, the Firm’s communicated with the AGO regarding progress toward a

resolution, including the ultimate terms of the settlement. The Firm’s services relating

to these communications were tracked in this category.

       As a public charity, the Debtor is subject to certain regulatory procedures before

the AGO with respect to a transfer of all or substantially all of its assets. The Debtor’s

Plan, as it incorporated the Supported Housing Transaction, implicated a such a review

under Mass. Gen. Laws, Ch. 180, sec. 8A. The Firm represented the Debtor in preparing

a required disclosure to the AGO, and communicated with the AGO as the transaction

progressed. These services resulting in the Supported Housing Transaction clearing the

regulatory process, allowing the transaction to close. In addition, the Firm worked with

the AGO on agreed-upon language for the Plan and Disclosure Statement regarding the
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AGO’s regulatory oversight role, and the Debtor’s adherence the state-law process for

dissolution of a public charity.

       Services to complete corporate filings with the AGO and Secretary of the

Commonwealth, and communications with the City of Malden were also included in this

category.

       The following chart summarizes the services in this category, by professional:


                                           Hourly       Total
      Professional                 Title                              Total Fees
                                            Rate        Hours
David Koha (DK)                Attorney      $295             9.7         $2,861.50
Anita S. Lichtblau (ASL)       Attorney       $390             0.8         $312.00
Anita S. Lichtblau (ASL)       Attorney        $375           60.1      $22,537.50
John T Morrier (JTM)           Attorney       $450            26.9      $12,105.00
Evanne Matas (EM)              Paralegal       $175           22.6       $3,955.00
            Totals                                         120.10      $41,771.00

       The detailed daily description of services rendered by each professional in this

category, compiled from time records maintained by Casner & Edwards is on the

following pages.
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                                                          May 4, 2018


Tri-City Community Action Program, Inc.

Re: Government Agencies

File Number: 58492.00015



FOR PROFESSIONAL SERVICES RENDERED
through December 28, 2017 with respect to the above-
entitled matter, as more particularly set forth on the
attached description




              FEES                                                                                       $41,771.00
              CURRENT BALANCE                                                                            $41,771.00

              TOTAL DUE                                                                                  $41,771.00




             Casner & Edwards, LLP | 303 Congress Street, Boston, MA 02210 | (TEL) 617.426.5900 | (FAX) 617.426.8810
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LEGAL SERVICES

Date               Atty    Description                                                      Time
04/23/15          JTM      Communicate with AGO (J. Green, N. Mann).                     0.20 Hrs
04/26/15          ASL      Review emails and audit.                                      0.30 Hrs
04/27/15          ASL      Review audit; prepare for and participate in call with        2.20 Hrs
                           Loretta Kemp; call with Ron Pierre-Louis; call with
                           AAG Jon Greene re CID; reviewed documents;
                           scheduled audit call; email to John Morrier; email to
                           Loretta Kemp.
04/27/15          JTM      Telephone call with Jon Green (AGO) re: CID                   0.30 Hrs
                           production.
04/27/15          JTM      Communicate with ASL re: diligence info/audit                 0.50 Hrs
                           process.
04/28/15          ASL      Review email; call with AG's office re bankruptcy             1.00 Hrs
                           and investigation.
04/28/15          JTM      Telephone call with AGO (N. Mann and J. Green).               0.80 Hrs
04/28/15          JTM      Follow up re: documents requested by AGO.                     0.40 Hrs
04/30/15          ASL      Meeting with John Morrier; call with Loretta Kemp;            0.70 Hrs
                           attention to copying records.
04/30/15          JTM      Call with ASL and L. Kemp re: responsive                      0.80 Hrs
                           documents; communicate with ASL re: logistics and
                           scope of production.
04/30/15          JTM      Communicate with L. Kemp re:                                  0.30 Hrs
                           discovery/production.
05/01/15          JTM      Communicate with S. Lichtblau re: document                    0.50 Hrs
                           response.
05/04/15          ASL      Prepare for and participate in call with audit                2.40 Hrs
                           committee re audit; meeting with John Morrier;
                           review records to produce to AG; call with John
                           MOrrier and Loretta Kemp.
05/04/15          JTM      Communicate with L. Kemp and ALS re:                          0.50 Hrs
                           documents/emails responsive to CID.
05/04/15          JTM      Correspond with L. Kemp re CID; confer with Loretta           1.20 Hrs
                           re: location and logistics for obtaining responsive
                           communications; call with John Lamb and L. Kemp
                           re: same.



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05/05/15          ASL      Review management representation letter; review               2.70 Hrs
                           documents to be produced to AG; email to AG;
                           communicate with JTM.
05/05/15          JTM      Communicate with L. Kemp re: electronic document              0.20 Hrs
                           production.
05/05/15          JTM      Review audit management rep. letter; communicate              0.80 Hrs
                           with ASL.
05/05/15          JTM      Communicate with ASL re: scope of electronic                  0.20 Hrs
                           review of documents.
05/05/15          JTM      Correspond re: electronic document production                 0.20 Hrs
                           logistics.
05/05/15          JTM      Call with L. Kemp and R. Pierre-Louis re: audit letter        0.50 Hrs
                           and bankruptcy schedules.
05/06/15          ASL      Document review for AG CID; email re management               2.00 Hrs
                           representation letter; call with Loretta Kemp and Ron
                           Pierre-Louis re audit report, CID response.
                           bankruptcy; production of documents for AG.
05/06/15           EM      Prepare and Bates Stamp exhibits.                             3.50 Hrs
05/06/15          JTM      Communicate with ASL re: document production.                 0.20 Hrs
05/06/15          JTM      Communicate with A. Matas re: document                        0.20 Hrs
                           production.
05/06/15          JTM      Review production.                                            1.00 Hrs
05/06/15          JTM      Call with ASL and Loretta and Ron re: documents               0.80 Hrs
                           and info.
05/06/15          JTM      Revise statement and schedules; correspond with               1.50 Hrs
                           clients re: final review.
05/06/15          JTM      Call with DHCD/Lauren Vitale re: requested info.              0.50 Hrs
05/08/15           DK      Conf. with JTM and ASL re: review of internal                 1.00 Hrs
                           emails; review emails and assess scope of project;
                           emails with JTM and ASL; conf. with ASL.
05/08/15          ASL      Meeting with John Morrier and David Koha re CID               3.30 Hrs
                           document production; review emails for CID
                           production.
05/11/15           DK      Conduct privilege review of emails; conf. with ASL.           4.30 Hrs
05/11/15          ASL      Review email documents in response to CID; call               2.30 Hrs
                           with Tri-CAP IT consultant re email retrieval.
05/11/15          JTM      Communicate with L. Kemp re: Audit Letter;                    0.20 Hrs
                           communicate with ASL re: same.

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05/12/15           DK      Conf. with ASL re email review; conduct further               0.30 Hrs
                           review of emails.
05/12/15          ASL      Review emails in response to CID.                             6.10 Hrs
05/13/15           DK      Conf. with ASL re: email review; continue review of           1.20 Hrs
                           emails.
05/13/15          ASL      Review emails in response to CID; review draft Form           8.40 Hrs
                           990; call with auditor re management representation
                           letter.
05/13/15          JTM      Communicate with L. Kemp re: information/                     0.20 Hrs
                           response.
05/14/15           DK      Further privilege review of emails; conf. ASL re: next        1.20 Hrs
                           steps re: production.
05/14/15          ASL      Review emails in response to CID; meeting re                  4.90 Hrs
                           privilege log.
05/14/15           EM      Conference with ASL; review Civil Investigative               0.90 Hrs
                           Demand document; begin review of email;
                           preparation of privilege log chart.
05/15/15           DK      Conf. with ASL re production of emails; conf. with D.         1.70 Hrs
                           Golden re: loading correct files to disk; review flash
                           drive.
05/15/15          ASL      Review emails in response to CID; letter to AG re             3.30 Hrs
                           same.
05/15/15           EM      Conference with ASL; work on privilege log; create            1.90 Hrs
                           privilege log key.
05/15/15          JTM      Telephone call with L. Vitale/DHCD re: subpoena.              0.40 Hrs
05/18/15          ASL      Meetings re privilege log and additional emails;              2.00 Hrs
                           review emails in response to CID.
05/18/15           EM      Conference with ASL; review email; work on                    4.50 Hrs
                           privilege log.
                           .
05/18/15          JTM      Communicate with ASL re: response to AGO.                     0.30 Hrs
05/19/15          ASL      Review emails in response to CID; meeting with                1.10 Hrs
                           John Morrier.
05/19/15           EM      Review additional emails; work on privilege log.              3.90 Hrs
05/19/15          JTM      Communicate with L. Vitale; review information                0.20 Hrs
                           provided by DHCD; communicate with ASL.
05/20/15          ASL      Document production; privilege log.                           0.80 Hrs


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05/20/15          ASL      Call with John Morrier re LIHEAP creditors; review           2.40 Hrs
                           emails; review privilege log.
05/20/15           EM      Review additional emails and work on privilege log;          1.40 Hrs
                           email and telephone conference with ASL.
05/21/15          ASL      Meeting with paralegal Evanne Matas re privilege             0.90 Hrs
                           log; emails re privilege log and audit; review
                           privilege log and key; email to AG re privilege log.
05/21/15           EM      Conference with ASL; revisions to privilege log;             2.60 Hrs
                           review additional emails; new privilege log for older
                           emails; revisions to privilege log key; email with
                           ASL.
05/21/15          JTM      Communicate with and correspond with A. Lichtblau            0.30 Hrs
                           re: AGO production.
05/26/15          JTM      Review final audit; communicate with client, P.              0.80 Hrs
                           Bachtell re: same; communicate with client re: Mass
                           Form PC and filing of same with Mass AGO and
                           delivery to OUST.
05/27/15          ASL      Meeting with John Morrier.                                   0.20 Hrs
05/27/15          JTM      Communicate with L. Kemp and EC re: HUD                      0.30 Hrs
                           funding; communicate with ASL.
05/28/15          ASL      Respond to Mike Goldberg's email re CSBG.                    0.10 Hrs
05/29/15          ASL      Participate in Executive Committee call.                     0.60 Hrs
06/03/15          JTM      Telephone call with Brendan Touhey re: O'Brien               0.40 Hrs
                           litigation.
06/15/15          ASL      Email re retrieving older emails.                            0.20 Hrs
07/02/15          ASL      Review emails for AG CID.                                    2.50 Hrs
07/07/15          ASL      Review emails fro CID response.                              0.10 Hrs
07/07/15           EM      Email and telephone call with ASL; review                    0.70 Hrs
                           instructions; prepare additional privilege log.
07/08/15          ASL      Review emails for CID response.                              0.50 Hrs
07/08/15           EM      Email with ASL; conferences with Dan Golden to               0.30 Hrs
                           create flash drive for emails for document
                           production.
07/09/15          ASL      Letter to AG re CID.                                         0.20 Hrs
07/13/15          ASL      Meeting with John Morrier re Eagle Bank.                     0.10 Hrs
07/29/15          ASL      Meetings with John Morrier re independent audit;             1.60 Hrs
                           research and analyze obligation to conduct audit.

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07/29/15          JTM      Communicate with ASL re: audit.                              0.30 Hrs
08/20/15          ASL      Set up call with AG's office.                                0.10 Hrs
08/20/15          JTM      Communicate with Nora Mann.                                  0.20 Hrs
08/21/15          ASL      Call with Nora Mann and Jon Green from AG's office           0.60 Hrs
                           re status of bankruptcy and CID.
08/21/15          JTM      Communicate with ASL.                                        0.20 Hrs
08/21/15          JTM      Communicate with N. Mann and J. Green (Mass.                 0.50 Hrs
                           AGO) and with ASL.
08/26/15          JTM      Communicate with Board re: audit.                            0.50 Hrs
08/31/15          JTM      Correspond with L. Kemp re: DHCD audit.                      0.30 Hrs
10/05/15          ASL      Review AG notice requirements; met with John                 0.60 Hrs
                           Morrier re same; analyze dissolution and court
                           approval requirements.
10/05/15          JTM      Correspond with AGO (Jon Green/Nora Mann).                   0.20 Hrs
10/05/15          JTM      Communicate with ASL re: 8A notice to AGO.                   0.30 Hrs
10/06/15          JTM      Communicate with ASL re: Ago notices.                        0.20 Hrs
10/07/15          ASL      Prepare for call with Attorney General's office; call        2.80 Hrs
                           with AG's office; draft 8A notice; emails re board
                           meeting to approve property sale.
10/07/15          JTM      Communicate with ASL re: board meeting/8A notice.            0.10 Hrs
10/13/15          ASL      Meeting with John Morrier re DHCD.                           0.10 Hrs
10/15/15          ASL      Review and respond to emails re votes on sale of             0.30 Hrs
                           assets and dissolution; meet with John Morrier re
                           same.
10/15/15          JTM      Correspond with client; communicate with ASL re:             0.30 Hrs
                           board vote/notice.
10/16/15          ASL      Research Health insurance Medical loss rebate                0.30 Hrs
                           issue.
10/23/15          ASL      Cal with John Morrier re record retention.                   0.30 Hrs
11/10/15          ASL      Reviewed revised Section 8A Letter to A.G and                0.70 Hrs
                           meeting minutes; meeting with John Morrier re
                           same.
11/10/15          JTM      Review and revise 8A notice letter; communicate              1.20 Hrs
                           with ASL re: same; review board minutes and
                           communicate with ASL re: board votes;
                           communicate with L. Kemp re: board vote.
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11/18/15          ASL      Meeting with John Morrier re Section 8A notice;                  0.60 Hrs
                           revise and finalize notice; email to AG.
11/18/15          JTM      Communicate with A. Lichtblau; finalize comments                 0.50 Hrs
                           to 8A notice to Mass AGO; communicate with E. C.
                           re: 8A notice.
12/07/15          ASL      Prepare for and participate in call with Jonathan                0.70 Hrs
                           Green re 8A notice; meeting with John Morrier re
                           same.
12/30/15          ASL      Review termination memo; email to client re same.                0.10 Hrs
02/02/16          ASL      Call with Charlie Harak re employee information and              0.10 Hrs
                           403(b) plan.
02/26/16           EM      Email with JTM; prepare IRS Form 2848; prepare                   0.80 Hrs
                           and file 2015 Annual Report with Secretary of the
                           Commonwealth; conference with JTM; prepare
                           Application for Duplicate Certificate of Title.
03/07/16           EM      Telephone call to Mass DOT to confirm address                    1.70 Hrs
                           change; travel to RMV to file Application for
                           Duplicate Certificate of Title and original lien release.
03/07/16          JTM      Conference with EM re: vehicle transfer.                         0.10 Hrs
03/30/16          ASL      Call with David Koha and meet with John Morrier re               0.10 Hrs
                           document production to AG.
04/06/16          ASL      Meet with John Morrier re emails for discovery.                  0.10 Hrs
06/29/16          JTM      Telephone conference with J. Green (AGO).                        0.20 Hrs
10/25/16          JTM      Correspond with J. Green (Mass AGO).                             0.20 Hrs
01/31/17          JTM      Communicate with MRA director Dee Bireddy.                       0.20 Hrs
02/01/17          JTM      Two emails with Malden Redevelopment (D.                         0.30 Hrs
                           Bireddy).
08/22/17          ASL      Meet with John Morrier re 8A notice and dissolution.             0.30 Hrs
08/22/17          JTM      Review AGO chapter 180 procedures; communicate                   0.50 Hrs
                           with ASL.
08/23/17          JTM      Correspond re: AGO submissions; review existing                  0.40 Hrs
                           filings.
08/23/17          JTM      Compile financial info for form PC/990.                          0.60 Hrs
08/25/17          JTM      Draft report to AGO public charities division re:                1.00 Hrs
                           transaction status.
08/29/17           EM      Telephone with JTM; file 2016 annual report; confirm             0.20 Hrs
                           filing.

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08/29/17          JTM      Review annual report history; draft and communicate              0.50 Hrs
                           with E. Matas re: filing 2016 report.
08/29/17          JTM      Review IRS/AGO filings.                                          0.70 Hrs
08/29/17          JTM      Communicate with J. George re: preparation of tax                0.30 Hrs
                           and P.C. filings.
08/30/17          ASL      Review 8A letter update.                                         0.20 Hrs
08/30/17          JTM      Draft notice to AGO; communicate with A. Litchblau.              1.00 Hrs
08/30/17          JTM      Finalize notice to AGO and email Jonathan Green.                 0.30 Hrs
08/31/17          JTM      Communicate with E. Matas re: Secretary of State                 0.30 Hrs
                           filing.
09/01/17           EM      Email with JTM; file Certificate of Change of Officers           0.20 Hrs
                           or Directors.
09/01/17          JTM      Communicate with E. Matas re; filing.                            0.20 Hrs
09/19/17          JTM      Call to AGO.                                                     0.10 Hrs
09/20/17          JTM      Correspond with J. Green, AGO.                                   0.50 Hrs

                                                          TOTAL LEGAL SERVICES                          $41,771.00


LEGAL SERVICES SUMMARY


Attorney Name                                 Hrs              Rate                   Amount
KOHA, DAVID                                   9.70            295.00                 2,861.50
LICHTBLAU, ANITA S.                           0.80            390.00                  312.00
LICHTBLAU, ANITA S.                          60.10            375.00                22,537.50
MATAS, EVANNE                                22.60            175.00                 3,955.00
MORRIER, JOHN T.                             26.90            450.00                12,105.00
                                            120.10                              $41,771.00




                                                                               GRAND TOTAL DUE           $41,771.00




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                                      Exhibit D
                                Category 99: Expenses


       The Firm did not charge the estate for routine printing, photocopying or postage.

For certain large mailings, the Firm engaged an outside vendor to print and mail

documents to parties in interest, and passed those costs through, without markup. For

large mailings produced in-house, the Firm charged its actual out-of-pocket costs (for

postage) and a per-page charge in compliance with MLBR and Court guidelines.

       The detailed description of expenses incurred by the Firm in rendering services to

the Debtor, compiled from records maintained by Casner & Edwards in the ordinary

course, is on the following pages.
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Tri-City Community Action Program, Inc.

Re: Expenses

File Number: 58492.00099



FOR PROFESSIONAL SERVICES RENDERED
through April 30, 2018 with respect to the above-entitled
matter, as more particularly set forth on the attached
description




              FEES                                                                                               $0.00
              DISBURSEMENTS                                                                                $2,767.91
              CURRENT BALANCE                                                                              $2,767.91

              TOTAL DUE                                                                                    $2,767.91




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DISBURSEMENTS


            EXCESS POSTAGE                                                        558.51
05/01/2015 FEDERAL EXPRESS CORPORATION: To Middlesex Superior                      16.48
           Court from Casner and Edwards on April 27, 2015 by J T
           Morrier.
05/06/2015 FEDERAL EXPRESS CORPORATION: To 600 Lannwater                           16.48
           Drive, HUB International New England by J T Morrier.
05/28/2015 FEDERAL EXPRESS CORPORATION: To J T Morrier, Casner                     19.17
           and Edwards from TRI-Camp, Loretta Kemp on May 14, 2015.
06/08/2015 BOSTON EXPRESS DELIVERY GROUP: To Casner and                            12.43
           Edwards from 7 Winthrop National Cons Law Center on May 8,
           2015.
06/08/2015 BOSTON EXPRESS DELIVERY GROUP: To 100 Cambridge                         11.87
           Street from Casner and Edwards on May 8, 2015.
06/08/2015 BOSTON EXPRESS DELIVERY GROUP: To 100 Cambridge                         15.26
           Street, Jonathan Green from Casner and Edwards on May 15,
           2015 by A S Lichtblau.
06/08/2015 BOSTON EXPRESS DELIVERY GROUP: To 100 Cambridge                         15.26
           Street, Joanathan Green from Casner and Edwards on May 6,
           2015.
07/02/2015 CITIZENS BANK: Filing Fee for Amendments.                               30.00
08/07/2015 POSTMASTER BOSTON: Express Mail to Jonathan C Green &                   18.11
           Norma Mann One Ashburton Place, Boston, MA 02108.
09/09/2015 CITIZENS BANK-Pay.gov-Fees for Amended Matrix.                          30.00
09/15/2015 BOSTON EXPRESS DELIVERY GROUP: To One Ashburton                         11.87
           Place, Attorney General's Office from Casner and Edwards on
           August 24, 2015 by A S Lichtblau.
11/16/2015 BOSTON EXPRESS DELIVERY GROUP: To 33 Arch Street,                       11.76
           DLA Piper from Casner and Edwards on October 26, 2015.
11/16/2015 BOSTON EXPRESS DELIVERY GROUP: To 100 Summer                            11.76
           Street Gayle Ehrlich from Casner and Edwards on October 26,
           2015.
12/01/2015 JOHN MORRIER: Parking 11/20/15.                                         10.00
12/01/2015 JOHN MORRIER: City of Malden/Parking.                                   25.00


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02/26/2016 Filing fee for 2015 Annual Report.                                      18.50
02/26/2016 Filing fee for 2014 Annual Report.                                      18.50
03/04/2016 MASS DOT: Application for Duplicate Certificate of Title.               25.00
03/15/2016 BOSTON EXPRESS DELIVERY GROUP: To Casner and                            11.45
           Edwards from 7 Winthrop Sqaure, National Consumer Law on
           February 3, 2016.
03/15/2016 BOSTON EXPRESS DELIVERY GROUP: To 7 Winthrop                                9.00
           Square, National Consumer from Casner and Edwards on
           February 18, 2016.
03/15/2016 BOSTON EXPRESS DELIVERY GROUP: To Casner and                            11.34
           Edwards from National Consumer Law on February 26, 2016.
03/21/2016 FEDERAL EXPRESS CORPORATION: To One Bala Plaza                          17.89
           Philadelphia Insurance Company from Casner and Edwards on
           March 4, 2016 by J T Morrier.
03/24/2016 FEDERAL EXPRESS CORPORATION: To 164 Forest Street,                      21.23
           Tri-City Community Action from Casner and Edwards on
           February 26, 2016 by J T Morrier.
03/24/2016 FEDERAL EXPRESS CORPORATION: To Casner and                              17.55
           Edwards, J T Morrier from Tri Community Action Program on
           March 1, 2016.
03/24/2016 FEDERAL EXPRESS CORPORATION: To 393 Main Street,                        17.55
           Greenfield, Community Action Wendy Muller from Tri City
           Community Action Program on March 1, 2016.
04/11/2016 BOSTON EXPRESS DELIVERY GROUP: To Casner and                            11.77
           Edwards from National Consumer Law Center on March 1,
           2016.
04/11/2016 BOSTON EXPRESS DELIVERY GROUP: To Casner and                            13.38
           Edwards from Natinal Con Law on March 7, 2016.
04/11/2016 BOSTON EXPRESS DELIVERY GROUP: To One Financial                         11.24
           Center, Jager Smith from Casner and Edwards on March 21,
           2016.
04/19/2016 FEDERAL EXPRESS CORPORATION: To Community Action of                     14.89
           Franklin from Tri-City Community Action on March 22, 2016.
05/19/2016 BOSTON EXPRESS DELIVERY GROUP: To One Financial                         11.34
           Center, Jaguar Smith, Jonathan Horne from Casner and
           Edwards on April 1, 2016.
06/28/2016 BOSTON EXPRESS DELIVERY GROUP: To Casner and                            13.07
           Edwards from 7 Winthrop, National Consumer Law on May 10,
           2016 by J M Clark.


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 Tri-City Community Action Program, Inc.                                                 May 4, 2018
                                                                                       Bill Number 0
                                                                            File Number 58492.00099
 Re: Expenses




01/30/2017 BOSTON EXPRESS DELIVERY GROUP-To Casner and                             11.88
           Edwards, J T Morrier from National Consumer Law Office,
           Charles Harak on December 12, 2016.
03/14/2017 BOSTON EXPRESS DELIVERY GROUP-To 101 Arch Street                        11.34
           from Casner and Edwards o February 28, 2017 by J T Morrier.
05/18/2017 JOHN MORRIER-Uber travel to Bankruptcy Court on 4/12/17.                    5.85
06/15/2017 CITIZENS BANK-BK ATTORNEY SERVICES-Service of plan                   1,404.48
           solicitation package.
08/23/2017 FEDERAL EXPRESS CORPORATION-To City of Malden,                          15.78
           Donna Duncan from Casner and Edwards on August 1, 2017 by
           J T Morrier.
09/08/2017 CITIZENS BANK-Filing fee for 2016 Annual Report.                        18.50
09/18/2017 BOSTON EXPRESS DELIVERY GROUP-To Casner and                             11.88
           Edwards from National Consumer Care on August 1, 2017.
11/08/2017 CITIZENS BANK-Filing fee for 2017 Annual Report.                        18.50
12/18/2017 U.S. BANKRUPTCY COURT-Certified copy of confirmation                    11.60
           order.
12/19/2017 CITIZENS GOOD STANDING/LEGAL EXIST-Tri City                             27.50
           Community.
12/28/2017 BOSTON EXPRESS DELIVERY GROUP-101 Arch Street, Kein                     11.97
           Horning, LLP from Casner and Edwards on November 14, 2017
           (2nd).
12/28/2017 BOSTON EXPRESS DELIVERY GROUP-To 101 Arch Street,                       11.97
           Klein Horning LLP from Casner and Edwards on November 14,
           2017.
01/15/2018 CITIZENS BANK-Certificate of Legal Existence obtained on                15.00
           December 18, 2017.
01/23/2018 BOSTON EXPRESS DELIVERY GROUP-To 101 Arch Street                        11.97
           from Casner and Edwards on December 19, 2017.
01/23/2018 BOSTON EXPRESS DELIVERY GROUP-To 5 Post Office                          33.11
           Square, U S Bankruptcy Court from Casner and Edwards on
           December 18, 2017 by J T Morrier.
02/16/2018 CITIZENS BANK-LFR BK ATTORNEY SERVICES Copies and                       88.92
           postage for Service of Plan Effective Date Notice.
                                                                                               $2,767.91




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                                 EXHIBIT E



                             PROPOSED ORDER
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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS
                               EASTERN DIVISION

                                         )
In re                                    )
                                         )             Chapter 11
TRI-CITY COMMUNITY ACTION                )
PROGRAM, INC.                            )             Case No. 15-11569-JNF
                                         )
        Debtor.                          )
                                         )


 ORDER APPROVING APPLICATION OF CASNER & EDWARDS, LLP FOR
   ALLOWANCE AND PAYMENT OF COMPENSATION FOR SERVICES
 RENDERED AND FOR REIMBURSEMENT OF EXPENSES INCURRED AS
   DEBTOR’S COUNSEL FOR THE PERIOD APRIL 23, 2015 THROUGH
                     DECEMBER 28, 2017

        UPON CONSIDERATION of the Application of Casner & Edwards, LLP for

Allowance of Compensation for Services Rendered and for Reimbursement of Expenses

Incurred as Debtor’s Counsel for the Period April 23, 2015 through December 28, 2017

(the “Application”), pursuant to which Casner & Edwards, LLP (“Casner & Edwards”)

seeks an order, pursuant to Section 331 of Title 11 of the United States Code, Rule 2016

of the Federal Rules of Bankruptcy Procedure, and Rule 2016-1 of the Local Bankruptcy

Rules of the United States Bankruptcy Court for the District of Massachusetts,

approving compensation for the actual, reasonable and necessary attorneys’ fees in the

amount of $379,353.00, and reimbursement of actual, reasonable and necessary

expenses in the amount of $2,767.91, for a total of $382,120.91, incurred during the

period from April 23, 2015 through December 28, 2017 as counsel to Tri-City

Community Action Program, Inc. (the “Debtor”), and authorizing and directing payment

of such fees and expenses; and the Court having jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157(a) and 1334(a), and venue being proper in this district pursuant to
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28 U.S.C. §§ 1408 and 1409, and that this being a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and notice of the Application and of the deadline for filing objections and

responses and the hearing thereon being good and sufficient; and good cause having

been shown, it is hereby

       ORDERED that the Application is GRANTED in all respects; and it is further

       ORDERED that Casner & Edwards’s fees in connection with its services as

counsel for the Debtor for the period of April 23, 2015 through December 28, 2017 are

allowed in the amount of $379,353.00; and it is further

       ORDERED that reimbursement of Casner & Edwards’s actual, reasonable and

necessary expenses incurred in connection with its services as counsel to the Debtor for

the period of April 23, 2015 through December 28, 2017 are allowed in the amount of

$2,767.91; and it is further

       ORDERED that the Debtor is authorized and directed to pay to Casner &

Edwards for its actual, reasonable and necessary attorneys’ fees and expenses in the

amount of $382,120.91 (the “Allowed Professional Fee Claim”) incurred during the

period from April 23, 2015 through December 28, 2017 in connection with its services as

Debtor’s Counsel, subject to the deferral of payment set forth in Debtor’s Chapter 11

plan confirmed by order entered July 12, 2017 (the “Plan”), §§ 2.1 and 2.3; and it is

further

       ORDERED that the Creditor Trust is authorized and directed to pay to Casner &

Edwards the amount of its Allowed Professional Fee Claim deferred under the Plan

§§ 2.1 and 2.3 from assets of the Creditor Trust, as and when such assets are liquidated

to cash; and it is further
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         ORDERED that this Court shall retain jurisdiction over any and all matters

arising from or relating to the interpretation or implementation of this order.




Dated:                         , 2018
                                                Hon. Joan N. Feeney
                                                United States Bankruptcy Court Judge
